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          DENVER SHERIFF HEALTH SERVICES
   2016 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Karugu, Isaac


TITLE / FTE:    RN, .90 ( effective 9/23/12)


DATE OF HIRE: 11/6/2011

               Continuing Education Taken
       Date                      Title                     Hours
1/21/16         Hospital Return Board and Quiz              0.50
01/14/16        Exergen Thermometer Training Video          0.25
2/15/16         Employee Engagement Survey Results          1.00
                Meeting
4/7/16          2016 Skills Fair                            4.00
5/24/16         Cornerstone Learning                        7.00
06/22/16        BLS Class                                   4.00
6/22/16         Mandatory Staff Meeting                     1.50
7/26/16         KOP/Hunger Strike Board and Quiz            0.50
8/13/16         Cornerstone Learning                       17.00
08/09/16        Pregnancy Test Competency                   0.50
11/10/16        MedScape CEU's                              4.00
                                                           40.25




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             DENVER SHERIFF HEALTH SERVICES
      2017 TRAINING/CONTINUING EDUCATION RECORD

NAME:          Karugu, Isaac


TITLE / FTE:   RN, .90 ( effective 9/23/12)


DATE OF HIRE: 11/6/2011

                 Continuing Education Taken
       Date                          Title                     Hours
12/1/16        Mass Disaster Drill - County                     0.50
12/24/16       Restricted Housing Board and Quiz                0.50
1/3/17         Transfer Board Process Huddle                    0.25
02/15/17       Non-Mandatory Meeting                            0.50
3/9/17         Access to Care Board and Quiz                    0.50
03/09/17       Medication Changes Board and Quiz                0.50
5/21/17        Medication Verification Process Board and        0.50
               Quiz
6/21/17        Mandatory Meeting                                 1.50
7/24/17        Emergency Contraception Board and Quiz            0.50
7/28/17        Cornerstone Learning                             20.00
08/10/17       Skills Fair                                       1.50
09/19/17       Compliance Board Quiz                             0.50
9/20/17        Mandatory Meeting                                 1.00
10/2/17        Building 20 Scavenger Hunt                        0.50
10/04/17       New Opiate Withdrawal Protocol Quiz               0.50
10/11/17       Non-Mandatory Meeting                             0.50
11/8/17        Charge Nurse Meeting                              1.00
11/15/17       Mandatory Meeting                                 1.00
11/24/17       NurseCE                                          11.00
11/28/17       CJIS Training and Test                            1.00




                                                                43.25




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 2018 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Karugu, Isaac


TITLE / FTE:     Charge RN/ .90


DATE OF HIRE: 11/6/2011

               Continuing Education Taken
        Date                     Title               Hours
12/13/217        Charge Nurse Meeting                 1.00
12/13/17         Non-Mandatory Staff Meeting          0.50
12/27/17         Hospital Return/Trauma Prototocol    0.50
                 Quiz
1/22/18          Bueprenorphone/Methadone            0.50
                 Maintenance Doses
02/14/18         Hoyer Lift Training                  1.00
2/14/18          Charge Nurse/BHT Meeting             1.00
03/08/18         Buprenorphine Quiz                   0.50
3/14/18          Charge Nurse Meeting                 1.00
3/21/18          Non-Mandatory Staff Meeting          0.25
4/1/18           Charge Nurse Meeting                 1.00
4/11/18          Alaris Computer Based Training       1.00
04/17/18         Cornerstone                         37.00
04/24/18         Restricted Housing Rounds Quiz       0.50
6/14/18          Skills Fair                          2.00
6/20/18          Non-Mandatory Staff Meeting          0.25
07/11/18         Charge Nurse Meeting                 1.00
7/17/18          Alcohol Withdrawal Quiz              0.50
7/17/18          Medical Flagging Quiz                0.50
7/18/18          Non-Mandatory Staff Meeting          0.50
08/05/18         Diabetes Quiz                        0.50
8/15/18          Mandatory All Staff Meeting          1.50
08/16/18         Leadership Retreat                   8.00
9/12/18          Charge Nurse Meeting                 1.00
9/18/18          Corrective Eyeware Protocol Quiz     0.50
9/25/18          Emergency Contraception Quiz         0.50
10/10/18         Charge Nurse Meeting                 1.00
10/17/18         Non-Mandatory Staff Meeting          0.25
11/12/18         Asthma Quiz                          0.50
11/15/18         Restraint Cornerstone                1.00
                                                     65.25




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          DENVER SHERIFF HEALTH SERVICES
   2019 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Karugu, Isaac


TITLE / FTE:    Charge RN/ .90


DATE OF HIRE: 11/6/2011

               Continuing Education Taken
       Date                        Title             Hours
1/16/19         ZOLL AED Training                     0.50
2/13/19         Charge Nurse Meeting                  1.00
2/11/19         Kite Changes Quiz                     0.50
02/20/19        All Staff Meeting                     1.50
3/7/19          Medication Verification Quiz          0.50
4/9/19          Charge Nurse Meeting                  1.00
4/18/19         Cornerstone Learning                 26.00
05/14/19        Critical Vital Signs                  0.50
5/16/19         Skills Fair                           2.00
8/14/19         Charge Nurse Meeting                  1.00
8/21/19         All Staff Meeting                     1.00
09/14/19        Hepatitis A Quiz                      0.50
10/09/19        Charge Nurse Meeting                  1.00
10/29/19        CJIS                                  1.00
11/22/19        MM Training                           2.00
                                                     40.00




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 2020 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Karugu, Isaac


TITLE / FTE:     Charge RN/ .90


DATE OF HIRE: 11/6/2011

               Continuing Education Taken
        Date                      Title           Hours
12/10/19         Triage Quiz                       0.50
12/11/19         Charge Nurse Meeting              1.00
2/7/20           Med Verification Quiz             0.50
3/11/20          Charge Nurse Meeting              1.00
3/16/20          PPE Refresher                     0.50
04/09/20         Nasal Covid Test                  0.50
5/14/20          Oral Covid Test                   0.50
05/20/20         Charge Nurse Meeting              1.00
05/21/20         ACLS Renewal                      8.00
6/9/20           Father Suit Donning/Doffing       0.50
6/9/20           COVID 19 Log                      0.50
7/29/20          Cornerstone                      10.00
08/19/20         Charge Nurse Meeting              0.50
9/30/20          Correctional Care Cornerstone    13.00
9/30/20          Virtual Skills Fair              12.00
11/30/20         PoliceOne                         2.00
                                                  52.00




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      2021 TRAINING/CONTINUING EDUCATION RECORD

NAME:              Karugu, Isaac


TITLE / FTE:       Charge RN/ .90


DATE OF HIRE: 11/6/2011

                     Continuing Education Taken
       Date                            Title                      Hours
2/17/21                         Charge Nurse meeting               1.50
Jan-Feb            Preceptor new hires                             1.00
03/31/21           Denver County Bld 24 Tour / Scavenger hunt      1.00
10/27/21           Cornerstones                                   32.00
05/01/21           ATIMS                                           4.00
5/19/21            Charge Nurse Meeting                            1.00
3/24/21            Charge/BHT meeting                              1.00
6/16/21            DDC Charge Nurse Meeting                        1.00
7/21/21            Charge Nurse meeting                            1.00
August-September   Preceptor new hires                             2.00
10/27/21           Charge Nurse meeting                            1.00
12/22/21           Charge Nurse meeting                            1.00
                                                                  47.50




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                 2022 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Karugu, Isaac

TITLE / FTE:    Charge RN / .90

DATE OF HIRE:   11/6/2011

                                  Continuing Education Taken
        Date                                     Title                                Hours
1/31/2022       Cornerstones                                                           6.00
3/10/2022       Mental health and use of force                                         1.00
3/10/2022       ACS Preceptor Workshop Personality Test                                1.00
3/10/2022       Feb monthly meeting                                                    1.00
3/10/2022       Wired jaw emergencies                                                  1.00
3/23/2022       Charge nurse meeting                                                   1.00
3/31/2022       Correctional care w/d protocol                                         3.00
4/27/2022       Charge nurse meeting                                                   1.00
5/3/2022        March monthly meeting                                                  1.00
5/3/2022        April monthly meeting                                                  1.00
5/18/2022       Charge nurse meeting                                                   1.00
5/23/2022       Medical care escalation                                                1.00
5/26/2022       ACLS Renewal class                                                     8.00
7/20/2022       Charge nurse meeting                                                   1.00
6/20/2022       Denver Sheriff Health Services VACUETTE®EVOPROTECT                     1.00
6/20/2022       Denver Sheriff Health Services May 2022 Mandatory Staff Meeting        1.00
6/20/2022       VACUETTE QUICKSHIELD Complete PLUS                                     1.00
December        Preceptor                                                              2.00
Dec-Jan         Charge nurse meeting                                                   2.00
8/17/2022       Charge nurse meeting                                                   1.00
8/16/2022       Denver Sheriff Health Services Infant/Child BLS                        1.00
8/16/2022       Denver Sheriff Health Services June 2022 Monthly Staff Meeting         1.00
8/16/2022       Correctional Care Withdrawal Protocols- Annual                         3.00
8/16/2022       Denver Sheriff Oral Examination                                        1.00
8/16/2022       Denver Sheriff Health Services July 2022 Staff Meeting                 1.00
9/15/2022       Denver Sheriff Health Services August 2022 Mandatory Staff Meeting     1.00
9/21/2022       Charge nurse meeting                                                   1.00
9/22/2022       2022 DH Annual Current Employees                                       6.00
10/2/2022       2022 Skills Fair                                                       7.00
10/2/2022       September monthly meeting                                              1.00
10/12/2022      Charge nurse meeting                                                   1.50
11/16/2022      Charge nurse meeting                                                   1.00
11/28/2022      Denver Sheriff Health Services October 2022 Staff Meeting              1.00
                                                                                      62.50



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                      2023 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Karugu, Isaac

TITLE / FTE:    Charge RN / .90

DATE OF HIRE:   11/6/2011

                                      Continuing Education Taken
       Date                                             Title
12/15/2022      Denver Sheriff Health Services November 2022 Mandatory Staff Meeting
12/15/2022      Denver Sheriff Health Services Mental Health Training 2022
12/15/2022      Denver Sheriff Health Services Masimo Vital Machines Equipment Tutorial 2022
1/30/2023       Denver Sheriff Health Services December 2022 Staff Meeting
2/9/2023        Denver Sheriff Health Services January 2023 Staff Meeting
2/9/2023        Denver Sheriff Health Services Medical Care Escalation
3/3/2023        Denver Sheriff Health Services February 2023 Mandatory Staff Meeting
3/3/2023        Behavioral Health Inpatient RN/LPN Transfer
3/3/2023        Denver Sheriff Health Services Withdrawal Protocols
3/3/2023        PREA – Prison Rape Elimination Act
1/18/2023       Charge Nurse
3/8/2023        Charge Nurse
1/31/2023       Preceptor
4/19/2023       Charge Nurse
5/17/2023       Charge Nurse
6/6/2023        Denver Sheriff Health Services May 2023 Mandatory Staff Meeting
6/13/2023       Denver Sheriff Health Services Medication Verification Quiz
6/13/2023       Denver Sheriff Health Services Medical Care Escalation
6/13/2023       Denver Sheriff Health Services Access to Care
6/13/2023       Denver Sheriff Health Services Oral Examination
6/13/2023       Denver Sheriff Health Services March 2023 Staff Meeting
6/13/2023       Denver Sheriff Health Services Emergency Response Video
6/13/2023       2023 DH Annual: Current Employees
6/13/2023       Denver Sheriff Health Services Correctional Care Education
6/13/2023       Denver Sheriff Health Services April 2023 Staff Meeting
6/13/2023       Denver Sheriff Health Services Protocol Quiz
6/13/2023       Denver Sheriff Health Services Culture of Respect
7/4/2023        COVID-19 Nasopharyngeal Swab
7/5/2023        Preceptor
7/6/2023        Preceptor
7/12/2023       Preceptor
7/19/2023       Charge Nurse Tech Meeting
6/21/2023       Charge Nurse Meeting
8/16/2023       Charge Nurse Meeting
8/15/2023       Denver Sheriff Health Services July 2023 Staff Meeting


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8/15/2023      Denver Sheriff Health Services June 2023 Staff Meeting
8/15/2023      Denver Sheriff Health Services Oral Examination
9/19/2023      Denver Sheriff Health Services August 2023 Mandatory Staff Meeting
10/3/2023      Denver Sheriff Health Services September 2023 Staff Meeting
9/20/2023      Charge Nurse Meeting
10/24/2023     Denver Sheriff Health Services Sublocade
11/12/2023     Denver Sheriff Health Services October 2023 Staff Meeting
11/13/2023     Denver Sheriff Health Services 2023 Skills Fair




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                   2024 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Karugu, Isaac

TITLE / FTE:    Charge RN / .90

DATE OF HIRE:   11/6/2011

                                  Continuing Education Taken
       Date                                          Title                              Hours
12/26/2023      Denver Sheriff Health Services December 2023 Staff Meeting               1.00
12/26/2023      Denver Sheriff Health Services Exofin Skin Adhesive                      1.00
12/26/2023      Denver Sheriff Health Services November 2023 Mandatory Staff Meeting     1.00
1/17/2024       Charge nurse meeting                                                     1.00
12/17/2023      Preceptor                                                                1.00
12/18/2023      Preceptor                                                                1.00
2/12/2024       Denver Sheriff Health Services January 2024 Staff Meeting                1.00
2/21/2024       Charge nurse MA Meeting                                                  1.25
2/28/2024       Denver Sheriff Health Services February 2024 Staff Meeting               1.00
4/3/2024        Denver Sheriff Health Services March 2024 Staff Meeting                  1.00
5/29/2024       Education Board: Medication Verification Quiz                            1.00
6/4/2024        Denver Sheriff Health Services May 2024 Staff Meeting                    1.00
6/4/2024        Denver Sheriff Health Services Annual Education                         12.00
6/12/2024       Charge nurse/ Medical Assistant meeting                                  1.25
7/1/2024        Denver Sheriff Health Services June 2024 Staff Meeting                   1.00
7/1/2024        Denver Sheriff Health Services SBAR Training                             0.50
7/17/2024       Charge Nurse Meeting                                                     1.00
9/2/2024        2024 Annual Ed - Current Employees Program                              13.00
9/2/2024        THRIVE - Introduction to Peer Support at Denver Health                   1.00
9/2/2024        Denver Sheriff Health Services July 2024 Staff Meeting                   1.00
9/2/2024        Denver Sheriff Health Services August 2024 Staff Meeting                 1.00
                                                                                        44.00




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              Training Title                 Completed              Status
                                               Date
Denver Sheriff Health Services February     2/28/2024 Completed
2024 Staff Meeting
Chart Search                                2/28/2024 Completed
Denver Sheriff Health Services February     2/28/2024 Completed
2024 Staff Meeting
Denver Sheriff Health Services February     2/28/2024 Completed
2024 Staff Meeting
Chart Review FIlters                        2/28/2024 Completed
Denver Sheriff Health Services January      2/12/2024 Completed
2024 Staff Meeting
Denver Sheriff Health Services January      2/12/2024 Completed
2024 Staff Meeting
Denver Sheriff Health Services January      2/12/2024 Completed
2024 Staff Meeting
Denver Sheriff Health Services Exofin Skin 12/26/2023 Completed
Adhesive
Denver Sheriff Health Services Exofin Skin 12/26/2023 Completed
Adhesive
Denver Sheriff Health Services December 12/26/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services December 12/26/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Exofin Skin 12/26/2023 Completed
Adhesive
Denver Sheriff Health Services November 12/26/2023 Completed
2023 Mandatory Staff Meeting

Denver Sheriff Health Services December      12/26/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services November      12/26/2023 Completed
2023 Mandatory Staff Meeting

Denver Sheriff Health Services November      12/26/2023 Completed
2023 Mandatory Staff Meeting

Denver Sheriff Health Services Inventories   11/13/2023 Completed
Maintained and Staff Safety 2023 Skills
Fair
Denver Sheriff Health Services Hunger        11/13/2023 Completed
Strike/ Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services Medical       11/13/2023 Completed
Equipment and Supplies 2023 Skills Fair
Denver Sheriff Health Services 2023 Skills   11/13/2023 Completed
Fair




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Denver Sheriff Health Services Epic Care 11/13/2023 Completed
Link 2023 Skills Fair
Denver Sheriff Health Services Inventories 11/13/2023 Completed
and Staff Safety 2023 Skills Fair

Denver Sheriff Health Services Hunger        11/13/2023 Completed
Strike/Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services Epic Care     11/13/2023 Completed
Link 2023 Skills Fair
Denver Sheriff Health Services October       11/12/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Portal Line   11/12/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Timecard      11/12/2023 Completed
and Attendance 2023 Skills Fair

Denver Sheriff Health Services DSD 2023      11/12/2023 Completed
Skills Fair
Denver Sheriff Health Services Opiate        11/12/2023 Completed
Protocol 2023 Skills Fair
Denver Sheriff Health Services Women's       11/12/2023 Completed
Care Clinic 2023 Skills Fair
Denver Sheriff Health Services Pharmacy      11/12/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Womens        11/12/2023 Completed
Care Clinic 2023 Skills Fair
Denver Sheriff Health Services Portal Line   11/12/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Medical       11/12/2023 Completed
Housing 2023 Skills Fair
Denver Sheriff Health Services Behavioral    11/12/2023 Completed
Health 2023 Skills Fair
Denver Sheriff Health Services Pregnancy     11/12/2023 Completed
Test 2023 Skills Fair
Denver Sheriff Health Services Health        11/12/2023 Completed
Information Management 2023 Skills Fair

Denver Sheriff Health Services Pharmacy      11/12/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Health        11/12/2023 Completed
Information Management 2023 Skills Fair

Denver Sheriff Health Services October       11/12/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Medical       11/12/2023 Completed
Housing 2023 Skills Fair



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Denver Sheriff Health Services Opiate       11/12/2023 Completed
Protocol 2023 Skills Fair
Denver Sheriff Health Services October      11/12/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Behavioral   11/12/2023 Completed
Health 2023 Skills Fair
Denver Sheriff Health Services Timecard     11/12/2023 Completed
and Attendance 2023 Skills Fair

Denver Sheriff Health Services DSD 2023     11/12/2023 Completed
Skills Fair
Denver Sheriff Health Services Sublocade    10/24/2023 Completed
Training
Denver Sheriff Health Services Sublocade    10/24/2023 Completed
Quiz
Denver Sheriff Health Services Sublocade    10/24/2023 Completed

Denver Sheriff Health Services September     10/3/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services September     10/3/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services September     10/3/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services August        9/19/2023 Completed
2023 Mandatory Staff Meeting
Denver Sheriff Health Services August        9/19/2023 Completed
2023 Mandatory Staff Meeting
Denver Sheriff Health Services August        9/19/2023 Completed
2023 Mandatory Staff Meeting
Oral Examination Video                       8/15/2023 Completed
Denver Sheriff Health Services July 2023     8/15/2023 Completed
Staff Meeting
Denver Sheriff Health Services July 2023     8/15/2023 Completed
Staff Meeting
Denver Sheriff Health Services July 2023     8/15/2023 Completed
Staff Meeting
Denver Sheriff Health Services June 2023     8/15/2023 Completed
Staff Meeting
Denver Sheriff Health Services June 2023     8/15/2023 Completed
Staff Meeting
Denver Sheriff Health Services Oral          8/15/2023 Completed
Examination
Denver Sheriff Health Services June 2023     8/15/2023 Completed
Staff Meeting
Basic Oral Examination                       8/15/2023 Completed
Oral Examination Video                       6/13/2023 Completed



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Medical Care Escalation- Attestation Test   6/13/2023 Completed

2021 PHI Privacy and Security Tip Sheet     6/13/2023 Completed

Denver Sheriff Health Services Medical      6/13/2023 Completed
Care Escalation
2023 Code Of Conduct                        6/13/2023 Completed
Denver Sheriff Health Services Hospital     6/13/2023 Completed
Return Education
Denver Sheriff Health Services Civilian     6/13/2023 Completed
Orientation Education
Denver Sheriff Health Services March        6/13/2023 Completed
2023 Staff Meeting
Access to Care -Attestation                 6/13/2023 Completed
Missing Persons and Leaving Against         6/13/2023 Completed
Medical Advice Policy
Missing Persons and Leaving Against         6/13/2023 Completed
Medical Advice Policy Test
2023_PHIPrivacyAndSecurity                  6/13/2023 Completed
Basic Oral Examination                      6/13/2023 Completed
2022 Annual: Drug, Violence, and            6/13/2023 Completed
Harassment-Free Workplace
2022 Drug/Violence/Harassment-Free          6/13/2023 Completed
Workplace
Denver Sheriff Health Services April 2023   6/13/2023 Completed
Staff Meeting
Denver Sheriff Health Services Medication   6/13/2023 Completed
Verification Quiz
2023 Annual: Code of Conduct Test-Out       6/13/2023 Completed (Equivalent)
Denver Sheriff Health Services Protocol     6/13/2023 Completed
Quiz
Denver Sheriff Health Services Access to    6/13/2023 Completed
Care
Denver Sheriff Health Services Culture of   6/13/2023 Completed
Respect
2022 Annual: The Denver Health              6/13/2023 Completed
Experience
Denver Sheriff Health Services Emergency    6/13/2023 Completed
Response Video
2023 Code of Conduct Policy                 6/13/2023 Completed
Denver Sheriff Health Services Emergency    6/13/2023 Completed
Response Video
2023_DH_Annual_Infection_Prevention         6/13/2023 Completed

2023 Annual: DEI Test                       6/13/2023 Completed
Medical Care Escalation Policy              6/13/2023 Completed



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Denver Sheriff Health Services March        6/13/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Medication   6/13/2023 Completed
Verification Quiz
The Human Experience at Denver Health       6/13/2023 Completed

Denver Sheriff Health Services April 2023   6/13/2023 Completed
Staff Meeting
Denver Sheriff Health Services Oral         6/13/2023 Completed
Examination
2023 Health Equity Training                 6/13/2023 Completed
Denver Sheriff Health Services April 2023   6/13/2023 Completed
Staff Meeting
Denver Sheriff Health Services Culture of   6/13/2023 Completed
Respect
Denver Sheriff Health Services March        6/13/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Protocol     6/13/2023 Completed
Quiz
2022 Denver Sheriff Health Services         6/13/2023 Completed
Access to Care
Denver Sheriff Health Services              6/13/2023 Completed
Correctional Care Education
Missing Persons and Leaving Against         6/13/2023 Completed
Medical Advice Policy
Denver Sheriff Health Services Medical      6/13/2023 Completed
Care Escalation
Denver Sheriff Health Services Suicide      6/13/2023 Completed
Prevention for Correctional Care
2023 DH Annual: Current Employees           6/13/2023 Completed
Denver Sheriff Health Services Medication   6/13/2023 Completed
Verification Quiz
Denver Sheriff Health Services Access to    6/13/2023 Completed
Care
Email Protection Tools                      6/13/2023 Completed
Denver Sheriff Health Services Critical     6/13/2023 Completed
Values-Vital Signs
Denver Sheriff Code of Conduct              6/13/2023 Completed
2022 Annual: Environment of Care Test-      6/13/2023 Completed
Out
Denver Sheriff Health Services May 2023      6/6/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023      6/6/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023      6/6/2023 Completed
Mandatory Staff Meeting



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Behavioral Health Inpatient RN/LPN           3/3/2023 Completed
Transfer
Correctional Care Withdrawal Test            3/3/2023 Completed
Wilson Sims Fall Assessment Tool             3/3/2023 Completed
PREA – Prison Rape Elimination Act           3/3/2023 Completed
Denver Sheriff Health Services February      3/3/2023 Completed
2023 Mandatory Staff Meeting
Denver Sheriff Health Services February      3/3/2023 Completed
2023 Mandatory Staff Meeting
IV Pumps                                     3/3/2023 Completed
27-65 Care and Treatment Test                3/3/2023 Completed
Non-Violent Crisis Interventions             3/3/2023 Completed
PREA – Prison Rape Elimination Act           3/3/2023 Completed
Denver Sheriff Health Services               3/3/2023 Completed
Correctional Care Withdrawal Protocols
Denver Sheriff Health Services February      3/3/2023 Completed
2023 Mandatory Staff Meeting
PREA Test                                    3/3/2023 Completed
Non-Violent Crisis Interventions Quiz        3/3/2023 Completed
Denver Sheriff Health Services Withdrawal    3/3/2023 Completed
Protocols
Age-Specific Considerations                  3/2/2023 Completed
Age-Specific Considerations                  3/2/2023 Completed
Denver Sheriff Health Services Pregnant     2/23/2023 Completed
Patients in Opiate Withdrawal
Patient’s Own Medications/Home              2/23/2023 Completed
Medications
Withdrawal Management for Psychiatric       2/23/2023 Completed
Services
Medications Annual Education                2/23/2023 Completed
Acute Care High Risk Medication Safety      2/23/2023 Completed
Practices
Annual Behavioral Health Nursing            2/23/2023 Completed
Medication Test
Nebulizer and Inhaler Administration        2/23/2023 Completed
Aerosol Therapy, Nebulizer: T-Piece         2/23/2023 Completed
Respimat Inhaler                            2/23/2023 Completed
Controlled Substance Wasting                2/23/2023 Completed
Post-test for Withdrawal Management for     2/23/2023 Completed
Psychiatric Services
Inpatient BH Medical Emergencies            2/23/2023 Completed
Aerosol Therapy, Nebulizer: Face Mask       2/23/2023 Completed
IP BH Medical Emergencies                   2/23/2023 Completed
Medication Dispensing and Administration    2/23/2023 Completed

Urinalysis                                  2/23/2023 Completed



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Denver Sheriff Health Services Medical        2/9/2023 Completed
Care Escalation
Denver Sheriff Health Services PPE            2/9/2023 Completed
Denver Sheriff Health Services January        2/9/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services January        2/9/2023 Completed
2023 Staff Meeting
Denver Sheriff Health Services Medical        2/9/2023 Completed
Care Escalation
Denver Sheriff Health Services PPE            2/9/2023 Completed
Denver Sheriff Health Services PPE            2/9/2023 Completed
Denver Sheriff Health Services January        2/9/2023 Completed
2023 Staff Meeting
Medical Care Escalation- Attestation Test     2/9/2023 Completed

Medical Care Escalation Policy                2/9/2023 Completed
Denver Sheriff Health Services December      1/30/2023 Completed
2022 Staff Meeting
Denver Sheriff Health Services December      1/30/2023 Completed
2022 Staff Meeting
Denver Sheriff Health Services December      1/30/2023 Completed
2022 Staff Meeting
Denver Sheriff Health Services Mental       12/15/2022 Completed
Health Training 2022
Denver Sheriff Health Services Mental       12/15/2022 Completed
Health Training 2022_2
Denver Sheriff Health Services Mental       12/15/2022 Completed
Health Training 2022
Denver Sheriff Health Services November     12/15/2022 Completed
2022 Mandatory Staff Meeting

Denver Sheriff Health Services November     12/15/2022 Completed
2022 Mandatory Staff Meeting

Masimo - Essential Training - Root          12/15/2022 Completed
Connectivity Platform
Masimo - Introduction to Masimo Signal      12/15/2022 Completed
Extraction Technology
Denver Sheriff Health Services November     12/15/2022 Completed
2022 Mandatory Staff Meeting

Denver Sheriff Health Services Masimo       12/15/2022 Completed
Vital Machines Equipment Tutorial 2022
Denver Sheriff Health Services October      11/28/2022 Completed
2022 Staff Meeting
Denver Sheriff Health Services October      11/28/2022 Completed
2022 Staff Meeting


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Denver Sheriff Health Services October     11/28/2022 Completed
2022 Staff Meeting
Denver Sheriff Health Services 2022 Skills 10/2/2022 Completed
Fair Crisis Response Team Unit
Denver Sheriff Health Services 2022 Skills 10/2/2022 Completed
Fair
Denver Sheriff Health Services 2022 Skills 10/2/2022 Completed
Fair Biohazard Training
Denver Sheriff Health Services 2022 Skills 10/2/2022 Completed
Fair Behavioral Health Code Changes

Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Epic Care Link Training
Denver Sheriff Health Services September     10/2/2022 Completed
2022 Staff Meeting
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Epic Care Link Training
Denver Sheriff Health Services September     10/2/2022 Completed
2022 Staff Meeting
(VIDEO) Taking Steps to Build a DEI          10/2/2022 Completed
Culture
2022 Denver Sheriff Health Services          10/2/2022 Completed
Protocol Quiz
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Behavioral Health Code Changes

(VIDEO) Taking Steps to Build a DEI          10/2/2022 Completed
Culture
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Women's Clinic
Denver Sheriff Health Services September     10/2/2022 Completed
2022 Staff Meeting
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Biohazard Training
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Pharmacy
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Pharmacy
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Women's Clinic
Denver Sheriff Health Services 2022 Skills   10/2/2022 Completed
Fair Crisis Response Team Unit
2021 PHI Privacy and Security Tip Sheet      9/22/2022 Completed

(VIDEO) Workplace Diversity, Equity, and     9/22/2022 Completed
Inclusion in Action



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2022 Annual: Drug, Violence, and            9/22/2022 Completed
Harassment-Free Workplace
(VIDEO) Beginning a Diversity, Equity,      9/22/2022 Completed
and Inclusion Journey
2022: Email Security                        9/22/2022 Completed
2022 Annual: The Denver Health              9/22/2022 Completed
Experience
2022 Annual: PHI Privacy and Security       9/22/2022 Completed (Equivalent)
Test-Out
2022 Annual: Code of Conduct Test-Out       9/22/2022 Completed
2022_PHIPrivacyAndSecurity                  9/22/2022 Completed
(VIDEO) Workplace Diversity, Equity, and    9/22/2022 Completed
Inclusion in Action
2022_Environment_of_Care_Denver_Healt       9/22/2022 Completed (Equivalent)
h_Annual_Ed
2022 DH Annual: Current Employees           9/22/2022 Completed
2022 Annual: PHI Privacy and Security       9/22/2022 Completed (Equivalent)
Test-Out
2022 DH Annual - Code of Conduct            9/22/2022 Completed (Equivalent)
2023_Environment_of_Care_Denver_Healt       9/22/2022 Completed (Equivalent)
h_Annual_Ed
2022_Denver_Health_Experience               9/22/2022 Completed
2022 Annual: Environment of Care Test-      9/22/2022 Completed
Out
(VIDEO) Beginning a Diversity, Equity,      9/22/2022 Completed
and Inclusion Journey
2022_DH_Annual_Infection_Prevention         9/22/2022 Completed

2022 Code of Conduct Policy                 9/22/2022 Completed
2022 Drug/Violence/Harassment-Free          9/22/2022 Completed
Workplace
Workplace Diversity, Equity and Inclusion   9/15/2022 Completed (Equivalent)
in Action
(COURSE) Workplace Diversity, Equity,       9/15/2022 Completed
and Inclusion in Action
Denver Sheriff Health Services August       9/15/2022 Completed
2022 Mandatory Staff Meeting Quiz
Denver Sheriff Health Services August       9/15/2022 Completed
2022 Mandatory Staff Meeting
Denver Sheriff Health Services August       9/15/2022 Completed
2022 Mandatory Staff Meeting
(VIDEO) Becoming an Advocate for DEI        9/12/2022 Completed

(VIDEO) Becoming an Advocate for DEI        9/12/2022 Completed

Denver Sheriff Health Services July 2022    8/16/2022 Completed
Staff Meeting


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Denver Sheriff Health Services Oral         8/16/2022 Completed
Examination
Denver Sheriff Health Services              8/16/2022 Completed
Infant/Child BLS
Denver Sheriff Health Services Withdrawal   8/16/2022 Completed
Protocols
Denver Sheriff Health Services June 2022    8/16/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services              8/16/2022 Completed
Infant/Child BLS
Correctional Care Withdrawal Test           8/16/2022 Completed
Basic Oral Examination                      8/16/2022 Completed
Denver Sheriff Health Services              8/16/2022 Completed
Correctional Care Withdrawal Protocols -
Annual
Denver Sheriff Health Services July 2022    8/16/2022 Completed
Staff Meeting
Denver Sheriff Health Services July 2022    8/16/2022 Completed
Staff Meeting
Oral Examination Video                      8/16/2022 Completed
Correctional Care Withdrawal Protocols      8/16/2022 Completed
Acknowledgment
Denver Sheriff Health Services June 2022    8/16/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services              8/16/2022 Completed
Infant/Child BLS
Denver Sheriff Health Services June 2022    7/14/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services              6/20/2022 Completed
VACUETTE QUICKSHIELD Complete
PLUS
Denver Sheriff Health Services May 2022     6/20/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services              6/20/2022 Completed
VACUETTE®EVOPROTECT
Denver Sheriff Health Services Access to    6/20/2022 Completed
Care
Denver Sheriff Health Services May 2022     6/20/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2022     6/20/2022 Completed
Mandatory Staff Meeting
2022 Denver Sheriff Health Services         6/20/2022 Completed
Access to Care
ACLS Renewal class                          5/26/2022 Completed
Denver Sheriff Health Services Medical      5/23/2022 Completed
Care Escalation
Medical Care Escalation Policy              5/23/2022 Completed


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Denver Sheriff Health Services Medical        5/23/2022 Completed
Care Escalation
infirmary Level of Care J-F-02                5/18/2022 Completed
Denver Sheriff Health Services Critical       5/18/2022 Completed
Values-Vital Signs
Denver Sheriff Health Services Critical       5/18/2022 Completed
Values-vital signs Attestation
Medical Care Escalation- Attestation Test     5/18/2022 Completed

Denver Sheriff Health Services                5/18/2022 Completed
Infirmary/Medical Unit/Housing-Level of
Care
Housing Options/Infirmary Level of Care       5/18/2022 Completed
Attestation
Denver Sheriff Health Services Critical       5/18/2022 Completed
Values-Vital signs
Medical Care Escalation Policy                5/18/2022 Completed
Denver Sheriff Health Services Medical        5/18/2022 Completed
Care Escalation
Denver Sheriff Health Services Access to      5/18/2022 Completed
Care
Denver Sheriff Health Services                5/18/2022 Completed (Equivalent)
Infirmary/Medical Unit/Housing-Level of
Care
Health Services Care Escalation Attestation   5/18/2022 Completed

Denver Sheriff Health Services Access to      5/18/2022 Completed
Care
Denver Sheriff Health Services                5/18/2022 Completed
Infirmary/Medical Unit/Level of Care
Access to Care -Attestation                   5/18/2022 Completed
Denver Sheriff Health Services Medical        5/18/2022 Completed
Care Escalation
Denver Sheriff Health Services April 2022      5/3/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services March           5/3/2022 Completed
2022 Mandatory Staff Meeting
Denver Sheriff Health Services March           5/3/2022 Completed
2022 Mandatory Staff Meeting
Denver Sheriff Health Services March           5/3/2022 Completed
2022 Mandatory Staff Meeting
Denver Sheriff Health Services April 2022      5/3/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2022      5/3/2022 Completed
Monthly Staff Meeting
Alcohol Withdrawal Protocol                   3/31/2022 Completed
Benzodiazepine Withdrawal Protocol            3/31/2022 Completed


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Alcohol Withdrawal Protocol Test            3/31/2022 Completed
Opiate Withdrawal Protocol                  3/31/2022 Completed
Correctional Care Withdrawal Protocol       3/31/2022 Completed
Trainings
Benzodiazepine Withdrawal Protocol Test     3/31/2022 Completed

Opiate Withdrawal Protocol Test             3/31/2022 Completed
Denver Sheriff Health Services Wired Jaw    3/10/2022 Completed
Emergencies Test 2.0
Denver Sheriff Health Services February     3/10/2022 Completed
2022 Monthly Staff Meeting
ACS Preceptor Workshop Personality Test     3/10/2022 Completed

Denver Sheriff Health Services Mental       3/10/2022 Completed
Health and Use of Force 1
Denver Sheriff Health Services Mental       3/10/2022 Completed
Health and Use of Force 2
Denver Sheriff Health Services February     3/10/2022 Completed
2022 Monthly Staff Meeting
Denver Sheriff Health Services Wired Jaw    3/10/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Mental       3/10/2022 Completed
Health and Use of Force
Denver Sheriff Health Services Wired Jaw    3/10/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Mental       3/10/2022 Completed
Health and Use of Force Training
Denver Sheriff Health Services February     3/10/2022 Completed
2022 Monthly Staff Meeting
Denver Sheriff Health Services Culture of   1/31/2022 Completed
Respect 2021
Denver Sheriff Health Services December     1/31/2022 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services Culture of   1/31/2022 Completed
Respect
Denver Sheriff Health Services December     1/31/2022 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services December     1/31/2022 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services January      1/31/2022 Completed
2022 Staff Meeting
PREA – Prison Rape Elimination Act          1/31/2022 Completed
PREA – Prison Rape Elimination Act          1/31/2022 Completed
Denver Sheriff Health Services January      1/31/2022 Completed
2022 Staff Meeting
PREA Test                                   1/31/2022 Completed



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Denver Sheriff Health Services January        1/31/2022 Completed
2022 Staff Meeting
Denver Sheriff Health Services Culture of     1/31/2022 Completed
Respect
Denver Sheriff Health Services October        12/7/2021 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services November       12/7/2021 Completed
2021 Mandatory Staff Meeting

Denver Sheriff Health Services October        12/7/2021 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services November       12/7/2021 Completed
2021 Mandatory Staff Meeting

Denver Sheriff Health Services November       12/7/2021 Completed
2021 Mandatory Staff Meeting

Denver Sheriff Health Services October     12/7/2021 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services 2021 E-Bag 10/27/2021 Completed
Tour Quiz
2021 Denver Sheriff Health Services       10/27/2021 Completed
Documentation
2021 Denver Sheriff Health Services       10/27/2021 Completed
Access to Care
Denver Sheriff Health Services September 10/27/2021 Completed
2021 Monthly Meeting Quiz
Denver Sheriff Health Services Health     10/27/2021 Completed
Information Management
Denver Sheriff Health Services E-Bag 2021 10/27/2021 Completed

Denver Sheriff Health Services September     10/27/2021 Completed
2021 Monthly Meeting
2021 Denver Sheriff Health Services          10/27/2021 Completed
Documentation Quiz
2021 Denver Sheriff Health Services Skills   10/27/2021 Completed
Fair WCC
Denver Sheriff Health Services 2021 Skills   10/27/2021 Completed
Fair
Denver Sheriff Health Services 2021 PPE      10/27/2021 Completed
Refresher
Denver Sheriff Health Services Behavioral    10/27/2021 Completed
Health Services
API Training for Employees: Scheduling       10/27/2021 Completed
and Staffing
Denver Sheriff Health Services 2021          10/27/2021 Completed
Gurney


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Denver Sheriff Health Services 2021       10/27/2021 Completed
Gurney Instructions Quiz
Denver Sheriff Health Services Behavioral 10/27/2021 Completed
Health Services Cultural Competence Quiz

Denver Sheriff Health Services Resiliency    10/27/2021 Completed
2021
Denver Sheriff Health Services September     10/27/2021 Completed
2021 Monthly Meeting
Denver Sheriff Health Services Evacuation    10/27/2021 Completed
Chair
Denver Sheriff Health Services 2021 PPE      10/27/2021 Completed
Refresher
2021 Denver Sheriff Health Services Skills   10/27/2021 Completed
Fair Women's Care Clinic Quiz
Denver Sheriff Health Services 2021          10/27/2021 Completed
Pharmacy
Denver Sheriff Health Services Resiliency    10/27/2021 Completed
Attestation
Denver Sheriff Health Services 2021          10/27/2021 Completed
Protocol Quiz
Denver Sheriff Health Services 2021 PPE      10/27/2021 Completed
Refresher Quiz
Denver Sheriff Health Services HIM Quiz      10/27/2021 Completed

Denver Sheriff Health Services 2021        10/27/2021 Completed
Evacuation Chair Quiz
2021 Denver Sheriff Health Services        10/27/2021 Completed
Access to Care Quiz
Denver Sheriff Health Services 2021        10/27/2021 Completed
Pharmacy Quiz
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Video_5 2021
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training. 2021
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Attestation
Denver Sheriff Health Services 2021 Skills 10/4/2021 Completed
Fair Documentation
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Video_2 2021
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Video_4 2021
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Video_3 2021
Denver Sheriff Health Services ATIMS        10/4/2021 Completed
Training Video_6 2021


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Denver Sheriff Health Services July 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services July 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services August          9/6/2021 Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services ATIMS           9/6/2021 Completed
Training Video_1. 2021
Denver Sheriff Health Services June 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services July 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services August          9/6/2021 Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services August          9/6/2021 Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services June 2021       9/6/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services May 2021       5/31/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services May 2021       5/31/2021 Completed
Mandatory All Staff Meeting Quiz
Denver Sheriff Health Services May 2021       5/31/2021 Completed
Mandatory Monthly Staff Meeting
Correctional Care                             5/20/2021 Completed
Correctional Care - Civilian Education Test   5/20/2021 Completed

Correctional Care - Hospital Return Test      5/20/2021 Completed

Denver Sheriff Health Services March          5/20/2021 Completed
2021 Monthly Staff Meeting
Correctional Care - Hospital                  5/20/2021 Completed
Return/Correctional Care Trauma Protocol

Denver Sheriff Health Services March          5/20/2021 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services March          5/20/2021 Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services Refusal        4/30/2021 Completed
Process
Correctional Care Sensitivity                 4/30/2021 Completed
Correctional Care - Suicide Prevention        4/30/2021 Completed
Correctional Care - Suicide Prevention        4/30/2021 Completed
Denver Sheriff Health Services April 2021     4/30/2021 Completed
Monthly Staff Meeting


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Denver Sheriff Health Services April 2021   4/30/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2021   4/30/2021 Completed
Monthly Staff Meeting
Correctional Care Sensitivity               4/30/2021 Completed
Correctional Care - Civilian Education      4/30/2021 Completed
2021 DH Annual: Current Employees           3/16/2021 Completed
2021 PHI Privacy and Security Tip Sheet     3/16/2021 Completed

2021 Annual: PHI Privacy and Security       3/16/2021 Completed
Test-Out
2021: Email Security                        3/16/2021 Completed
2021 Annual: Environment of Care Test-      3/16/2021 Completed
Out
2021 PHI Privacy and Security               3/16/2021 Completed (Equivalent)
2021 Environment of Care - Denver Health    3/16/2021 Completed (Equivalent)
Annual Education
Denver Sheriff Health Services Culture of    3/9/2021 Completed
Respect
2021 DH Annual - Infection Prevention        3/9/2021 Completed
Caritas in Nursing                           3/9/2021 Completed
Denver Sheriff Health Services February      3/9/2021 Completed
2021 All Staff Meeting
DSHS December 2020 Monthly Meeting           3/9/2021 Completed

PREA – Prison Rape Elimination Act           3/9/2021 Completed
Denver Sheriff Health Services Culture of    3/9/2021 Completed
Respect 2021
PREA – Prison Rape Elimination Act           3/9/2021 Completed
Caritas in Nursing                           3/9/2021 Completed
Denver Sheriff Health Services Culture of    3/9/2021 Completed
Respect
2021 DH Annual - Code of Conduct             3/9/2021 Completed (Equivalent)
2021 Annual: Code of Conduct Test-Out        3/9/2021 Completed
2021 Annual: The Denver Health               3/9/2021 Completed
Experience
Caritas in Nursing                           3/9/2021 Completed
2021 Annual: The Denver Health               3/9/2021 Completed
Experience
PREA Test                                    3/9/2021 Completed
Denver Sheriff Health Services February      3/9/2021 Completed
2021 All Staff Meeting
2021 Drug/Violence/Harassment-Free           3/9/2021 Completed
Workplace
2021 Drug, Violence, & Harassment-Free       3/9/2021 Completed
Wk.Plc.



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DSHS December 2020 Monthly Meeting               3/9/2021 Completed

Denver Sheriff Health Services February          3/9/2021 Completed
2021 All Staff Meeting
DSHS December 2020 Monthly Meeting               3/9/2021 Completed

DSHS November 2020 All Staff Meeting           12/15/2020 Completed
Quiz
DSHS Infrared Thermometer Training             12/15/2020 Completed
DSHS November All Staff Meeting                12/15/2020 Completed
DSHS Infrared Thermometer Quiz                 12/15/2020 Completed
DSHS Infrared Thermometer Quiz                 12/15/2020 Completed
Denver Sheriff Health Services November        12/15/2020 Completed
2020 All Staff Meeting
DSHS 2020 Mass Disaster Drills                 12/15/2020 Completed
Denver Sheriff Health Services 2020            11/16/2020 Completed
Minorities & Incarceration
Denver Sheriff Health Services 2020            11/16/2020 Completed
Multicultural Issues
Denver Sheriff Health Services                 11/16/2020 Completed
Multicultural Test
Denver Sheriff Health Services 2020            11/16/2020 Completed
Multicultural Issues
Denver Sheriff Health Services 2020            11/16/2020 Completed
Psychotropic Medications
Denver Sheriff Health Services 2020            11/16/2020 Completed
Psychotropic Medications
Denver Sheriff Health Services 2020            11/16/2020 Completed
Minorities & Incarceration
Denver Sheriff Health Services 2020            11/16/2020 Completed
Wound Care
Denver Sheriff Health Services 2020            11/16/2020 Completed
Wound Care
Denver Sheriff Health Services 2020            11/16/2020 Completed
Wound Care
Denver Sheriff Health Services 2020            11/16/2020 Completed
Psychotropic Medications
Denver Sheriff Health Services 2020            11/16/2020 Completed
Minorities & Incarceration
Verbal de-escalation of the agitated patient    9/29/2020 Completed
(Chapter 3)
Verbal de-escalation of the agitated patient    9/29/2020 Completed
(Chapter 4)
Opiate Withdrawal Protocol                      9/29/2020 Completed
Alcohol Withdrawal Protocol                     9/29/2020 Completed
Correctional Care - Suicide Prevention          9/29/2020 Completed



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Correctional Care Withdrawal Protocol          9/29/2020 Completed
Trainings
De-Escalation of the Agitated Patient          9/29/2020 Completed
Correctional Care - Civilian Education Test    9/29/2020 Completed

Verbal de-escalation of the agitated patient   9/29/2020 Completed
(Chapter 1)
Correctional Care - Suicide Prevention         9/29/2020 Completed
Benzodiazepine Withdrawal Protocol             9/29/2020 Completed
Correctional Care Sensitivity                  9/29/2020 Completed
Correctional Care - Hospital Return Test       9/29/2020 Completed

Alcohol Withdrawal Protocol Test               9/29/2020 Completed
Correctional Care                              9/29/2020 Completed
Verbal de-escalation of the agitated patient   9/29/2020 Completed
(Chapter 2)
Denver Sheriff Health Services Skills Fair     9/29/2020 Completed
2020 Documentation
Benzodiazepine Withdrawal Protocol Test        9/29/2020 Completed

Correctional Care - Hospital                   9/29/2020 Completed
Return/Correctional Care Trauma Protocol

Denver Sheriff Health Services Skills Fair     9/29/2020 Completed
2020 Documentation
Opiate Withdrawal Protocol Test                9/29/2020 Completed
Verbal de-escalation of the agitated patient   9/29/2020 Completed
(Chapter 5)
Denver Sheriff Health Services                 9/29/2020 Completed
Documentation
Correctional Care Sensitivity                  9/29/2020 Completed
Correctional Care - Civilian Education         9/29/2020 Completed
Denver Sheriff Health Services Access to        8/9/2020 Completed
Care 2020
Denver Sheriff Health Services Women's          8/9/2020 Completed
Care 2020
Denver Sheriff Health Services Women's          8/9/2020 Completed
Care 2020
Denver Sheriff Health Services Women's          8/9/2020 Completed
Care 2020
Denver Sheriff Health Services Acces to         8/9/2020 Completed
Care Quiz
Denver Sheriff Health Services Access to        8/9/2020 Completed
Care 2020
2020 DH Annual: Correction Interpreter on      7/30/2020 Completed
Wheels



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2020 Annual: Drug, Violence, and             7/29/2020 Completed (Equivalent)
Harassment-Free Workplace
Denver Sheriff Health Services Gurney        7/29/2020 Completed
2020 Annual: Code of Conduct                 7/29/2020 Completed (Equivalent)
Denver Sheriff Health Services 2020          7/29/2020 Completed
Protocol Quiz
2020 Annual: Email Security                  7/29/2020 Completed
Denver Sheriff Health Services Skills Fair   7/29/2020 Completed
2020 - Pharmacy
2020 Annual: Drug-, Violence-, and           7/29/2020 Completed
Harassment-Free Workplace Test-Out
2020 Annual: Code of Conduct Test-Out        7/29/2020 Completed
Denver Sheriff Health Services Emergency     7/29/2020 Completed
Bag Tour
2020 Annual: PHI Privacy and Security        7/29/2020 Completed
Test-Out
2020 Annual: Infection Prevention            7/29/2020 Completed
Equipment Review                             7/29/2020 Completed
SI: Safety Intelligence                      7/29/2020 Completed
2020 Code of Conduct                         7/29/2020 Completed
2020 Annual: Environment of Care             7/29/2020 Completed (Equivalent)
2020 DH Annual: Current Employee             7/29/2020 Completed
Training
2020 Annual: The Denver Health               7/29/2020 Completed
Experience
Denver Sheriff Health Services 2020 Skills   7/29/2020 Completed
Fair Pharmacy Services Quiz
Denver Sheriff Health Services Skills Fair   7/29/2020 Completed
2020 - Pharmacy
SI: Safety Intelligence                      7/29/2020 Completed
2021 PHI Privacy and Security Tip Sheet      7/29/2020 Completed

2020 Annual: The Denver Health               7/29/2020 Completed
Experience
2020 Annual: Environment of Care Test-       7/29/2020 Completed
Out
Denver Sheriff Health Services Evactuation   7/29/2020 Completed
Chair (Stair Chair)
2020 Annual: PHI Privacy and Security        7/29/2020 Completed (Equivalent)
PREA – Prison Rape Elimination Act           6/26/2020 Completed
Talent Registry Intake Survey                6/26/2020 Completed
PREA – Prison Rape Elimination Act           6/26/2020 Completed
PREA Test                                    6/26/2020 Completed
SI: Safety Intelligence                      6/26/2020 Completed
Attestation: Pre-Shift Reporting Staff        6/1/2020 Completed
Health Monitoring
ACLS Renewal class                           5/21/2020 Completed


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Cytotoxic and Hazardous Drug                   10/2/2019 Completed
Medications
2019 Annual - PHI Privacy and Security         4/16/2019 Completed
2019 DH Annual: Current Employee               4/16/2019 Completed
Training
2019 Annual - Infection Prevention             4/16/2019 Completed
PHI Privacy and Security Tip Sheet             4/16/2019 Completed
2019 Annual - Environment of Care              4/16/2019 Completed
2019 Annual - Email Security                   4/16/2019 Completed
PREA – Prison Rape Elimination Act             4/10/2019 Completed
Correctional Care - Hospital Return Test       4/10/2019 Completed

PREA Test                                      4/10/2019 Completed
Correctional Care - Civilian Education Test    4/10/2019 Completed

Opiate Withdrawal Protocol Test                4/10/2019 Completed
Pressure Injury: NDNQI Module I-Staging        4/10/2019 Completed

Correctional Care Withdrawal Protocol          4/10/2019 Completed
Trainings
Pressure_Injury                                4/10/2019 Completed
Verbal de-escalation of the agitated patient   4/10/2019 Completed
(Chapter 1)
Pressure Injury Prevention, Management         4/10/2019 Completed
and Treatment Policy
Verbal de-escalation of the agitated patient   4/10/2019 Completed
(Chapter 4)
Verbal de-escalation of the agitated patient   4/10/2019 Completed
(Chapter 3)
Pressure Injury-NDNQI Module II                4/10/2019 Completed
PREA – Prison Rape Elimination Act             4/10/2019 Completed
2019 Annual - Code of Conduct (Test Out)       4/10/2019 Completed (Equivalent)

Verbal de-escalation of the agitated patient   4/10/2019 Completed
(Chapter 5)
Alcohol Withdrawal Protocol                    4/10/2019 Completed
Alcohol Withdrawal Protocol Test               4/10/2019 Completed
Correctional Care                              4/10/2019 Completed
Benzodiazepine Withdrawal Protocol             4/10/2019 Completed
Verbal de-escalation of the agitated patient   4/10/2019 Completed
(Chapter 2)
Correctional Care Sensitivity                  4/10/2019 Completed
Correctional Care - Hospital                   4/10/2019 Completed
Return/Correctional Care Trauma Protocol

2019 Annual - Your Environment of Care         4/10/2019 Completed



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Correctional Care - Suicide Prevention    4/10/2019 Completed
Opiate Withdrawal Protocol                4/10/2019 Completed
2019 Annual-Code of Conduct               4/10/2019 Completed
Pressure Injury                           4/10/2019 Completed
De-Escalation of the Agitated Patient     4/10/2019 Completed
Correctional Care - Suicide Prevention    4/10/2019 Completed
Correctional Care - Civilian Education    4/10/2019 Completed
Benzodiazepine Withdrawal Protocol Test   4/10/2019 Completed

2019 Annual - EOC Recycling Info         4/10/2019 Completed
Correctional Care Sensitivity            4/10/2019 Completed
2019 Annual - Code of Conduct            4/10/2019 Completed
2019 Annual - DH Experience              3/14/2019 Completed
Denver Health Code of Conduct            3/14/2019 Completed
2019 Annual - Drug-, Violence-, and      3/14/2019 Completed
Harassment-Free Workplace
2019 Annual - Drug-, Violence-, and      3/14/2019 Completed
Harassment-Free Workplace
2019 Annual - The Denver Health          3/13/2019 Completed
Experience
RestraintsSafety                        11/15/2018 Completed
Restraint and Seclusion Policy          11/15/2018 Completed
Restraints Safety                       11/15/2018 Completed
ACS PolicyStat Module                    7/24/2018 Completed
Epic Beacon 2018 Upgrade                 7/24/2018 Completed
EpicCare Link for Jail 2018 Upgrade      7/24/2018 Completed
EP18 Upgrade Overview                    7/24/2018 Completed
EP18 Beacon Upgrade Training             7/24/2018 Completed
Epic Beaker 2018 Upgrade for EpicCare    7/11/2018 Completed
Link Jail
Complications of Intravenous Therapy     6/20/2018 Completed
Monitoring a peripheral intravenous      6/20/2018 Completed
catheter site
Placement and Management of IV           6/20/2018 Completed
Catheters Policy Update
Attestation                              6/20/2018 Completed
Wombat Training: Password Policy         5/23/2018 Completed
Wombat Training: Email Security          5/23/2018 Completed
DH Annual - Email and Password Security 5/23/2018 Completed
Training
ACLS Certification                       5/15/2018 Completed
Alaris Pump Training                     4/11/2018 Completed
Alaris IV Pump Competency                4/11/2018 Completed
DH Annual: Workplace Violence             4/4/2018 Completed
DH Annual - Current Employee Training     4/4/2018 Completed




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Workplace Violence (2018 Test Out               4/4/2018 Completed (Equivalent)
Option)
DH Annual-Workplace Violence (2018)             4/4/2018 Completed
DH Annual-Infection Prevention                 3/14/2018 Completed
DH Annual-Language Services                    3/14/2018 Completed
DH Annual-Environment of Care                  3/14/2018 Completed
DH Annual-Understanding Sexual                 3/14/2018 Completed
Harassment
DH Annual: Language Services                   3/14/2018 Completed
DH Annual: Protected Health Information        3/14/2018 Completed
(PHI) Privacy and Security
DH Annual: Infection Prevention                3/14/2018 Completed
DH Annual: Understanding Sexual                3/14/2018 Completed
Harassment
DH Annual: Perfecting the Patient              3/14/2018 Completed
Experience
DH Annual-PHI Privacy and Security             3/14/2018 Completed
DH Annual-Perfecting the Patient               3/14/2018 Completed
Experience
Verbal de-escalation of the agitated patient   3/13/2018 Completed
(Chapter 3)
DH Annual: Code of Conduct                     3/13/2018 Completed
Correctional Care - Suicide Prevention         3/13/2018 Completed
DH Annual: Drug-Free Workplace                 3/13/2018 Completed
Standards of Behavior                          3/13/2018 Completed
EpicCare Link Denver City and County Jail      3/13/2018 Completed

Correctional Care - Hospital Return Test       3/13/2018 Completed

PREA Test                                      3/13/2018 Completed
PREA – Prison Rape Elimination Act             3/13/2018 Completed
DH Annual-Drug-Free Workplace                  3/13/2018 Completed
DH Annual - Diversity and Inclusion            3/13/2018 Completed
Correctional Care                              3/13/2018 Completed
Verbal de-escalation of the agitated patient   3/13/2018 Completed
(Chapter 4)
Verbal de-escalation of the agitated patient   3/13/2018 Completed
(Chapter 2)
Correctional Care - Civilian Education Test    3/13/2018 Completed

DH Annual: Environment of Care                 3/13/2018 Completed
Verbal de-escalation of the agitated patient   3/13/2018 Completed
(Chapter 1)
De-Escalation of the Agitated Patient          3/13/2018 Completed
Correctional Care - Suicide Prevention         3/13/2018 Completed
Code of Conduct Policy                         3/13/2018 Completed
Oral Examination Video                         3/13/2018 Completed


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Verbal de-escalation of the agitated patient   3/13/2018 Completed
(Chapter 5)
PREA – Prison Rape Elimination Act             3/13/2018 Completed
Correctional Care Sensitivity                  3/13/2018 Completed
Correctional Care - Civilian Education         3/13/2018 Completed
Correctional Care - Hospital                   3/13/2018 Completed
Return/Correctional Care Trauma Protocol

DH Annual-Code of Conduct                      3/13/2018 Completed
DH Annual: Diversity and Inclusion             3/13/2018 Completed
Correctional Care Sensitivity                  3/13/2018 Completed
Harassment Avoidance                            3/2/2018 Completed
FMLA                                           2/23/2018 Completed
DH Annual: Protected Health Information        7/28/2017 Completed
(PHI) Privacy and Security
DH Annual: Understanding Sexual                7/28/2017 Completed
Harassment
DH Annual-Drug-Free Workplace                  7/28/2017 Completed
DH Annual-Infection Prevention                 7/28/2017 Completed
DH Annual: Code of Conduct                     7/28/2017 Completed
DH Annual-Code of Conduct                      7/28/2017 Completed
DH Annual: Drug-Free Workplace                 7/28/2017 Completed
DH Annual: Medical Interpreter Services        7/28/2017 Completed

DH Annual: Workplace Violence                  7/28/2017 Completed
DH Annual-Understanding Sexual                 7/28/2017 Completed
Harassment
DH Annual: Perfecting the Patient              7/28/2017 Completed
Experience
DH Annual-Perfecting the Patient               7/28/2017 Completed
Experience
DH Annual                                      7/28/2017 Completed
DH Annual-Interpreter Services                 7/28/2017 Completed
DH Annual-Workplace Violence                   7/28/2017 Completed
Code of Conduct Policy                         7/28/2017 Completed
DH Annual-PHI Privacy and Security             7/28/2017 Completed
DH Annual-Environment of Care                  7/28/2017 Completed
DH Annual: Infection Prevention                7/28/2017 Completed
Correctional Care Civilian Education            7/4/2017 Completed
Correctional Care - Suicide Prevention          7/4/2017 Completed
EMAR Tutorials Test                             7/4/2017 Completed
Appendix A - List of Printers for EMAR          7/4/2017 Completed

Correctional Care - Suicide Prevention          7/4/2017 Completed
EMAR Tutorials                                  7/4/2017 Completed




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Providing Quality Care to LGBT Patients,      7/4/2017 Completed
an Introduction for Staff Training

Tutorial 4.0 - Order Alcohol Withdrawal       7/4/2017 Completed
Plan
Tutorial 1.1 - Order a Medication that is     7/4/2017 Completed
Non-Formulary
Correctional Care Sensitivity                 7/4/2017 Completed
Correctional Care                             7/4/2017 Completed
Correctional Care Sensitivity                 7/4/2017 Completed
Tutorial 3.0 - The Anatomy of the EMAR        7/4/2017 Completed

Tutorial 2.0 - How to Print a EMAR            7/4/2017 Completed
Standards of Behavior                         7/4/2017 Completed
PREA – Prison Rape Elimination Act            7/4/2017 Completed
Providing Quality Care to LGBT Patients,      7/4/2017 Completed
an Introduction for Staff Training

Tutorial 1.0 - Adding a New Order             7/4/2017 Completed
Providing Quality Care to LGBT Patients       7/4/2017 Completed
Test
ReadyOp Policy                                7/4/2017 Completed
DH Annual: Environment of Care                7/4/2017 Completed
Tutorial 2.1 - How to Print an individual     7/4/2017 Completed
order
Tutorial 1.2 - Add Order With Custom          7/4/2017 Completed
Days
Tutorial 5.0 - Order Opiate Withdrawal        7/4/2017 Completed
Plan
PREA – Prison Rape Elimination Act            7/4/2017 Completed
EMAR Cover Page                               7/4/2017 Completed
PREA Test                                     7/4/2017 Completed
Correctional Care: Civilian Education         7/4/2017 Completed
ID-Missing Persons and Leaving Against      11/10/2016 Completed
Medical Advise Policy for Nursing

Missing Persons and Leaving Against         11/10/2016 Completed
Medical Advice Policy Test for Nursing
Missing Persons and Leaving Against         11/10/2016 Completed
Medical Advice Policy for Nursing
Reasonable Accommodation and                 8/31/2016 Completed
Interactive Process for Disabilities and
Pregnancy
DH Annual-PHI Privacy and Security           8/13/2016 Completed
DH Annual-Perfecting the Patient             8/13/2016 Completed
Experience



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DH Annual: Perfecting the Patient         8/13/2016 Completed
Experience
DH Annual                                 8/13/2016 Completed
DH Annual-Understanding Sexual            8/12/2016 Completed
Harassment
DH Annual: Protected Health Information   8/12/2016 Completed
(PHI) Privacy and Security
DH Annual-Infection Prevention            8/12/2016 Completed
DH Annual-Interpreter Services            8/12/2016 Completed
DH Annual-Workplace Violence              8/12/2016 Completed
DH Annual-Fraud and Abuse Awareness       8/12/2016 Completed

DH Annual-Environment of Care             8/12/2016 Completed
DH Annual: Understanding Sexual           8/10/2016 Completed
Harassment
DH Annual: Workplace Violence             7/16/2016 Completed
Correctional Care - Suicide Prevention    7/16/2016 Completed
DH Annual: Medical Interpreter Services   7/16/2016 Completed

DH Annual: Infection Prevention           7/16/2016 Completed
Correctional Care                         7/16/2016 Completed
DH Annual: Environment of Care            7/16/2016 Completed
Correctional Care - Suicide Prevention    7/16/2016 Completed
DH Annual-Drug-Free Workplace             7/13/2016 Completed
DH Annual: Fraud Abuse and Awareness      7/13/2016 Completed

Nursing Certification Survey              7/13/2016 Completed
Nursing Certification Survey              7/13/2016 Completed
Baby-Friendly Hospital                    6/29/2016 Completed (Equivalent)
Standards of Behavior                     6/29/2016 Completed
Correctional Care: Civilian Education     6/29/2016 Completed
Correctional Care Civilian Education      6/29/2016 Completed
Baby-Friendly Hospital                    6/29/2016 Completed
DH Annual: Drug-Free Workplace            6/29/2016 Completed
ACLS Renewal class                        6/22/2016 Completed
CE002 Viewing a Patients Care              4/5/2016 Completed
Everywhere Information
CE002 Viewing a Patients Care              4/5/2016 Completed
Everywhere Information
CLNAMB001 Overview of Hyperspace in       3/31/2016 Completed
an Outpatient Setting
PREA – Prison Rape Elimination Act        3/30/2016 Completed
PREA Test                                 3/30/2016 Completed
Getting Started with Cornerstone          3/30/2016 Completed
PREA – Prison Rape Elimination Act        3/30/2016 Completed
Correctional Care Sensitivity             3/30/2016 Completed
Epic Training Acknowledgement             3/30/2016 Completed


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CLN059 Reviewing the Chart                 3/18/2016 Completed
Correctional Care Sensitivity              3/17/2016 Completed
Acute Care Competency                      7/14/2015 Completed
Acute Care Competency                      6/19/2015 Completed
CHS: General Laboratory Competency         6/19/2015 Completed
Correctional Care                          6/19/2015 Completed
Recognizing and Reporting Family            4/3/2015 Completed
Violence and Abuse
Medication Test - ADULT                     4/3/2015 Completed
Recognizing and Reporting Family            4/3/2015 Completed
Violence and Abuse
DH Annual                                   4/3/2015 Completed
SI: Safety Intelligence                    8/10/2014 Completed
Acute Care Competency                      8/10/2014 Completed
Medication Test - ADULT                    7/31/2014 Completed
Medication Test - PEDS                     7/31/2014 Completed
2014 ACLS Renewal                          6/19/2014 Completed
Medication Test - ADULT                    5/31/2014 Completed
Caritas in Nursing                         5/31/2014 Completed
CNA/HCT Competency Exam                    5/31/2014 Completed
Hand Hygiene                               5/31/2014 Completed
Hand Hygiene                               5/31/2014 Completed (Equivalent)
Acute Care Competency                      12/8/2013 Completed
Preventing Central Line Associated Blood   12/8/2013 Completed
Stream Infections (CLABSI)
2013 Preceptor Training                    9/19/2013 Completed
Acute Care Competency                      5/30/2013 Completed
General Laboratory Competency              5/30/2013 Completed
Regulatory Compliance & Accreditation      5/30/2013 Completed
Active Staffer for Nursing Employees       5/30/2013 Completed
DSD - 2013 Skills Fair                      4/8/2013 Completed
LLC: Viewing Pt Info in the Clinical       12/2/2012 Completed
Summary
LLC: Introduction                          12/2/2012 Completed
LLC: Searching for Pts and Using Your      12/2/2012 Completed
Census
CHS: General Laboratory Competency         12/2/2012 Completed
Acute Care Competency                      12/2/2012 Completed
LLC: Access and Navigation                 12/2/2012 Completed
General Laboratory Competency              12/2/2012 Completed
Acute Care Competency                      12/2/2012 Completed
2012 Nursing Ethics                        12/2/2012 Completed
General Laboratory Competency              12/2/2012 Completed
PSN - Patient Safety Net                   11/1/2012 Completed
General Laboratory Competency              11/1/2012 Completed
TracemasterVue                             10/6/2012 Completed
General Laboratory Competency              10/6/2012 Completed


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Medication Test - ADULT                   10/6/2012 Completed
2012 Education & Certification Survey     10/6/2012 Completed
TraceMasterVue                            10/6/2012 Completed
IV Pump Test                               8/1/2012 Completed
CHS: General Laboratory Competency         8/1/2012 Completed
2012 Suicide Prevention                   6/18/2012 Completed
CHS: General Laboratory Competency        6/18/2012 Completed
2012 PALS Provider Course (Day 1: 0800    6/11/2012 Completed
to 1600) (Day 2: 0800 to 1200)
2012 PALS Provider Course (Day 1: 0800    6/11/2012 Completed
to 1600) (Day 2: 0800 to 1200)
2012 PALS Provider Course (Day 1: 0800    6/11/2012 Completed
to 1600) (Day 2: 0800 to 1200)
2012 PALS Provider Course (Day 1: 0800    6/11/2012 Completed
to 1600) (Day 2: 0800 to 1200)
2012 PALS Provider Course (Day 1: 0800    6/11/2012 Completed
to 1600) (Day 2: 0800 to 1200)
2012 ACLS/BLS Provider (Day1: 0800-        6/7/2012 Completed
1600) (Day2: 0800-1300)
2012 ACLS/BLS Provider (Day1: 0800-        6/7/2012 Completed
1600) (Day2: 0800-1300)
2012 ACLS/BLS Provider (Day1: 0800-        6/7/2012 Completed
1600) (Day2: 0800-1300)
2012 ACLS/BLS Provider (Day1: 0800-        6/7/2012 Completed
1600) (Day2: 0800-1300)
2012 ACLS/BLS Provider (Day1: 0800-        6/7/2012 Completed
1600) (Day2: 0800-1300)
OD - Improving Customer Experience with   3/23/2012 Completed
AIDET
OD - Improving Customer Experience with   3/23/2012 Completed
AIDET
OD - Improving Customer Experience with   3/23/2012 Completed
AIDET
OD - Improving Customer Experience with   3/23/2012 Completed
AIDET
OD - Improving Customer Experience with   3/23/2012 Completed
AIDET
General Laboratory Competency             2/19/2012 Completed
2012 AHRQ - CLABSI Prevention             2/19/2012 Completed
2012 Correctional Care Sensitivity        2/19/2012 Completed
Medication Test - NICU                    1/13/2012 Completed
StatStrip Xpress Glucose Meter            1/13/2012 Completed
Acute Care Competency                     1/13/2012 Completed
API/Time and Attendance Frequently        1/13/2012 Completed
Asked Questions (FAQs)
Provider Compliance                       1/13/2012 Completed
RN/LPN Competency                         1/13/2012 Completed


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HIPAA: Rights & Responsibilities II   1/13/2012 Completed
Medication Test - ADULT               1/13/2012 Completed
Respiratory Therapy Blood Gas         1/13/2012 Completed
Competency
Medication Test - ADULT               1/13/2012 Completed
CNA/HCT Competency Exam               1/13/2012 Completed
MAK Introduction Lesson               1/13/2012 Completed
HIPAA Rights and Responsibilities     1/13/2012 Completed
Domestic Violence Elder Abuse         1/13/2012 Completed
CHS: General Laboratory Competency    1/13/2012 Completed
At Risk Patient                       12/9/2011 Completed
General Laboratory Competency         12/9/2011 Completed
2011 Nursing Orientation Day 2        11/9/2011 Completed
2011 Nursing Orientation Day 1        11/8/2011 Completed




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          Name                Completion Status   Completion Date and
                                                         Time
2024 Phishing Foundations Completed                        9/2/2024 22:28
Annual Ed
2024 PHI Privacy and        Completed                      9/2/2024 22:23
Security
2024 PHI Privacy and        Completed                      9/2/2024 22:16
Security Test-Out
2024 Infection Prevention   Completed                      9/2/2024 22:04
2024 Environment of Care Completed                         9/2/2024 22:01
Emergency Management
2024 Environment of Care - Completed                       9/2/2024 21:52
Emergency Mgt Test-Out
2024 Environment of Care - Completed                       9/2/2024 21:43
Safety Test Out
2024 Code of Conduct        Completed                      9/2/2024 21:36
Policy
2024 Code of Conduct        Completed                      9/2/2024 21:35
2024 Health Equity Training Completed                      9/2/2024 21:28

2024 Code of Conduct Test- Completed                        9/2/2024 4:20
Out
Denver Sheriff Health      Completed                        9/2/2024 1:14
Services August 2024 Staff
Meeting
Denver Sheriff Health      Completed                        9/2/2024 0:42
Services July 2024 Staff
Meeting
(Course) Workplace         Completed                        9/2/2024 2:06
Diversity, Equity, and
Inclusion in Action
THRIVE - Introduction to   Completed                        9/2/2024 0:58
Peer Support at Denver
Health
2024 Compliance -          Completed                       7/15/2024 4:51
Employees
2024 Drug and Alcohol-Free Completed                       7/15/2024 1:47
Workplace Test-Out
2024 The Human             Completed                       7/15/2024 1:40
Experience at Denver
Health Test-Out
2024 Annual Ed - Current   Completed                       9/2/2024 22:28
Employees Program
Denver Sheriff Health      Completed                        7/1/2024 5:40
Services June 2024 Staff
Meeting
Denver Sheriff Health      Completed                        7/1/2024 5:43
Services SBAR Training
Introduction to THRIVE     Completed                       7/15/2024 1:34




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Denver Sheriff Health       Completed                    6/4/2024 3:16
Services Annual Education

Denver Sheriff Health      Completed                     6/4/2024 3:00
Services May 2024 Staff
Meeting
Denver Sheriff Health      Completed                     4/3/2024 0:04
Services March 2024 Staff
Meeting
2024 PHI Privacy and       Completed                    9/2/2024 22:23
Security Test-Out
2024 Environment of Care - Completed                    9/2/2024 22:01
Emergency Mgt Test-Out
2024 Environment of Care - Completed                    9/2/2024 21:43
Safety
2024 Code of Conduct Test- Completed                    9/2/2024 21:35
Out
2024 Drug and Alcohol Free Completed                    7/15/2024 1:47
Workplace
2024 The Human             Completed                    7/15/2024 1:40
Experience at Denver
Health




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              JC-03 Professional Development
          DENVER SHERIFF HEALTH SERVICES
   2016 TRAINING/CONTINUING EDUCATION RECORD

NAME:             Crum, Pete


TITLE / FTE:      MD, 1.0


DATE OF HIRE: 3/3/1997

                 Continuing Education Taken
          Date               Title                  Hours
12/1/15           EPIC Discovery Meeting             1.00

1/27/16           CQI Meeting                       1.00
3/29/16           2016 Skills Fair                  4.00
4/27/16           CQI Meeting                       1.00
8/29/16           Cornerstone Learning              13.00

8/24/16           CQI Meeting                       1.00
8/30/16           P & T Meeting                     1.00
09/21/16          Mandatory Staff Meeting           1.50

11/2/16           CQI Meeting                       1.00
10/31/16          BLS Re-cert                       2.50
11/28/16          Education regarding CQI           4.00

11/30/16          Mandatory Staff Meeting           1.50

11/30/16          Alcohol Withdrawal                15.00
                  Presentation
                                                    47.50




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               JC-03 Professional Development
           DENVER SHERIFF HEALTH SERVICES
    2017 TRAINING/CONTINUING EDUCATION RECORD

NAME:          Crum, Pete


TITLE / FTE:   MD, 1.0


DATE OF HIRE: 3/3/1997

               Continuing Education Taken
        Date                      Title                Hours
2/22/17        CQI Meeting                              1.00
3/8/17         EPIC Meeting                             1.00
4/14/17        Access to Care Board and Quiz            0.50
4/26/17        CQI Meeting                              1.00
6/21/17        Mandatory Meeting                        1.50
6/27/17        Medication Administration Competency     0.50
8/22/17        Skills Fair                              1.00
08/23/17       Cornerstone Learning                    16.00
9/20/17        Mandatory Meeting                        1.00
8/30/17        CQI Meeting                              1.00
11/9/17        Cornerstone Learning                     5.00
11/15/17       Mandatory Meeting                        1.00
11/16/17       American College of Physicians          20.00
11/29/17       CJIS Training and Test                   1.00
                                                       51.50




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             JC-03 Professional Development
         DENVER SHERIFF HEALTH SERVICES
  2018 TRAINING/CONTINUING EDUCATION RECORD

NAME:              Crum, Pete


TITLE / FTE:       MD, 1.0


DATE OF HIRE: 3/3/1997

                 Continuing Education Taken
          Date                      Title               Hours
1/31/18            CQI Meeting                           1.50
2/7/18             Peter's Discussion Meeting (duties    0.50
                   while out)
2/27/18            CQI Meeting                           1.50
4/25/18            CQI Meeting                           1.50
5/16/18            Mandatory All Staff Meeting           1.50
6/5/18             Skills Fair                           2.00
6/13/18            Cornerstone                          27.00
08/14/18           P&T Committee Meeting                 1.00
8/16/18            Leadership Retreat                    8.00
9/5/18             CQI Meeting                           1.00
                                                        45.50




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            JC-03 Professional Development
        DENVER SHERIFF HEALTH SERVICES
 2019 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Crum, Pete


TITLE / FTE:     MD, 1.0


DATE OF HIRE: 3/3/1997

               Continuing Education Taken
        Date                      Title             Hours
1/30/19          CQI Meeting                         1.00
2/27/19          CQI Meeting                         1.00
04/11/19         CME ACP                            21.00
4/17/19          CQI Meeting                         1.00
4/23/19          ACP Learning                       21.00
5/2/19           Cornerstone Learning               21.00
5/7/19           CIIS- Immunization                  0.50
05/22/19         Nurse Advisary Meeting              0.50
6/4/19           Skills Fair                         1.50
08/21/19         All Staff Meeting                   1.00
10/09/19         Help A Quiz                         0.50
11/06/19         CQI Meeting                         1.00




                                                    71.00




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                  JC-03 Professional Development
              DENVER SHERIFF HEALTH SERVICES
       2020 TRAINING/CONTINUING EDUCATION RECORD

NAME:          Crum, Pete


TITLE / FTE:   MD, 1.0


DATE OF HIRE: 3/3/1997

                  Continuing Education Taken
        Date                        Title                      Hours
1/9/20         Hep A Video                                      0.50
2/12/20        All Staff Meetign                                1.50
03/10/20       ACA Webinar                                      1.50
4/15/20        Covid 19 Meetings March 12th - April 15th       21.00
4/16/20        PPE Refresher                                    0.50
8/5/20         Cornerstone                                      8.00
8/5/20         Virtual Skills Fair                              4.00
10/28/20       Correctional Care                               12.00
10/29/20       BLS                                              4.00
                                                               53.00




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                   JC-03 Professional Development
               DENVER SHERIFF HEALTH SERVICES
        2021 TRAINING/CONTINUING EDUCATION RECORD

NAME:          Crum, Pete


TITLE / FTE:   MD / 1.0


DATE OF HIRE: 3/3/1997

                   Continuing Education Taken
        Date                           Title                      Hours
4/2/21         Denver County Bld 24 Tour / Scavenger Hunt          1.00
11/29/21       Cornerstone                                        31.00
11/30/21       Mortality review presentations x 6                  6.00
11/30/21       2021 Medical student orientees                      2.00
                                                                  40.00




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                       DENVER SHERIFF HEALTH SERVICES
                2022 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Crum, Pete

TITLE / FTE:    MD / .8

DATE OF HIRE:   3/3/1997

                                Continuing Education Taken
       Date                                    Title                                  Hours
12/30/2021      Cornerstones                                                           8.00
1/6/2022        Mortality Review                                                       1.00
3/1/2022        Mental health and use of force                                         1.00
3/1/2022        Culture of respect                                                     1.00
3/1/2022        Jan monthly meeting                                                    1.00
3/2/2022        Mortality Review                                                       2.00
4/27/2022       March mandatory meeting                                                1.00
5/31/2022       Medical care escalation                                                1.00
5/31/2022       Infirmary medical unit level of care                                   1.00
5/31/2022       Critical values vital signs                                            1.00
6/1/2022        APP Meeting                                                            1.00
7/13/2022       APP Meeting                                                            1.00
7/27/2022       APP Meeting                                                            1.00
7/29/2022       Denver Sheriff Health Services June 2022 Monthly Staff Meeting         1.00
7/29/2022       Denver Sheriff Health Services April 2022 Monthly Staff Meeting        1.00
7/6/2022        Denver Sheriff Health Services May 2022 Mandatory Staff Meeting        1.00
7/8/2022        2022 Denver Sheriff Health Services Access to Care                     1.00
Jan-Mar         APP Meeting                                                            4.00
9/19/2022       CJIS                                                                   1.00
9/7/2022        APP Meeting                                                            1.00
9/22/2022       2022 DH Annual: Current Employees                                      6.00
9/22/2022       August Mandatory Monthly Meeting                                       1.00
9/22/2022       PREA                                                                   1.00
9/22/2022       Denver Sheriff Oral Exam                                               1.00
10/19/2022      APP Meeting                                                            1.00
10/10/2022      Denver Sheriff Health Services Infant/Child BLS                        1.00
10/10/2022      Denver Sheriff Health Services Wired Jaw Emergencies 2.0               1.00
10/27/2022      BLS/CPR Skills Check off                                               1.50
11/16/2022      APP Meeting                                                            1.00
11/29/2022      Denver Sheriff Health Services September 2022 Staff Meeting            1.00
11/29/2022      Denver Sheriff Health Services October 2022 Staff Meeting              1.00
11/29/2022      Workplace Diversity, Equity and Inclusion in Action                    6.00
11/28/2022      Denver Sheriff Health Services 2022 Skills Fair                        7.00
                                                                                       60.50



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                        DENVER SHERIFF HEALTH SERVICES
                  2023 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Crum, Pete

TITLE / FTE:    MD / .8

DATE OF HIRE:   3/3/1997

                                  Continuing Education Taken
       Date                                          Title                                Hours
12/28/2022      Denver Sheriff Health Services July 2022 Staff Meeting                     1.00
12/30/2022      November 2022 Mandatory Staff Meeting                                      1.00
12/30/2022      Denver Sheriff Health Services Mental Health Training 2022                 1.00
1/30/2023       Denver Sheriff Health Services December 2022 Staff Meeting                 1.00
1/11/2023       APP Meeting                                                                0.50
12/14/2022      APP Meeting                                                                1.00
2/22/2023       APP Meeting                                                                0.50
2/10/2023       DSHS PPE                                                                   1.00
4/5/2023        APP Meeting                                                                0.50
4/4/2023        Denver Sheriff Health Services February 2023 Mandatory Staff Meeting       1.00
6/26/2023       2023 DH Annual: Current Employees                                          8.00
6/27/2023       Denver Sheriff Health Services May 2023 Mandatory Staff Meeting            1.00
6/14/2023       APP Meeting                                                                0.50
6/5/2023        Medical Knowledge Self-Assessment Program                                 19.00
7/11/2023       Medical Knowledge Self-Assessment Program                                 19.00
8/9/2023        APP Meeting                                                                0.50
8/13/2023       Medical Knowledge Self-Assessment Program                                 19.00
8/17/2023       Denver Sheriff Health Services Protocol Quiz                               1.00
8/17/2023       Denver Sheriff Health Services Withdrawal Protocols                        1.00
8/28/2023       Denver Sheriff Health Services Culture of Respect
8/28/2023       Denver Sheriff Health Services Medication Verification Quiz                1.00
8/28/2023       Denver Sheriff Health Services Medical Care Escalation                     1.00
8/28/2023       Denver Sheriff Health Services Access to Care                              1.00
8/28/2023       Denver Sheriff Health Services Oral Examination                            1.00
8/28/2023       Denver Sheriff Health Services Emergency Response Video                    1.00
8/28/2023       Denver Sheriff Health Services Correctional Care Education                 1.00
9/13/2023       APP Meeting                                                                0.50
10/12/2023      Denver Sheriff Health Services January 2023 Staff Meeting                  1.00
10/12/2023      Denver Sheriff Health Services June 2023 Staff Meeting                     1.00
10/12/2023      Denver Sheriff Health Services August 2023 Mandatory Staff Meeting         1.00
10/12/2023      Denver Sheriff Health Services March 2023 Staff Meeting                    1.00
10/12/2023      Denver Sheriff Health Services September 2023 Staff Meeting                1.00
10/12/2023      Denver Sheriff Health Services April 2023 Staff Meeting                    1.00
11/28/2023      Denver Sheriff Health Services 2023 Skills Fair                           10.00



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                                                                         100.00




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                     DENVER SHERIFF HEALTH SERVICES
               2024 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Crum, Pete

TITLE / FTE:     MD / .8

DATE OF HIRE:    3/3/1997

                             Continuing Education Taken
       Date                                    Title                             Hours
2/21/2024        Denver Sheriff Health Services January 2024 Staff Meeting        1.00
3/5/2024         Forms Committee                                                  1.00
3/12/2024        Denver Sheriff Health Services February 2024 Staff Meeting       1.00
6/11/2024        Mortality Meeting                                                0.50
6/25/2024        Denver Sheriff Health Services May Meeting                       1.00
7/24/2024        DSHS Annual Education                                           12.00
7/24/2024        DSHS SBAR Training                                               0.50
7/24/2024        Denver Sheriff Health Services June 2024 Staff Meeting           1.00
7/24/2024        Denver Sheriff Health Services SBAR Training                     0.50
3/21/2024        Mortality Meeting                                                1.00
8/27/2024        Denver Sheriff Health Services July 2024 Staff Meeting           1.00
                                                                                 20.50




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                 Training Title                     Completed Date                Status
Denver Sheriff Health Services February 2024                  3/12/2024 Completed
Staff Meeting
(COURSE) Delivering Feedback That                             3/12/2024 Completed
Encourages Growth
Denver Sheriff Health Services February 2024                  3/12/2024 Completed
Staff Meeting
Comm Video 2 Leader Essent CnrStne                            3/12/2024 Completed
Denver Sheriff Health Services February 2024                  3/12/2024 Completed
Staff Meeting
Denver Sheriff Health Services January 2024                   2/21/2024 Completed
Staff Meeting
Denver Sheriff Health Services January 2024                   2/21/2024 Completed
Staff Meeting
Denver Sheriff Health Services January 2024                   2/21/2024 Completed
Staff Meeting
Denver Sheriff Health Services Pharmacy 2023                 11/28/2023 Completed
Skills Fair
Denver Sheriff Health Services Portal Line                   11/28/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Portal Line                   11/28/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Medical Housing               11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Timecard and                  11/28/2023 Completed
Attendance 2023 Skills Fair
Denver Sheriff Health Services Medical                       11/28/2023 Completed
Equipment and Supplies 2023 Skills Fair
Denver Sheriff Health Services Epic Care Link                11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Health                        11/28/2023 Completed
Information Management 2023 Skills Fair
Denver Sheriff Health Services Opiate Protocol               11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Hunger Strike/                11/28/2023 Completed
Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services Behavioral                    11/28/2023 Completed
Health 2023 Skills Fair
Denver Sheriff Health Services DSD 2023 Skills               11/28/2023 Completed
Fair
Denver Sheriff Health Services DSD 2023 Skills               11/28/2023 Completed
Fair
Denver Sheriff Health Services Pharmacy 2023                 11/28/2023 Completed
Skills Fair
Denver Sheriff Health Services Behavioral                    11/28/2023 Completed
Health 2023 Skills Fair



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Denver Sheriff Health Services Womens Care                   11/28/2023 Completed
Clinic 2023 Skills Fair
Denver Sheriff Health Services 2023 Skills Fair              11/28/2023 Completed

Denver Sheriff Health Services Medical Housing               11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Hunger                        11/28/2023 Completed
Strike/Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services Timecard and                  11/28/2023 Completed
Attendance 2023 Skills Fair
Denver Sheriff Health Services Inventories and               11/28/2023 Completed
Staff Safety 2023 Skills Fair
Denver Sheriff Health Services Opiate Protocol               11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Health                        11/28/2023 Completed
Information Management 2023 Skills Fair
Denver Sheriff Health Services Epic Care Link                11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Pregnancy Test                11/28/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Inventories                   11/28/2023 Completed
Maintained and Staff Safety 2023 Skills Fair
Denver Sheriff Health Services Women's Care                  11/28/2023 Completed
Clinic 2023 Skills Fair
Leader Essentials - Physician Manager                        10/26/2023 Completed
Equivalency
Denver Sheriff Health Services March 2023                    10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services June 2023 Staff               10/12/2023 Completed
Meeting
Denver Sheriff Health Services August 2023                   10/12/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services April 2023 Staff              10/12/2023 Completed
Meeting
Denver Sheriff Health Services January 2023                  10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services August 2023                   10/12/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services April 2023 Staff              10/12/2023 Completed
Meeting
Denver Sheriff Health Services September 2023                10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services June 2023 Staff               10/12/2023 Completed
Meeting
Denver Sheriff Health Services June 2023 Staff               10/12/2023 Completed
Meeting



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Denver Sheriff Health Services March 2023                    10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services September 2023                10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services August 2023                   10/12/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services January 2023                  10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services January 2023                  10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services March 2023                    10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services April 2023 Staff              10/12/2023 Completed
Meeting
Denver Sheriff Health Services September 2023                10/12/2023 Completed
Staff Meeting
Denver Sheriff Health Services Medication                     8/28/2023 Completed
Verification Quiz
Oral Examination Video                                        8/28/2023 Completed
Denver Sheriff Health Services Medical Care                   8/28/2023 Completed
Escalation
Denver Sheriff Health Services Emergency                      8/28/2023 Completed
Response Video
Denver Sheriff Health Services Access to Care                 8/28/2023 Completed

Denver Sheriff Code of Conduct                                8/28/2023 Completed
Denver Sheriff Health Services Culture of                     8/28/2023 Completed
Respect
Medical Care Escalation Policy                                8/28/2023 Completed
Basic Oral Examination                                        8/28/2023 Completed
Denver Sheriff Health Services Suicide                        8/28/2023 Completed
Prevention for Correctional Care
Denver Sheriff Health Services Critical Values-               8/28/2023 Completed
Vital Signs
Medical Care Escalation- Attestation Test                     8/28/2023 Completed
Denver Sheriff Health Services Medical Care                   8/28/2023 Completed
Escalation
Denver Sheriff Health Services Hospital Return                8/28/2023 Completed
Education
Denver Sheriff Health Services Culture of                     8/28/2023 Completed
Respect
Denver Sheriff Health Services Medication                     8/28/2023 Completed
Verification Quiz
Denver Sheriff Health Services Medication                     8/28/2023 Completed
Verification Quiz




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2022 Denver Sheriff Health Services Access to               8/28/2023 Completed
Care
Denver Sheriff Health Services Access to Care               8/28/2023 Completed

Denver Sheriff Health Services Correctional                 8/28/2023 Completed
Care Education
Access to Care -Attestation                                 8/28/2023 Completed
Denver Sheriff Health Services Emergency                    8/28/2023 Completed
Response Video
Leader Resource Access Tool                                 8/28/2023 Completed
Denver Sheriff Health Services Oral                         8/28/2023 Completed
Examination
Denver Sheriff Health Services Civilian                     8/28/2023 Completed
Orientation Education
Denver Sheriff Health Services Protocol Quiz                8/17/2023 Completed

Correctional Care Withdrawal Test                           8/17/2023 Completed
Denver Sheriff Health Services Withdrawal                   8/17/2023 Completed
Protocols
Denver Sheriff Health Services Protocol Quiz                8/17/2023 Completed

Denver Sheriff Health Services Correctional                 8/17/2023 Completed
Care Withdrawal Protocols
Denver Sheriff Health Services May 2023                     6/27/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023                     6/27/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023                     6/27/2023 Completed
Mandatory Staff Meeting
2023 Code of Conduct Policy                                 6/26/2023 Completed
2022 Annual: PHI Privacy and Security Test-                 6/26/2023 Completed
Out
2021 PHI Privacy and Security Tip Sheet                     6/26/2023 Completed
2022 Annual: Environment of Care Test-Out                   6/26/2023 Completed
2023 Annual: Code of Conduct Test-Out                       6/26/2023 Completed
2023_PHIPrivacyAndSecurity                                  6/26/2023 Completed (Equivalent)
2023 Code Of Conduct                                        6/26/2023 Completed (Equivalent)
Email Protection Tools                                      6/26/2023 Completed
2023 DH Annual: Current Employees                           6/26/2023 Completed
2023_DH_Annual_Infection_Prevention                         6/26/2023 Completed
The Human Experience at Denver Health                       6/22/2023 Completed
2022 Annual: The Denver Health Experience                   6/22/2023 Completed

2023 Health Equity Training                                 6/22/2023 Completed
2022 Drug/Violence/Harassment-Free                          6/22/2023 Completed
Workplace



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2023 Annual: DEI Test                                        6/22/2023 Completed
Denver Sheriff Health Services February 2023                  4/4/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services February 2023                     4/4/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services February 2023                     4/4/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services PPE                           2/10/2023 Completed
Denver Sheriff Health Services PPE                           2/10/2023 Completed
Denver Sheriff Health Services PPE                           2/10/2023 Completed
Denver Sheriff Health Services December 2022                 1/30/2023 Completed
Staff Meeting
Denver Sheriff Health Services December 2022                 1/30/2023 Completed
Staff Meeting
Denver Sheriff Health Services December 2022                 1/30/2023 Completed
Staff Meeting
Denver Sheriff Health Services November 2022                12/30/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2022                12/30/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2022                12/30/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services Mental Health                12/30/2022 Completed
Training 2022_2
Denver Sheriff Health Services Mental Health                12/30/2022 Completed
Training 2022
Denver Sheriff Health Services July 2022 Staff              12/28/2022 Completed
Meeting
Denver Sheriff Health Services July 2022 Staff              12/28/2022 Completed
Meeting
Denver Sheriff Health Services Mental Health                12/13/2022 Completed
Training 2022
Denver Sheriff Health Services Mental Health                12/13/2022 Completed
Training 2022
(COURSE) Workplace Diversity, Equity, and                   11/29/2022 Completed (Equivalent)
Inclusion in Action
Denver Sheriff Health Services October 2022                 11/29/2022 Completed
Staff Meeting
(VIDEO) Exploring Your Role in Workplace                    11/29/2022 Completed
DEI
Denver Sheriff Health Services September 2022               11/29/2022 Completed
Staff Meeting
Workplace Diversity, Equity and Inclusion in                11/29/2022 Completed
Action
Denver Sheriff Health Services September 2022               11/29/2022 Completed
Staff Meeting



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Workplace Diversity, Equity and Inclusion in                 11/29/2022 Completed
Action
Denver Sheriff Health Services September 2022                11/29/2022 Completed
Staff Meeting
Denver Sheriff Health Services October 2022                  11/29/2022 Completed
Staff Meeting
(VIDEO) Becoming an Advocate for DEI                         11/29/2022 Completed
Denver Sheriff Health Services October 2022                  11/29/2022 Completed
Staff Meeting
(VIDEO) Workplace Diversity, Equity, and                     11/28/2022 Completed
Inclusion in Action
(VIDEO) Taking Steps to Build a DEI Culture                  11/28/2022 Completed

(VIDEO) Recognizing Barriers to Inclusion                    11/28/2022 Completed
Denver Sheriff Health Services 2022 Skills Fair              11/28/2022 Completed

(VIDEO) Beginning a Diversity, Equity, and                   11/28/2022 Completed
Inclusion Journey
Denver Sheriff Health Services 2022 Skills Fair              11/28/2022 Completed
Women's Clinic
Denver Sheriff Health Services 2022 Skills Fair              11/28/2022 Completed
Women's Clinic
2022 Denver Sheriff Health Services Protocol                 11/28/2022 Completed
Quiz
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Behavioral Health Code Changes
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Biohazard Training
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Epic Care Link Training
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Epic Care Link Training
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Crisis Response Team Unit
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Behavioral Health Code Changes
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Crisis Response Team Unit
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Pharmacy
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Pharmacy
Denver Sheriff Health Services 2022 Skills Fair              11/18/2022 Completed
Biohazard Training
Hybrid/Blended BLS/CPR Skills check off                      10/27/2022 Completed




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Denver Sheriff Health Services Wired Jaw                     10/10/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Wired Jaw                     10/10/2022 Completed
Emergencies Test 2.0
Denver Sheriff Health Services Infant/Child BLS              10/10/2022 Completed

Denver Sheriff Health Services Wired Jaw                     10/10/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Infant/Child BLS              10/10/2022 Completed

Denver Sheriff Health Services Infant/Child BLS              10/10/2022 Completed

2022 DH Annual: New Employee Training                         9/22/2022 Completed
2022 Annual: Drug, Violence, and Harassment-                  9/22/2022 Completed (Equivalent)
Free Workplace
Denver Sheriff Health Services August 2022                    9/22/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services August 2022                    9/22/2022 Completed
Mandatory Staff Meeting Quiz
2022 DH Annual - Code of Conduct                              9/22/2022 Completed (Equivalent)
2022 Annual: Code of Conduct Test-Out                         9/22/2022 Completed
2022_DH_Annual_Infection_Prevention                           9/22/2022 Completed
PREA – Prison Rape Elimination Act                            9/22/2022 Completed
PREA Test                                                     9/22/2022 Completed
2022 Annual: Environment of Care Test-Out                     9/22/2022 Completed
PREA – Prison Rape Elimination Act                            9/22/2022 Completed
Denver Sheriff Health Services August 2022                    9/22/2022 Completed
Mandatory Staff Meeting
2022_Environment_of_Care_Denver_Health_An                     9/22/2022 Completed (Equivalent)
nual_Ed
2022_PHIPrivacyAndSecurity                                    9/22/2022 Completed (Equivalent)
Basic Oral Examination                                        9/22/2022 Completed
2022 Annual: PHI Privacy and Security Test-                   9/22/2022 Completed
Out
2022 DH Annual: Current Employees                             9/22/2022 Completed
Denver Sheriff Health Services Oral                           9/22/2022 Completed
Examination
2021 PHI Privacy and Security Tip Sheet                       9/22/2022 Completed
2022 Drug/Violence/Harassment-Free                            9/22/2022 Completed
Workplace
2022 Code of Conduct Policy                                   9/22/2022 Completed
2022 Annual: The Denver Health Experience                     9/22/2022 Completed

2023_Environment_of_Care_Denver_Health_An                     9/22/2022 Completed (Equivalent)
nual_Ed
2022: Email Security                                          9/22/2022 Completed



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2022_Denver_Health_Experience                                 9/22/2022 Completed
Denver Sheriff Health Services July 2022 Staff                9/22/2022 Completed
Meeting
2022 Annual: Drug, Violence, and Harassment-                  9/22/2022 Completed
Free Workplace
Oral Examination Video                                        9/22/2022 Completed
Denver Sheriff Health Services April 2022                     7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2022                     7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2022                      7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2022                      7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2022                      7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2022                     7/29/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services Access to Care                     7/8/2022 Completed

2022 Denver Sheriff Health Services Access to                     7/8/2022 Completed
Care
Denver Sheriff Health Services May 2022                           7/6/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2022                           7/6/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2022                           7/6/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services Critical Values-               5/31/2022 Completed
vital signs Attestation
Denver Sheriff Health Services Medical Care                   5/31/2022 Completed
Escalation
Denver Sheriff Health Services Critical Values-               5/31/2022 Completed
Vital Signs
infirmary Level of Care J-F-02                                5/31/2022 Completed
Medical Care Escalation- Attestation Test                     5/31/2022 Completed
Denver Sheriff Health Services Critical Values-               5/31/2022 Completed
Vital signs
Denver Sheriff Health Services Medical Care                   5/31/2022 Completed
Escalation
Denver Sheriff Health Services Access to Care                 5/31/2022 Completed

Denver Sheriff Health Services                                5/31/2022 Completed
Infirmary/Medical Unit/Level of Care
Access to Care -Attestation                                   5/31/2022 Completed




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Housing Options/Infirmary Level of Care                     5/31/2022 Completed
Attestation
Denver Sheriff Health Services                              5/31/2022 Completed
Infirmary/Medical Unit/Housing-Level of Care

Medical Care Escalation Policy                              5/31/2022 Completed
Denver Sheriff Health Services Access to Care               5/18/2022 Completed

Denver Sheriff Health Services March 2022                   4/27/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services March 2022                   4/27/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services March 2022                   4/27/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services Culture of                       3/1/2022 Completed
Respect
Denver Sheriff Health Services January 2022                     3/1/2022 Completed
Staff Meeting
Denver Sheriff Health Services January 2022                     3/1/2022 Completed
Staff Meeting
Denver Sheriff Health Services Culture of                       3/1/2022 Completed
Respect
Denver Sheriff Health Services Mental Health                    3/1/2022 Completed
and Use of Force 1
Denver Sheriff Health Services Mental Health                    3/1/2022 Completed
and Use of Force Training
Denver Sheriff Health Services Mental Health                    3/1/2022 Completed
and Use of Force
Denver Sheriff Health Services Mental Health                    3/1/2022 Completed
and Use of Force 2
Denver Sheriff Health Services Culture of                       3/1/2022 Completed
Respect 2021
Denver Sheriff Health Services January 2022                     3/1/2022 Completed
Staff Meeting
2021 DH Annual: New Employee                               12/30/2021 Completed
DH Annual: Understanding Sexual Harassment                 12/30/2021 Completed

Basics of LGBTQ Affirming Care                             12/30/2021 Completed
2020 Annual: Understanding Sexual Harassment               12/30/2021 Completed

2021 Annual: The Denver Health Experience                  12/30/2021 Completed

RAVE Alert Policy                                          12/30/2021 Completed
Basics of LGBTQ Affirming Care Test                        12/30/2021 Completed
2021 Code of Conduct - New Employee Training               12/30/2021 Completed




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2022 DH Annual: New Employee Training                        12/30/2021 Completed
2021 Beyond Passwords                                        12/30/2021 Completed
Denver Sheriff Health Services 2021 Skills Fair              11/29/2021 Completed

Denver Sheriff Health Services 2021 Pharmacy                 11/29/2021 Completed
Quiz
2021 Denver Sheriff Health Services Access to                11/29/2021 Completed
Care
Denver Sheriff Health Services HIM Quiz                      11/29/2021 Completed
Denver Sheriff Health Services 2021 Pharmacy                 11/29/2021 Completed

Denver Sheriff Health Services 2021 Protocol                 11/29/2021 Completed
Quiz
Denver Sheriff Health Services 2021 Gurney                   11/29/2021 Completed
Instructions Quiz
2021 Denver Sheriff Health Services Access to                11/29/2021 Completed
Care Quiz
Denver Sheriff Health Services Behavioral                    11/29/2021 Completed
Health Services Cultural Competence Quiz
Denver Sheriff Health Services 2021 Gurney                   11/29/2021 Completed

Denver Sheriff Health Services Resiliency                    11/29/2021 Completed
Attestation
Denver Sheriff Health Services November 2021                 11/29/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services October 2021                  11/29/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services November 2021                 11/29/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services 2021 Evacuation               11/29/2021 Completed
Chair Quiz
Denver Sheriff Health Services Health                        11/29/2021 Completed
Information Management
Denver Sheriff Health Services October 2021                  11/29/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services October 2021                  11/29/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services 2021 Skills Fair              11/29/2021 Completed
Documentation
Denver Sheriff Health Services Behavioral                    11/29/2021 Completed
Health Services
Denver Sheriff Health Services Resiliency 2021               11/29/2021 Completed

2021 Denver Sheriff Health Services Skills Fair              11/29/2021 Completed
Women's Care Clinic Quiz




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Denver Sheriff Health Services November 2021                 11/29/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services Evacuation Chair              11/29/2021 Completed

Denver Sheriff Health Services 2021 E-Bag                    11/29/2021 Completed
Tour Quiz
2021 Denver Sheriff Health Services                          11/29/2021 Completed
Documentation Quiz
Denver Sheriff Health Services E-Bag 2021                    11/29/2021 Completed
2021 Denver Sheriff Health Services                          11/29/2021 Completed
Documentation
2021 Denver Sheriff Health Services Skills Fair              11/29/2021 Completed
WCC
Denver Sheriff Health Services April 2021                    10/27/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services September 2021                10/27/2021 Completed
Monthly Meeting
Denver Sheriff Health Services April 2021                    10/27/2021 Completed
Monthly Staff Meeting
New Leader Onboarding Video                                  10/27/2021 Completed
Denver Sheriff Health Services April 2021                    10/27/2021 Completed
Monthly Staff Meeting
NLO Resource Guide 2021                                      10/27/2021 Completed
API Training for Employees: Scheduling and                   10/27/2021 Completed
Staffing
Denver Sheriff Health Services Refusal Process               10/27/2021 Completed

Denver Sheriff Health Services September 2021                10/27/2021 Completed
Monthly Meeting
Denver Sheriff Health Services August 2021                   10/27/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services September 2021                10/27/2021 Completed
Monthly Meeting Quiz
New Leader Onboarding Video                                  10/27/2021 Completed
Denver Sheriff Health Services August 2021                   10/27/2021 Completed
Mandatory Monthly Staff Meeting
DSHS December 2020 Monthly Meeting                            8/31/2021 Completed
Denver Sheriff Health Services June 2021                      8/31/2021 Completed
Monthly Staff Meeting
PREA Test                                                     8/31/2021 Completed
Denver Sheriff Health Services August 2021                    8/31/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services June 2021                      8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services July 2021                      8/31/2021 Completed
Monthly Staff Meeting



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Denver Sheriff Health Services March 2021                      8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Attestation
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_3 2021
Denver Sheriff Health Services March 2021                      8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2021                       8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_4 2021
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_1. 2021
Denver Sheriff Health Services February 2021                   8/31/2021 Completed
All Staff Meeting
Denver Sheriff Health Services July 2021                       8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services ATIMS                           8/31/2021 Completed
Training. 2021
Denver Sheriff Health Services July 2021                       8/31/2021 Completed
Monthly Staff Meeting
PREA – Prison Rape Elimination Act                             8/31/2021 Completed
DSHS December 2020 Monthly Meeting                             8/31/2021 Completed
DSHS December 2020 Monthly Meeting                             8/31/2021 Completed
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_6 2021
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_5 2021
Denver Sheriff Health Services February 2021                   8/31/2021 Completed
All Staff Meeting
Denver Sheriff Health Services February 2021                   8/31/2021 Completed
All Staff Meeting
Denver Sheriff Health Services March 2021                      8/31/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services ATIMS Training                  8/31/2021 Completed
Video_2 2021
PREA – Prison Rape Elimination Act                             8/31/2021 Completed
Correctional Care                                              8/20/2021 Completed
Correctional Care - Hospital Return/Correctional               8/20/2021 Completed
Care Trauma Protocol
Correctional Care Sensitivity                                  8/20/2021 Completed
Correctional Care - Hospital Return Test                       8/20/2021 Completed
Correctional Care - Suicide Prevention                         8/20/2021 Completed
Correctional Care - Suicide Prevention                         8/20/2021 Completed
Correctional Care - Civilian Education Test                    8/20/2021 Completed



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Correctional Care - Civilian Education                     8/20/2021 Completed
Correctional Care Sensitivity                              8/20/2021 Completed
Denver Sheriff Health Services May 2021                     6/2/2021 Completed
Mandatory All Staff Meeting Quiz
2021 DH Annual: Current Employees                              6/2/2021 Completed
2021 DH Annual - Infection Prevention                          6/2/2021 Completed
2021 PHI Privacy and Security                                  6/2/2021 Completed (Equivalent)
2021 Annual: The Denver Health Experience                      6/2/2021 Completed

2021 Drug, Violence, & Harassment-Free                         6/2/2021 Completed
Wk.Plc.
2021 Annual: Code of Conduct Test-Out                          6/2/2021 Completed
2021 PHI Privacy and Security Tip Sheet                        6/2/2021 Completed
Denver Sheriff Health Services May 2021                        6/2/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services May 2021                        6/2/2021 Completed
Mandatory Monthly Staff Meeting
2021 Environment of Care - Denver Health                       6/2/2021 Completed (Equivalent)
Annual Education
2021: Email Security                                           6/2/2021 Completed
2021 Annual: PHI Privacy and Security Test-                    6/2/2021 Completed
Out
2021 DH Annual - Code of Conduct                               6/2/2021 Completed (Equivalent)
2021 Annual: Environment of Care Test-Out                      6/2/2021 Completed
2021 Drug/Violence/Harassment-Free                             6/2/2021 Completed
Workplace
Denver Sheriff Health Services Culture of                      4/5/2021 Completed
Respect
Denver Sheriff Health Services Culture of                      4/5/2021 Completed
Respect 2021
Denver Sheriff Health Services Culture of                      4/5/2021 Completed
Respect
2021 Annual: The Denver Health Experience                  1/11/2021 Completed

2021 Annual: The Denver Health Experience                  1/11/2021 Completed (Equivalent)

Pain and Opioid Management for Providers                  12/29/2020 Completed
Pain and Opioid Management for Providers                  12/29/2020 Completed
Pain and Opioid Management for Providers                  12/29/2020 Completed
DSHS November 2020 All Staff Meeting Quiz                 12/10/2020 Completed

DSHS 2020 Mass Disaster Drills                            12/10/2020 Completed
DSHS 2020 EMed/Consult Pager Test                         12/10/2020 Completed
Denver Sheriff Health Services November 2020              12/10/2020 Completed
All Staff Meeting
DSHS 2020 Consult Pager Training                          12/10/2020 Completed



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DSHS 2020 Consult/EMed Training                                12/10/2020 Completed
DSHS November All Staff Meeting                                12/10/2020 Completed
DSHS Emergency Medication MM Training                          12/10/2020 Completed
2020
Denver Sheriff Health Services Multicultural                   11/25/2020 Completed
Test
Denver Sheriff Health Services Skills Fair 2020                11/25/2020 Completed
Documentation
Denver Sheriff Health Services Documentation                   11/25/2020 Completed

Denver Sheriff Health Services 2020                            11/25/2020 Completed
Multicultural Issues
Denver Sheriff Health Services Skills Fair 2020 -              11/25/2020 Completed
Pharmacy
Denver Sheriff Health Services 2020                            11/25/2020 Completed
Multicultural Issues
Denver Sheriff Health Services Skills Fair 2020 -              11/25/2020 Completed
Pharmacy
Denver Sheriff Health Services Skills Fair 2020                11/25/2020 Completed
Documentation
Denver Sheriff Health Services 2020 Skills Fair                11/25/2020 Completed
Pharmacy Services Quiz
BLS/CPR Renewal                                                10/29/2020 Completed
Correctional Care - Civilian Education                         10/28/2020 Completed
Correctional Care Withdrawal Protocol                          10/28/2020 Completed
Trainings
Opiate Withdrawal Protocol Test                                10/28/2020 Completed
Correctional Care - Hospital Return Test                       10/28/2020 Completed
Correctional Care - Suicide Prevention                         10/28/2020 Completed
Correctional Care - Civilian Education Test                    10/28/2020 Completed
PREA Test                                                      10/28/2020 Completed
Correctional Care - Hospital Return/Correctional               10/28/2020 Completed
Care Trauma Protocol
Correctional Care Sensitivity                                  10/28/2020 Completed
Correctional Care - Suicide Prevention                         10/28/2020 Completed
PREA – Prison Rape Elimination Act                             10/28/2020 Completed
Opiate Withdrawal Protocol                                     10/28/2020 Completed
Benzodiazepine Withdrawal Protocol                             10/28/2020 Completed
Benzodiazepine Withdrawal Protocol Test                        10/28/2020 Completed
Correctional Care Sensitivity                                  10/28/2020 Completed
PREA – Prison Rape Elimination Act                             10/28/2020 Completed
Correctional Care                                              10/28/2020 Completed
Alcohol Withdrawal Protocol Test                               10/27/2020 Completed
Alcohol Withdrawal Protocol                                    10/27/2020 Completed
De-Escalation of the Agitated Patient                          10/27/2020 Completed
Oral Examination Video                                         10/26/2020 Completed



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Verbal de-escalation of the agitated patient                10/26/2020 Completed
(Chapter 1)
Verbal de-escalation of the agitated patient                10/26/2020 Completed
(Chapter 5)
Denver Sheriff Health Services 2020 Minorities              10/26/2020 Completed
& Incarceration
Verbal de-escalation of the agitated patient                10/26/2020 Completed
(Chapter 2)
Denver Sheriff Health Services 2020 Minorities              10/26/2020 Completed
& Incarceration
Verbal de-escalation of the agitated patient                10/26/2020 Completed
(Chapter 3)
Verbal de-escalation of the agitated patient                10/26/2020 Completed
(Chapter 4)
Denver Sheriff Health Services 2020 Minorities              10/26/2020 Completed
& Incarceration
2020 DH Annual: Correction Interpreter on                   10/26/2020 Completed
Wheels
2020 Annual: PHI Privacy and Security                            8/3/2020 Completed (Equivalent)
2020 Annual: Infection Prevention                                8/3/2020 Completed
2020 Annual: PHI Privacy and Security Test-                      8/3/2020 Completed
Out
Denver Sheriff Health Services Access to Care                    8/3/2020 Completed
2020
2020 Annual: Drug, Violence, and Harassment-                     8/3/2020 Completed (Equivalent)
Free Workplace
2020 Annual: Environment of Care Test-Out                        8/3/2020 Completed
2020 Annual: Environment of Care                                 8/3/2020 Completed (Equivalent)
2020 Annual: Code of Conduct Test-Out                            8/3/2020 Completed
2021 PHI Privacy and Security Tip Sheet                          8/3/2020 Completed
2020 Annual: The Denver Health Experience                        8/3/2020 Completed

2020 Annual: Code of Conduct                                     8/3/2020 Completed (Equivalent)
2020 Annual: Email Security                                      8/3/2020 Completed
Denver Sheriff Health Services Access to Care                    8/3/2020 Completed
2020
2020 Annual: Drug-, Violence-, and Harassment-                   8/3/2020 Completed
Free Workplace Test-Out
2020 DH Annual: Current Employee Training                        8/3/2020 Completed

Denver Sheriff Health Services Acces to Care                     8/3/2020 Completed
Quiz
2020 Code of Conduct                                             8/3/2020 Completed
2020 Annual: The Denver Health Experience                        8/3/2020 Completed




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Attestation: Pre-Shift Reporting Staff Health                  6/18/2020 Completed
Monitoring
PREA Test                                                      8/28/2019 Completed
Verbal de-escalation of the agitated patient                   8/28/2019 Completed
(Chapter 4)
PREA – Prison Rape Elimination Act                             8/28/2019 Completed
Correctional Care - Civilian Education                         8/28/2019 Completed
De-Escalation of the Agitated Patient                          8/28/2019 Completed
Verbal de-escalation of the agitated patient                   8/28/2019 Completed
(Chapter 3)
Correctional Care Sensitivity                                  8/28/2019 Completed
Correctional Care - Civilian Education Test                    8/28/2019 Completed
Correctional Care - Hospital Return Test                       8/28/2019 Completed
PREA – Prison Rape Elimination Act                             8/28/2019 Completed
Correctional Care Sensitivity                                  8/28/2019 Completed
Verbal de-escalation of the agitated patient                   8/28/2019 Completed
(Chapter 2)
Correctional Care - Suicide Prevention                         8/28/2019 Completed
Provider Suicide Assessment, Precautions and                   8/28/2019 Completed
Patient Management
Correctional Care - Suicide Prevention                         8/28/2019 Completed
Correctional Care                                              8/28/2019 Completed
Correctional Care - Hospital Return/Correctional               8/28/2019 Completed
Care Trauma Protocol
Verbal de-escalation of the agitated patient                   8/28/2019 Completed
(Chapter 1)
Verbal de-escalation of the agitated patient                   8/28/2019 Completed
(Chapter 5)
Pain and Opioid Management for Providers:                          5/1/2019 Completed (Equivalent)
Overview
Pain and Opioid Management for Providers:                          5/1/2019 Completed
Overview
Pain and Opioid Management for Providers                           5/1/2019 Completed
2019 DH Annual: Current Employee Training                          5/1/2019 Completed

2019 Annual - Email Security                                       5/1/2019 Completed
Pain and Opioid Management for Providers Test                      5/1/2019 Completed

Pain and Opioid Management for Providers:                          5/1/2019 Completed
Pediatric Patients
Medicare Special Needs Plan (SNP) Model of                         5/1/2019 Completed
Care Training
PHI Privacy and Security Tip Sheet                              5/1/2019 Completed
2019 Annual - PHI Privacy and Security                          5/1/2019 Completed
2019 Annual - EOC Recycling Info                               4/30/2019 Completed
2019 Annual - Infection Prevention                             4/30/2019 Completed



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2019 Annual - Your Environment of Care                         4/30/2019 Completed
2019 Annual - Environment of Care                              4/30/2019 Completed
2019 Annual - Drug-, Violence-, and                            4/25/2019 Completed
Harassment-Free Workplace
2019 Annual-Code of Conduct                                    4/25/2019 Completed (Equivalent)
2019 Annual - Drug-, Violence-, and                            4/25/2019 Completed
Harassment-Free Workplace
2019 Annual - Code of Conduct (Test Out)                       4/25/2019 Completed
2019 Annual - DH Experience                                    4/25/2019 Completed
2019 Annual - Code of Conduct                                  4/25/2019 Completed (Equivalent)
Denver Health Code of Conduct                                  4/25/2019 Completed
2019 Annual - The Denver Health Experience                     4/25/2019 Completed

Baby-Friendly Hospital                                        12/28/2018 Completed
Teaching Rules for Providers                                  12/28/2018 Completed
Why Good Documentation Matters                                12/28/2018 Completed
Provider Documentation - Critical Care                        12/28/2018 Completed
BLS/CPR Renewal                                               11/13/2018 Completed
Epic Ambulatory Provider 2018 Upgrade                          8/15/2018 Completed
EP18 AMB Provider Ref Guide                                    7/31/2018 Completed
EP18 Upgrade Overview                                          7/31/2018 Completed
EP18 Upgrade LDA Avatar                                        7/31/2018 Completed
Missing Persons and Leaving Against Medical                    6/12/2018 Completed
Advice Policy Test
Wombat Training: Password Policy                               6/12/2018 Completed
Correctional Care Sensitivity                                  6/12/2018 Completed
Missing Persons and Leaving Against Medical                    6/12/2018 Completed
Advice Policy
Missing Persons and Leaving Against Medical                    6/12/2018 Completed
Advice Policy
Correctional Care - Suicide Prevention                         6/12/2018 Completed
Getting Started with Cornerstone                               6/12/2018 Completed
Correctional Care - Suicide Prevention                         6/12/2018 Completed
PREA – Prison Rape Elimination Act                             6/12/2018 Completed
PREA Test                                                      6/12/2018 Completed
ReadyOp Policy                                                 6/12/2018 Completed
Correctional Care - Civilian Education                         6/12/2018 Completed
Restraints Safety                                              6/12/2018 Completed
Wombat Training: Email Security                                6/12/2018 Completed
DH Annual - Email and Password Security                        6/12/2018 Completed
Training
Reasonable Accommodation and Interactive                       6/12/2018 Completed
Process for Disabilities and Pregnancy
Correctional Care - Hospital Return/Correctional               6/12/2018 Completed
Care Trauma Protocol
PREA – Prison Rape Elimination Act                             6/12/2018 Completed



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Correctional Care - Hospital Return Test                    6/12/2018 Completed
Restraint and Seclusion Policy                              6/12/2018 Completed
Correctional Care                                           6/12/2018 Completed
Correctional Care - Civilian Education Test                 6/12/2018 Completed
Correctional Care Sensitivity                               6/12/2018 Completed
Verbal de-escalation of the agitated patient                 6/7/2018 Completed
(Chapter 4)
Verbal de-escalation of the agitated patient                    6/7/2018 Completed
(Chapter 3)
Verbal de-escalation of the agitated patient                    6/7/2018 Completed
(Chapter 1)
Verbal de-escalation of the agitated patient                    6/7/2018 Completed
(Chapter 2)
Verbal de-escalation of the agitated patient                    6/7/2018 Completed
(Chapter 5)
De-Escalation of the Agitated Patient                           6/7/2018 Completed
DH Annual: Drug-Free Workplace                                  6/6/2018 Completed
DH Annual: Protected Health Information (PHI)                   6/6/2018 Completed
Privacy and Security
Workplace Violence (2018 Test Out Option)                       6/6/2018 Completed (Equivalent)
DH Annual-Code of Conduct                                       6/6/2018 Completed
DH Annual: Infection Prevention                                 6/6/2018 Completed
DH Annual-Language Services                                     6/6/2018 Completed
DH Annual: Language Services                                    6/6/2018 Completed
DH Annual: Environment of Care                                  6/6/2018 Completed
DH Annual: Perfecting the Patient Experience                    6/6/2018 Completed

DH Annual-Environment of Care                                   6/6/2018 Completed
DH Annual: Code of Conduct                                      6/6/2018 Completed
DH Annual-Drug-Free Workplace                                   6/6/2018 Completed
DH Annual: Workplace Violence                                   6/6/2018 Completed
DH Annual-PHI Privacy and Security                              6/6/2018 Completed
DH Annual: Diversity and Inclusion                              6/6/2018 Completed
DH Annual-Infection Prevention                                  6/6/2018 Completed
DH Annual - Current Employee Training                           6/6/2018 Completed
DH Annual-Understanding Sexual Harassment                       6/6/2018 Completed

DH Annual-Perfecting the Patient Experience                     6/6/2018 Completed

DH Annual - Diversity and Inclusion                             6/6/2018 Completed
Code of Conduct Policy                                          6/6/2018 Completed
DH Annual-Workplace Violence (2018)                             6/6/2018 Completed
DH Annual: Understanding Sexual Harassment                      6/6/2018 Completed

2018 Annual Conflict of Interest Disclosure                 3/13/2018 Completed
Form



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Denver Health's Annual Conflict of Interest                   3/13/2018 Completed
Disclosure
Tutorial 2.0 - How to Print a EMAR                            11/9/2017 Completed
Providing Quality Care to LGBT Patients, an                   11/9/2017 Completed
Introduction for Staff Training
EMAR Tutorials Test                                           11/9/2017 Completed
Providing Quality Care to LGBT Patients Test                  11/9/2017 Completed

Tutorial 2.1 - How to Print an individual order               11/9/2017 Completed

Standards of Behavior                                         11/9/2017 Completed
EMAR Tutorials                                                11/9/2017 Completed
Appendix A - List of Printers for EMAR                        11/9/2017 Completed
EMAR Cover Page                                               11/9/2017 Completed
Tutorial 4.0 - Order Alcohol Withdrawal Plan                  11/9/2017 Completed

Providing Quality Care to LGBT Patients, an                   11/9/2017 Completed
Introduction for Staff Training
Tutorial 1.1 - Order a Medication that is Non-                11/9/2017 Completed
Formulary
Tutorial 1.2 - Add Order With Custom Days                     11/9/2017 Completed
EpicCare Link Denver City and County Jail                     11/9/2017 Completed
Tutorial 3.0 - The Anatomy of the EMAR                        11/9/2017 Completed
Tutorial 1.0 - Adding a New Order                             11/9/2017 Completed
Tutorial 5.0 - Order Opiate Withdrawal Plan                   11/9/2017 Completed
DH Annual-Workplace Violence                                  8/23/2017 Completed
Correctional Care - Suicide Prevention                        8/23/2017 Completed
DH Annual: Workplace Violence                                 8/23/2017 Completed
DH Annual-Drug-Free Workplace                                 8/23/2017 Completed
DH Annual-PHI Privacy and Security                            8/23/2017 Completed
Correctional Care Sensitivity                                 8/23/2017 Completed
Provider Directory Update                                     8/23/2017 Completed
DH Annual-Code of Conduct                                     8/23/2017 Completed
DH Annual: Infection Prevention                               8/23/2017 Completed
DH Annual-Perfecting the Patient Experience                   8/23/2017 Completed

DH Annual: Environment of Care                                8/23/2017 Completed
PREA Test                                                     8/23/2017 Completed
DH Annual: Code of Conduct                                    8/23/2017 Completed
DH Annual: Perfecting the Patient Experience                  8/23/2017 Completed

DH Annual: Understanding Sexual Harassment                    8/23/2017 Completed

Correctional Care Civilian Education                          8/23/2017 Completed
DH Annual-Infection Prevention                                8/23/2017 Completed
PREA – Prison Rape Elimination Act                            8/23/2017 Completed



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DH Annual-Environment of Care                               8/23/2017 Completed
DH Annual: Medical Interpreter Services                     8/23/2017 Completed
DH Annual: Protected Health Information (PHI)               8/23/2017 Completed
Privacy and Security
DH Annual-Understanding Sexual Harassment                   8/23/2017 Completed

DH Annual-Interpreter Services                              8/23/2017 Completed
DH Annual                                                   8/23/2017 Completed
Code of Conduct Policy                                      8/23/2017 Completed
DH Annual: Drug-Free Workplace                              8/23/2017 Completed
Correctional Care - Suicide Prevention                      8/23/2017 Completed
Correctional Care Sensitivity                               8/23/2017 Completed
Correctional Care: Civilian Education                       8/23/2017 Completed
PREA – Prison Rape Elimination Act                          8/23/2017 Completed
BLS/CPR Renewal A.M. DO NOT USE                            11/15/2016 Completed
DH Annual-Fraud and Abuse Awareness                         8/29/2016 Completed
Correctional Care Civilian Education                        8/29/2016 Completed
DH Annual                                                   8/29/2016 Completed
Correctional Care - Suicide Prevention                      8/29/2016 Completed
Correctional Care                                           8/29/2016 Completed
DH Annual-Infection Prevention                              8/29/2016 Completed
DH Annual-Workplace Violence                                8/29/2016 Completed
Correctional Care Sensitivity                               8/29/2016 Completed
DH Annual-Interpreter Services                              8/29/2016 Completed
Correctional Care Sensitivity                               8/29/2016 Completed
DH Annual: Medical Interpreter Services                     8/29/2016 Completed
DH Annual: Protected Health Information (PHI)               8/29/2016 Completed
Privacy and Security
Correctional Care: Civilian Education                       8/29/2016 Completed
DH Annual: Fraud Abuse and Awareness                        8/29/2016 Completed
DH Annual: Infection Prevention                             8/29/2016 Completed
DH Annual-PHI Privacy and Security                          8/29/2016 Completed
Correctional Care - Suicide Prevention                      8/29/2016 Completed
DH Annual: Perfecting the Patient Experience                8/22/2016 Completed

DH Annual-Drug-Free Workplace                               8/22/2016 Completed
DH Annual-Perfecting the Patient Experience                 8/22/2016 Completed

DH Annual-Environment of Care                               8/22/2016 Completed
DH Annual: Drug-Free Workplace                              8/22/2016 Completed
DH Annual: Workplace Violence                               8/22/2016 Completed
DH Annual: Understanding Sexual Harassment                  8/22/2016 Completed

DH Annual: Environment of Care                              8/22/2016 Completed
DH Annual-Understanding Sexual Harassment                   8/22/2016 Completed




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UPI: Evaluation & Management Training, Track                8/17/2016 Completed
7
Recognizing and Reporting Family Violence and               8/12/2015 Completed
Abuse
CHS: General Laboratory Competency                          8/12/2015 Completed
DH Annual                                                   8/12/2015 Completed
Recognizing and Reporting Family Violence and               8/12/2015 Completed
Abuse
Correctional Care                                           8/12/2015 Completed
General Laboratory Competency                              12/24/2014 Completed
2014 BLS/CPR Skills Check Off                              10/30/2014 Completed
Hand Hygiene                                                8/12/2014 Completed
SI: Safety Intelligence                                     8/12/2014 Completed
Hand Hygiene                                                8/12/2014 Completed (Equivalent)
Restraints Safety                                           8/12/2014 Completed
Pain and Opioid Management                                  1/28/2014 Completed
Pain and Opioid Managment                                   1/28/2014 Completed
Preventing Central Line Associated Blood                    8/29/2013 Completed
Stream Infections (CLABSI)
DSD - 2013 Skills Fair                                      3/22/2013 Completed
LLC: Introduction                                          11/27/2012 Completed
General Laboratory Competency                              11/27/2012 Completed
LLC: Searching for Pts and Using Your Census               11/27/2012 Completed

LLC: Viewing Pt Info in the Clinical Summary               11/27/2012 Completed

PSN - Patient Safety Net                                    11/1/2012 Completed
General Laboratory Competency                               11/1/2012 Completed
2012 BLS / CPR Skills Check Off                            10/29/2012 Completed
2012 BLS / CPR Skills Check Off                            10/29/2012 Completed
2012 BLS / CPR Skills Check Off                            10/29/2012 Completed
2012 BLS / CPR Skills Check Off                            10/29/2012 Completed
2012 BLS / CPR Skills Check Off                            10/29/2012 Completed
2012 AHRQ - CLABSI Prevention                                8/1/2012 Completed
TracemasterVue                                               8/1/2012 Completed
Medication Test - NICU                                       8/1/2012 Completed
Provider Compliance                                          8/1/2012 Completed
General Laboratory Competency                                8/1/2012 Completed
Domestic Violence Elder Abuse                                8/1/2012 Completed
TraceMasterVue                                               8/1/2012 Completed
General Laboratory Competency                                8/1/2012 Completed
CHS: General Laboratory Competency                           8/1/2012 Completed
2012 Correctional Care Sensitivity                           8/1/2012 Completed
2012 Education & Certification Survey                        8/1/2012 Completed
OD - Improving Customer Experience with                     3/23/2012 Completed
AIDET



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OD - Improving Customer Experience with                3/23/2012 Completed
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OD - Improving Customer Experience with                3/23/2012 Completed
AIDET
OD - Improving Customer Experience with                3/23/2012 Completed
AIDET
OD - Improving Customer Experience with                3/23/2012 Completed
AIDET
Introduction to LCR                                    7/26/2011 Completed
General Laboratory Competency                           1/4/2011 Completed
Time & Attendance                                       1/4/2011 Completed
API/Time and Attendance Frequently Asked                1/4/2011 Completed
Questions (FAQs)
CPR Certification                                      10/6/2010 Completed
CPR Online Renewal                                    12/28/2008 Completed
General Laboratory Competency                          1/12/2007 Completed
At Risk Patient                                        1/12/2007 Completed
CPR Certification                                      3/29/2004 Completed




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            DENVER SHERIFF HEALTH SERVICES
     2020 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Alice Mukamugemanyi


TITLE / FTE:     LPN / .9


DATE OF HIRE: Transfer: 8/30/2020

                 Continuing Education Taken
       Date                            Title                   Hours
9/1/20           DSD NEO                                        8.00
9/26/20          Cornerstone                                   20.00
10/04/20         Correctional Care                             15.00
10/30/20         Virtual Skills Fair                           14.00
11/25/20         PoliceOne Training                             2.00
                                                               59.00




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                   DENVER SHERIFF HEALTH SERVICES
            2021 TRAINING/CONTINUING EDUCATION RECORD

NAME:              Alice Mukamugemanyi


TITLE / FTE:       LPN / .9


DATE OF HIRE: Transfer: 8/30/2020

                        Continuing Education Taken
       Date                               Title                     Hours
4/28/21            EKG/Chest Pain Quiz                               0.50
3/10/21            Denver county bld 24 Tour / Scavenger hunt        1.00
04/30/21           Alcohol Withdrawal Assessment: The Why Quiz       0.50
11/27/21           Cornerstones                                     36.00
05/01/21           ATIMS                                             4.00
May-june           Preceptor new hires                               1.00
July               Preceptor new hires                               1.00
September          Preceptor new hires                               1.00
10/15/21           Kite education Board                              1.00
                                                                    46.00




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            DENVER SHERIFF HEALTH SERVICES
     2022 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Mukamugemanyi, Alice

TITLE / FTE:     LPN / .9

DATE OF HIRE:    Transfer: 8/30/2020

                 Continuing Education Taken
          Date                     Title           Hours
2/4/22            Cornerstones                     15.00
2/20/22           Wired jaw emergencies             1.00
3/4/22            Feb 2022 Monthly Meeting          1.00
3/5/22            API Training                      1.00
4/2/22            Correctional care w/d             3.00
4/2/22            March monthly meeting             1.00
5/2/22            April monthly meeting             1.00
6/23/22           PPE refresher                     1.00
                                                   24.00




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              DENVER SHERIFF HEALTH SERVICES
       2019 TRAINING/CONTINUING EDUCATION RECORD

NAME:             Berenice Chavarria Torres


TITLE / FTE:      LPN / 0.9


DATE OF HIRE: 03/17/2019 (transfer date)

                    Continuing Education Taken
       Date                   Title                     Hours
3/18/19           DH NEO                                 8.00
3/19/19           DSD NEO                                8.00
04/24/19          Cornerstone                           31.00
6/4/19            Skills Fair                            2.00
6/16/19           Mandatory Video Meeting                1.00
8/21/19           All Staff Meeting                      1.00
9/14/19           Hepatitis A Quiz                       0.50
11/5/19           MM Training                            2.00
11/9/19           Triage Quiz                            0.50
                                                        54.00




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        DENVER SHERIFF HEALTH SERVICES
 2020 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Berenice Chavarria Torres


TITLE / FTE:     LPN / 0.9

DATE OF HIRE:    03/17/2019 (transfer date)

                Continuing Education Taken
       Date                       Title                Hours
1/2/20           November Mandatory Meeting             0.50
1/2/20           Hep A Video                            0.50
01/22/20         Med Verification Quiz                  0.50
3/13/20          PPE Refresher                          0.50
4/3/20           Nasal Covid Test                       0.50
4/25/20          Oral Covid Test                        0.50
5/7/20           Self Care Test                         0.50
6/6/20           Father Suit Donning/Doffing            0.50
6/10/20          COVID 19 Log                           0.50
6/17/20          Respiratory Eval                       0.50
6/17/20          Emergency v Court Meds                11.00
7/20/20          Cornerstone                            6.00
9/9/20           Precepting J. C.                       1.00
9/18/20          Precepting J. C.                       1.00
9/22/20          Precepting                             1.00
9/24/20          EpicCare Link                          0.50
9/25/20          Precepting                             1.00
9/29/20          Precepting                             1.00
9/30/20          Correctional Care Cornerstone         13.00
9/30/20          Virtual Skills Fair                   12.00
10/3/20          Precepting                             1.00
10/5/20          Alcohol Withdrawal Quiz                0.50
10/08/20         Precepting                             1.00
11/22/20         Medical Emergency Quiz                 0.50
12/12/20         November Mandatory Meeting             1.00
                                                       56.50




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                  DENVER SHERIFF HEALTH SERVICES
           2021 TRAINING/CONTINUING EDUCATION RECORD

NAME:             Berenice Chavarria Torres


TITLE / FTE:      LPN / 0.9


DATE OF HIRE: 03/17/2019 (transfer date)

                      Continuing Education Taken
       Date                            Title                       Hours
2/4/21            Ekg/chest pain education board                    0.50
2/4/21            Updated Protocols Review                          1.00
Jan-Feb           Preceptor new hires                               3.00
Mar-Apr           Preceptor new hires                               3.00
3/4/21            Denver County Bld 24 tour / Scavenger Hunt        1.00
11/3/21           cornerstones                                     30.00
05/01/21          ATIMS                                             4.00
5/6/21            CIIS Training                                     4.00
July              Preceptor new hires                               1.00
9/23/21           Kite education board Quiz                         1.00
                                                                   48.50




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                        DENVER SHERIFF HEALTH SERVICES
                 2022 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Chavarria Torres, Berenice

TITLE / FTE:    LPN / 0.9

DATE OF HIRE:   03/17/2019 (transfer date)

                                 Continuing Education Taken
       Date                                     Title                                 Hours
December        Preceptor                                                              1.50
1/21/2022       Cornerstones                                                          10.00
2/16/2022       Jan. Monthly meeting                                                   1.00
2/16/2022       Mental Health and use of force                                         1.00
2/16/2022       Wired Jaw Emergencies                                                  1.00
3/15/2022       Preceptor                                                              1.00
3/9/2022        Feb monthly meeting                                                    1.00
3/15/2022       Correctional care w/d                                                  3.00
4/7/2022        March meeting                                                          1.00
4/28/2022       April monthly meeting                                                  1.00
5/17/2022       Infirmary/ medical unit/ level of care                                 1.00
5/17/2022       Critical values- vital signs                                           1.00
6/9/2022        Access to care                                                         1.00
5/22/2022       Medical care escalation                                                1.00
6/21/2022       DSHS June Crossword                                                    1.00
6/1/2022        May monhtly meeting                                                    1.00
6/3/2022        2022 DH Annual Current Employees                                       1.00
6/10/2022       Greiner Vacuette Needle Stock                                          1.00
7/8/2022        Denver Sheriff Health Services June 2022 Monthly Staff Meeting         1.00
7/13/2022       Denver Sheriff Oral Examination                                        1.00
8/5/2022        Denver Sheriff Health Services July 2022 Staff Meeting                 1.00
8/17/2022       Denver Sheriff Health Services Infant/Child BLS                        1.00
8/17/2022       Denver Sheriff Health Services Collection of Monkeypox Specimen        1.00
8/17/2022       Correctional Care Withdrawal Protocols- Annual                         3.00
8/30/2022       Denver Sheriff Health Services August 2022 Mandatory Staff Meeting     1.00
9/9/2022        Workplace Diversity, Equity and Inclusion in Action                    6.00
10/1/2022       September monthly meeting                                              1.00
10/1/2022       2022 skills fair                                                       7.00
10/28/2022      October monthly meeting                                                1.00
                                                                                      53.50




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                         DENVER SHERIFF HEALTH SERVICES
                  2023 TRAINING/CONTINUING EDUCATION RECORD

NAME:           Chavarria Torres, Berenice

TITLE / FTE:    LPN / 0.9

DATE OF HIRE:   03/17/2019 (transfer date)

                                 Continuing Education Taken
       Date                                         Title                                Hours
12/6/2022       Masimo Vital Machines Equipment Tutorial 2022                             1.00
12/30/2022      Denver Sheriff Health Services Mental Health Training 2022                1.00
1/2/2023        Denver Sheriff Health Services Medical Care Escalation                    1.00
12/30/2022      Denver Sheriff Health Services PPE                                        1.00
1/3/2023        Denver Sheriff Health Services Medical Care Escalation                    1.00
1/3/2023        PREA – Prison Rape Elimination Act                                        1.00
1/4/2023        CJIS                                                                      1.00
2/2/2023        Denver Sheriff Health Services January 2023 Staff Meeting                 1.00
3/1/2023        Denver Sheriff Health Services February 2023 Mandatory Staff Meeting      1.00
3/1/2023        Denver Sheriff Health Services Withdrawal Protocols                       1.00
2/8/2023        Preceptor                                                                 1.00
2/11/2023       Preceptor                                                                 1.00
2/15/2023       Preceptor                                                                 1.00
2/17/2023       Preceptor                                                                 0.50
3/1/2023        Preceptor                                                                 0.50
3/2/2023        Preceptor                                                                 0.50
3/1/2023        Epic Hyperdrive Feature Tour                                              0.50
4/1/2023        Denver Sheriff Health Services Protocol Quiz                              1.00
4/1/2023        Denver Sheriff Health Services Culture of Respect                         1.00
4/1/2023        Denver Sheriff Health Services Medication Verification Quiz               1.00
4/1/2023        Denver Sheriff Health Services Medical Care Escalation                    1.00
4/1/2023        Denver Sheriff Health Services Access to Care                             1.00
4/1/2023        Denver Sheriff Health Services Oral Examination                           1.00
3/31/2023       Denver Sheriff Health Services March 2023 Staff Meeting                   1.00
4/1/2023        Denver Sheriff Health Services Emergency Response Video                   1.00
4/1/2023        Denver Sheriff Health Services Correctional Care Education                1.00
4/5/2023        2023 DH Annual: Current Employees                                         8.00
4/3/2023        Preceptor                                                                 1.00
5/1/2023        Denver Sheriff Health Services April 2023 Staff Meeting                   1.00
5/14/2023       Preceptor                                                                 1.00
5/16/2023       Preceptor                                                                 1.00
6/6/2023        Denver Sheriff Health Services May 2023 Mandatory Staff Meeting           1.00
7/3/2023        COVID-19 Nasopharyngeal Swab                                              0.50
7/2/2023        Denver Sheriff Health Services June 2023 Staff Meeting                    1.00
6/11/2023       Preceptor                                                                 1.00


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8/6/2023       Denver Sheriff Health Services July 2023 Staff Meeting                   1.00
8/6/2023       Denver Sheriff Health Services Oral Examination                          1.00
9/18/2023      Denver Sheriff Health Services August 2023 Mandatory Staff Meeting       1.00
10/24/2023     Denver Sheriff Health Services September 2023 Staff Meeting              1.00
10/24/2023     Denver Sheriff Health Services 2023 Skills Fair                         10.00
11/1/2023      Denver Sheriff Health Services October 2023 Staff Meeting                1.00
                                                                                       54.50




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                 Training Title                        Completed Date                Status
Denver Sheriff Health Services November 2023                      12/18/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2023                      12/18/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2023                      12/18/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services October 2023                        11/1/2023 Completed
Staff Meeting
Denver Sheriff Health Services October 2023                        11/1/2023 Completed
Staff Meeting
Denver Sheriff Health Services October 2023                        11/1/2023 Completed
Staff Meeting
BLS/CPR Renewal                                                   10/25/2023 Completed
Denver Sheriff Health Services Inventories                        10/24/2023 Completed
Maintained and Staff Safety 2023 Skills Fair
Denver Sheriff Health Services September 2023                     10/24/2023 Completed
Staff Meeting
Denver Sheriff Health Services Medical                            10/24/2023 Completed
Equipment and Supplies 2023 Skills Fair
Denver Sheriff Health Services Opiate Protocol                    10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services 2023 Skills Fair                   10/24/2023 Completed

Denver Sheriff Health Services Medical Housing                    10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Epic Care Link                     10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services September 2023                     10/24/2023 Completed
Staff Meeting
Denver Sheriff Health Services Epic Care Link                     10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Opiate Protocol                    10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Medical Housing                    10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Pregnancy Test                     10/24/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Womens Care                        10/24/2023 Completed
Clinic 2023 Skills Fair
Denver Sheriff Health Services Hunger Strike/                     10/24/2023 Completed
Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services September 2023                     10/24/2023 Completed
Staff Meeting
Denver Sheriff Health Services Inventories and                    10/24/2023 Completed
Staff Safety 2023 Skills Fair



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Denver Sheriff Health Services Women's Care                      10/24/2023 Completed
Clinic 2023 Skills Fair
Denver Sheriff Health Services Hunger                            10/24/2023 Completed
Strike/Refusal To Eat 2023 Skills Fair
Denver Sheriff Health Services Behavioral Health                  10/5/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services Health                             10/5/2023 Completed
Information Management 2023 Skills Fair
Denver Sheriff Health Services Pharmacy 2023                      10/5/2023 Completed
Skills Fair
Denver Sheriff Health Services DSD 2023 Skills                    10/5/2023 Completed
Fair
Denver Sheriff Health Services Portal Line                        10/5/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Behavioral Health                  10/5/2023 Completed
2023 Skills Fair
Denver Sheriff Health Services DSD 2023 Skills                    10/5/2023 Completed
Fair
Denver Sheriff Health Services Portal Line                        10/5/2023 Completed
Disposition 2023 Skills Fair
Denver Sheriff Health Services Timecard and                       10/5/2023 Completed
Attendance 2023 Skills Fair
Denver Sheriff Health Services Pharmacy 2023                      10/5/2023 Completed
Skills Fair
Denver Sheriff Health Services Timecard and                       10/5/2023 Completed
Attendance 2023 Skills Fair
Denver Sheriff Health Services Health                             10/5/2023 Completed
Information Management 2023 Skills Fair
Denver Sheriff Health Services August 2023                        9/18/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services August 2023                        9/18/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services August 2023                        9/18/2023 Completed
Mandatory Staff Meeting
Basic Oral Examination                                             8/6/2023 Completed
Denver Sheriff Health Services July 2023 Staff                     8/6/2023 Completed
Meeting
Denver Sheriff Health Services July 2023 Staff                     8/6/2023 Completed
Meeting
Oral Examination Video                                             8/6/2023 Completed
Denver Sheriff Health Services Oral Examination                    8/6/2023 Completed

Denver Sheriff Health Services July 2023 Staff                     8/6/2023 Completed
Meeting
Denver Sheriff Health Services June 2023 Staff                     7/2/2023 Completed
Meeting



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Denver Sheriff Health Services June 2023 Staff                    7/2/2023 Completed
Meeting
Denver Sheriff Health Services June 2023 Staff                    7/2/2023 Completed
Meeting
Denver Sheriff Health Services May 2023                           6/6/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023                           6/6/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2023                           6/6/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services April 2023 Staff                   5/1/2023 Completed
Meeting
Denver Sheriff Health Services April 2023 Staff                   5/1/2023 Completed
Meeting
Denver Sheriff Health Services April 2023 Staff                   5/1/2023 Completed
Meeting
2023 DH Annual: Current Employees                                 4/5/2023 Completed
2023 Code Of Conduct                                              4/5/2023 Completed (Equivalent)
Email Protection Tools                                            4/5/2023 Completed
2022 Annual: PHI Privacy and Security Test-Out                    4/5/2023 Completed

2023 Code of Conduct Policy                                       4/5/2023 Completed
2023 Annual: DEI Test                                             4/5/2023 Completed
2022 Annual: Environment of Care Test-Out                         4/5/2023 Completed
2023 Health Equity Training                                       4/5/2023 Completed
2023_DH_Annual_Infection_Prevention                               4/5/2023 Completed
2023 Annual: Code of Conduct Test-Out                             4/5/2023 Completed
2021 PHI Privacy and Security Tip Sheet                           4/5/2023 Completed
2023_PHIPrivacyAndSecurity                                        4/5/2023 Completed (Equivalent)
2022 Annual: Drug, Violence, and Harassment-                      4/3/2023 Completed
Free Workplace
2022 Annual: The Denver Health Experience                         4/3/2023 Completed
The Human Experience at Denver Health                             4/3/2023 Completed
2022 Drug/Violence/Harassment-Free Workplace                      4/3/2023 Completed

Denver Sheriff Health Services Access to Care                     4/1/2023 Completed

Denver Sheriff Health Services Medical Care                       4/1/2023 Completed
Escalation
Basic Oral Examination                                            4/1/2023 Completed
Denver Sheriff Health Services Critical Values-                   4/1/2023 Completed
Vital Signs
Denver Sheriff Health Services Hospital Return                    4/1/2023 Completed
Education
2022 Denver Sheriff Health Services Access to                     4/1/2023 Completed
Care



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Denver Sheriff Health Services Correctional Care                4/1/2023 Completed
Education
Denver Sheriff Health Services Civilian                         4/1/2023 Completed
Orientation Education
Denver Sheriff Health Services Oral Examination                 4/1/2023 Completed

Denver Sheriff Health Services Suicide Prevention               4/1/2023 Completed
for Correctional Care
Denver Sheriff Health Services Protocol Quiz                    4/1/2023 Completed
Denver Sheriff Code of Conduct                                  4/1/2023 Completed
Denver Sheriff Health Services Protocol Quiz                    4/1/2023 Completed
Denver Sheriff Health Services Medication                       4/1/2023 Completed
Verification Quiz
Oral Examination Video                                          4/1/2023 Completed
Denver Sheriff Health Services Access to Care                   4/1/2023 Completed

Medical Care Escalation Policy                                  4/1/2023 Completed
Denver Sheriff Health Services Medication                       4/1/2023 Completed
Verification Quiz
Denver Sheriff Health Services Medication                       4/1/2023 Completed
Verification Quiz
Denver Sheriff Health Services Culture of Respect               4/1/2023 Completed

Denver Sheriff Health Services Emergency                        4/1/2023 Completed
Response Video
Medical Care Escalation- Attestation Test                       4/1/2023 Completed
Denver Sheriff Health Services Emergency                        4/1/2023 Completed
Response Video
Denver Sheriff Health Services Medical Care                     4/1/2023 Completed
Escalation
Denver Sheriff Health Services Culture of Respect               4/1/2023 Completed

Access to Care -Attestation                                     4/1/2023 Completed
Denver Sheriff Health Services March 2023 Staff                3/31/2023 Completed
Meeting
Denver Sheriff Health Services March 2023 Staff                3/31/2023 Completed
Meeting
Denver Sheriff Health Services March 2023 Staff                3/31/2023 Completed
Meeting
Correctional Care Withdrawal Test                               3/1/2023 Completed
Epic Hyperdrive Feature Tour                                    3/1/2023 Completed
Denver Sheriff Health Services February 2023                    3/1/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services February 2023                    3/1/2023 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services February 2023                    3/1/2023 Completed
Mandatory Staff Meeting


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Denver Sheriff Health Services Withdrawal                        3/1/2023 Completed
Protocols
Denver Sheriff Health Services Correctional Care                 3/1/2023 Completed
Withdrawal Protocols
Denver Sheriff Health Services January 2023 Staff                2/2/2023 Completed
Meeting
Denver Sheriff Health Services January 2023 Staff                2/2/2023 Completed
Meeting
Denver Sheriff Health Services January 2023 Staff                2/2/2023 Completed
Meeting
PREA Test                                                        1/3/2023 Completed
Medical Care Escalation- Attestation Test                        1/3/2023 Completed
PREA – Prison Rape Elimination Act                               1/3/2023 Completed
Medical Care Escalation Policy                                   1/3/2023 Completed
Denver Sheriff Health Services Medical Care                      1/3/2023 Completed
Escalation
Denver Sheriff Health Services Medical Care                      1/3/2023 Completed
Escalation
PREA – Prison Rape Elimination Act                               1/3/2023 Completed
Denver Sheriff Health Services December 2022                   12/30/2022 Completed
Staff Meeting
Denver Sheriff Health Services December 2022                   12/30/2022 Completed
Staff Meeting
Denver Sheriff Health Services December 2022                   12/30/2022 Completed
Staff Meeting
Denver Sheriff Health Services PPE                             12/23/2022 Completed
Denver Sheriff Health Services PPE                             12/23/2022 Completed
Denver Sheriff Health Services PPE                             12/23/2022 Completed
Denver Sheriff Health Services Mental Health                   12/23/2022 Completed
Training 2022
Denver Sheriff Health Services Mental Health                   12/23/2022 Completed
Training 2022_2
Denver Sheriff Health Services Mental Health                   12/23/2022 Completed
Training 2022
Denver Sheriff Health Services Masimo Vital                     12/6/2022 Completed
Machines Equipment Tutorial 2022
Masimo - Introduction to Masimo Signal                          12/6/2022 Completed
Extraction Technology
Masimo - Essential Training - Root Connectivity                 12/6/2022 Completed
Platform
Denver Sheriff Health Services November 2022                    12/3/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2022                    12/3/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2022                    12/3/2022 Completed
Mandatory Staff Meeting



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Denver Sheriff Health Services October 2022                       10/28/2022 Completed
Staff Meeting
Denver Sheriff Health Services October 2022                       10/28/2022 Completed
Staff Meeting
Denver Sheriff Health Services October 2022                       10/28/2022 Completed
Staff Meeting
2022 Denver Sheriff Health Services Protocol                       10/1/2022 Completed
Quiz
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Crisis Response Team Unit
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Behavioral Health Code Changes
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed

Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Pharmacy
Denver Sheriff Health Services September 2022                      10/1/2022 Completed
Staff Meeting
Denver Sheriff Health Services September 2022                      10/1/2022 Completed
Staff Meeting
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Biohazard Training
Denver Sheriff Health Services September 2022                      10/1/2022 Completed
Staff Meeting
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Women's Clinic
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Biohazard Training
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Crisis Response Team Unit
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Women's Clinic
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Epic Care Link Training
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Epic Care Link Training
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Behavioral Health Code Changes
Denver Sheriff Health Services 2022 Skills Fair                    10/1/2022 Completed
Pharmacy
(VIDEO) Beginning a Diversity, Equity, and                          9/9/2022 Completed
Inclusion Journey
(VIDEO) Exploring Your Role in Workplace DEI                        9/9/2022 Completed

(VIDEO) Becoming an Advocate for DEI                                9/9/2022 Completed
(VIDEO) Beginning a Diversity, Equity, and                          9/9/2022 Completed
Inclusion Journey


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(VIDEO) Taking Steps to Build a DEI Culture                     9/9/2022 Completed
(VIDEO) Workplace Diversity, Equity, and                        9/9/2022 Completed
Inclusion in Action
(VIDEO) Recognizing Barriers to Inclusion                       9/9/2022 Completed
(VIDEO) Recognizing Barriers to Inclusion                       9/9/2022 Completed
(VIDEO) Workplace Diversity, Equity, and                        9/9/2022 Completed
Inclusion in Action
Workplace Diversity, Equity and Inclusion in                    9/9/2022 Completed
Action
(VIDEO) Becoming an Advocate for DEI                            9/9/2022 Completed
(VIDEO) Taking Steps to Build a DEI Culture                     9/9/2022 Completed
(VIDEO) Exploring Your Role in Workplace DEI                    9/9/2022 Completed

Workplace Diversity, Equity and Inclusion in                    9/9/2022 Completed
Action
Denver Sheriff Health Services August 2022                     8/30/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services August 2022                     8/30/2022 Completed
Mandatory Staff Meeting Quiz
Denver Sheriff Health Services August 2022                     8/30/2022 Completed
Mandatory Staff Meeting
Correctional Care Withdrawal Protocols                         8/17/2022 Completed
Acknowledgment
Denver Sheriff Health Services Correctional Care               8/17/2022 Completed
Withdrawal Protocols -Annual
Denver Sheriff Health Services Infant/Child BLS                8/17/2022 Completed

Denver Sheriff Health Services Infant/Child BLS                8/17/2022 Completed

Denver Sheriff Health Services Monkeypox                       8/17/2022 Completed
Specimen Collection
Monkeypox Specimen Collection Guidance test                    8/17/2022 Completed
Denver Sheriff Health Services Infant/Child BLS                8/17/2022 Completed

Denver Sheriff Health Services Withdrawal                      8/17/2022 Completed
Protocols
Denver Sheriff Health Services Collection of                   8/17/2022 Completed
Monkeypox Specimen
Correctional Care Withdrawal Test                              8/17/2022 Completed
Denver Sheriff Health Services July 2022 Staff                  8/5/2022 Completed
Meeting
Denver Sheriff Health Services July 2022 Staff                  8/5/2022 Completed
Meeting
Denver Sheriff Health Services July 2022 Staff                  8/5/2022 Completed
Meeting
Denver Sheriff Health Services Oral Examination                7/13/2022 Completed



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Oral Examination Video                                        7/13/2022 Completed
Basic Oral Examination                                        7/13/2022 Completed
Denver Sheriff Health Services June 2022                       7/8/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2022                       7/8/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2022                       7/8/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services VACUETTE                       6/10/2022 Completed
QUICKSHIELD Complete PLUS
Denver Sheriff Health Services                                6/10/2022 Completed
VACUETTE®EVOPROTECT
Denver Sheriff Health Services VACUETTE                       6/10/2022 Completed
QUICKSHIELD Complete PLUS
Denver Sheriff Health Services VACUETTE                       6/10/2022 Completed
EVOPROTECT
Denver Sheriff Health Services Greiner Vacuette               6/10/2022 Completed
Needle Stock
Denver Sheriff Health Services Access to Care                  6/9/2022 Completed

2022 Denver Sheriff Health Services Access to                  6/9/2022 Completed
Care
2023_Environment_of_Care_Denver_Health_Ann                     6/3/2022 Completed (Equivalent)
ual_Ed
2022 Annual: Environment of Care Test-Out                      6/3/2022 Completed
2022 DH Annual: Current Employees                              6/3/2022 Completed
2022_Environment_of_Care_Denver_Health_Ann                     6/3/2022 Completed (Equivalent)
ual_Ed
2022_PHIPrivacyAndSecurity                                     6/3/2022 Completed (Equivalent)
2022 Annual: PHI Privacy and Security Test-Out                 6/3/2022 Completed

2022_DH_Annual_Infection_Prevention                            6/3/2022 Completed
2022: Email Security                                           6/3/2022 Completed
2021 PHI Privacy and Security Tip Sheet                        6/3/2022 Completed
2022 Annual: The Denver Health Experience                      6/2/2022 Completed
2022 Code of Conduct Policy                                    6/2/2022 Completed
2022 Annual: Code of Conduct Test-Out                          6/2/2022 Completed
2022 Annual: Drug, Violence, and Harassment-                   6/2/2022 Completed
Free Workplace
2022_Denver_Health_Experience                                  6/2/2022 Completed
2022 Drug/Violence/Harassment-Free Workplace                   6/2/2022 Completed

2022 DH Annual - Code of Conduct                               6/2/2022 Completed (Equivalent)
Denver Sheriff Health Services May 2022                        6/1/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services May 2022                        6/1/2022 Completed
Mandatory Staff Meeting


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Denver Sheriff Health Services May 2022                          6/1/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services Medical Care                     5/22/2022 Completed
Escalation
Denver Sheriff Health Services Medical Care                     5/22/2022 Completed
Escalation
Medical Care Escalation Policy                                  5/22/2022 Completed
infirmary Level of Care J-F-02                                  5/17/2022 Completed
Denver Sheriff Health Services Infirmary/Medical                5/17/2022 Completed
Unit/Level of Care
Housing Options/Infirmary Level of Care                         5/17/2022 Completed
Attestation
Denver Sheriff Health Services Critical Values-                 5/17/2022 Completed
Vital Signs
Denver Sheriff Health Services Access to Care                   5/17/2022 Completed

Medical Care Escalation Policy                                  5/17/2022 Completed
Denver Sheriff Health Services Access to Care                   5/17/2022 Completed

Denver Sheriff Health Services Critical Values-                 5/17/2022 Completed
vital signs Attestation
Denver Sheriff Health Services Medical Care                     5/17/2022 Completed
Escalation
Denver Sheriff Health Services Medical Care                     5/17/2022 Completed
Escalation
Health Services Care Escalation Attestation                     5/17/2022 Completed
Denver Sheriff Health Services Critical Values-                 5/17/2022 Completed
Vital signs
Access to Care -Attestation                                     5/17/2022 Completed
Medical Care Escalation- Attestation Test                       5/17/2022 Completed
Denver Sheriff Health Services Infirmary/Medical                5/17/2022 Completed
Unit/Housing-Level of Care
Denver Sheriff Health Services Infirmary/Medical                5/17/2022 Completed (Equivalent)
Unit/Housing-Level of Care
Denver Sheriff Health Services April 2022                       4/28/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2022                       4/28/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2022                       4/28/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services March 2022                        4/7/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services March 2022                        4/7/2022 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services March 2022                        4/7/2022 Completed
Mandatory Staff Meeting
Benzodiazepine Withdrawal Protocol                              3/15/2022 Completed


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Correctional Care Withdrawal Protocol Trainings                3/15/2022 Completed

Alcohol Withdrawal Protocol Test                               3/15/2022 Completed
Benzodiazepine Withdrawal Protocol Test                        3/15/2022 Completed
Opiate Withdrawal Protocol Test                                3/15/2022 Completed
Alcohol Withdrawal Protocol                                    3/15/2022 Completed
Opiate Withdrawal Protocol                                     3/15/2022 Completed
Denver Sheriff Health Services February 2022                    3/9/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services February 2022                    3/9/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services February 2022                    3/9/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services Mental Health and               2/16/2022 Completed
Use of Force Training
Denver Sheriff Health Services Wired Jaw                       2/16/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Mental Health and               2/16/2022 Completed
Use of Force
Denver Sheriff Health Services Wired Jaw                       2/16/2022 Completed
Emergencies 2.0
Denver Sheriff Health Services Wired Jaw                       2/16/2022 Completed
Emergencies Test 2.0
Denver Sheriff Health Services Mental Health and               2/16/2022 Completed
Use of Force 2
Denver Sheriff Health Services January 2022 Staff              2/16/2022 Completed
Meeting
Denver Sheriff Health Services Mental Health and               2/16/2022 Completed
Use of Force 1
Denver Sheriff Health Services January 2022 Staff              2/16/2022 Completed
Meeting
Denver Sheriff Health Services January 2022 Staff              2/16/2022 Completed
Meeting
Preceptor Workshop                                             1/21/2022 Completed
Denver Sheriff Health Services Culture of Respect              1/12/2022 Completed

PREA – Prison Rape Elimination Act                             1/12/2022 Completed
PREA – Prison Rape Elimination Act                             1/12/2022 Completed
Denver Sheriff Health Services Culture of Respect              1/12/2022 Completed

Denver Sheriff Health Services Culture of Respect              1/12/2022 Completed
2021
Nursing Grand Rounds: Wound Care 101                           1/12/2022 Completed
Denver Sheriff Health Services December 2021                    1/1/2022 Completed
Monthly Staff Meeting
Denver Sheriff Health Services December 2021                    1/1/2022 Completed
Monthly Staff Meeting


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Denver Sheriff Health Services December 2021                       1/1/2022 Completed
Monthly Staff Meeting
Module 1: Wounds                                                 12/17/2021 Completed
Denver Sheriff Health Services November 2021                      12/2/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2021                      12/2/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services November 2021                      12/2/2021 Completed
Mandatory Staff Meeting
Denver Sheriff Health Services 2021 PPE                           11/3/2021 Completed
Refresher
Denver Sheriff Health Services October 2021                       11/3/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services October 2021                       11/3/2021 Completed
Monthly Staff Meeting
API Training for Employees: Scheduling and                        11/3/2021 Completed
Staffing
Denver Sheriff Health Services 2021 PPE                           11/3/2021 Completed
Refresher
Denver Sheriff Health Services 2021 PPE                           11/3/2021 Completed
Refresher Quiz
Denver Sheriff Health Services October 2021                       11/3/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services Resiliency 2021                    10/7/2021 Completed

2021 Denver Sheriff Health Services Skills Fair                   10/7/2021 Completed
WCC
Denver Sheriff Health Services September 2021                     10/7/2021 Completed
Monthly Meeting
Denver Sheriff Health Services Behavioral Health                  10/7/2021 Completed
Services Cultural Competence Quiz
2021 Denver Sheriff Health Services Access to                     10/7/2021 Completed
Care
Denver Sheriff Health Services Behavioral Health                  10/7/2021 Completed
Services
Denver Sheriff Health Services 2021 Gurney                        10/7/2021 Completed
Instructions Quiz
Denver Sheriff Health Services 2021 Evacuation                    10/7/2021 Completed
Chair Quiz
Denver Sheriff Health Services 2021 Pharmacy                      10/7/2021 Completed
Quiz
Denver Sheriff Health Services September 2021                     10/7/2021 Completed
Monthly Meeting
Denver Sheriff Health Services Resiliency                         10/7/2021 Completed
Attestation
Denver Sheriff Health Services Health                             10/7/2021 Completed
Information Management


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Denver Sheriff Health Services 2021 Skills Fair                   10/7/2021 Completed

Denver Sheriff Health Services E-Bag 2021                         10/7/2021 Completed
Denver Sheriff Health Services HIM Quiz                           10/7/2021 Completed
2021 Denver Sheriff Health Services Access to                     10/7/2021 Completed
Care Quiz
Denver Sheriff Health Services 2021 Gurney                        10/7/2021 Completed
Denver Sheriff Health Services 2021 Protocol                      10/7/2021 Completed
Quiz
Denver Sheriff Health Services Evacuation Chair                   10/7/2021 Completed

Denver Sheriff Health Services 2021 Pharmacy                      10/7/2021 Completed

2021 Denver Sheriff Health Services                               10/7/2021 Completed
Documentation
2021 Denver Sheriff Health Services                               10/7/2021 Completed
Documentation Quiz
Denver Sheriff Health Services 2021 E-Bag Tour                    10/7/2021 Completed
Quiz
Denver Sheriff Health Services 2021 Skills Fair                   10/7/2021 Completed
Documentation
2021 Denver Sheriff Health Services Skills Fair                   10/7/2021 Completed
Women's Care Clinic Quiz
Denver Sheriff Health Services September 2021                     10/7/2021 Completed
Monthly Meeting Quiz
Denver Sheriff Health Services August 2021                         9/1/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services August 2021                         9/1/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services August 2021                         9/1/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services July 2021 Monthly                  8/19/2021 Completed
Staff Meeting
Denver Sheriff Health Services ATIMS Training                     8/19/2021 Completed
Video_5 2021
Denver Sheriff Health Services ATIMS Training                     8/19/2021 Completed
Video_4 2021
Denver Sheriff Health Services ATIMS Training                     8/19/2021 Completed
Video_6 2021
Denver Sheriff Health Services ATIMS Training                     8/19/2021 Completed
Attestation
Denver Sheriff Health Services July 2021 Monthly                  8/19/2021 Completed
Staff Meeting
Denver Sheriff Health Services ATIMS Training.                    8/19/2021 Completed
2021
Denver Sheriff Health Services July 2021 Monthly                  8/19/2021 Completed
Staff Meeting


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Denver Sheriff Health Services June 2021                          7/3/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2021                          7/3/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services June 2021                          7/3/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services ATIMS Training                     6/3/2021 Completed
Video_2 2021
Denver Sheriff Health Services ATIMS Training                     6/3/2021 Completed
Video_3 2021
Denver Sheriff Health Services ATIMS Training                     6/3/2021 Completed
Video_1. 2021
Denver Sheriff Health Services May 2021                          5/31/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services May 2021                          5/31/2021 Completed
Mandatory All Staff Meeting Quiz
Denver Sheriff Health Services May 2021                          5/31/2021 Completed
Mandatory Monthly Staff Meeting
Denver Sheriff Health Services Refusal Process                   4/29/2021 Completed

Denver Sheriff Health Services April 2021                        4/29/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2021                        4/29/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services April 2021                        4/29/2021 Completed
Monthly Staff Meeting
Correctional Care - Suicide Prevention                           4/28/2021 Completed
Correctional Care - Civilian Education                           4/28/2021 Completed
Correctional Care - Hospital Return Test                         4/28/2021 Completed
Correctional Care - Suicide Prevention                           4/28/2021 Completed
Correctional Care - Civilian Education Test                      4/28/2021 Completed
Correctional Care - Hospital Return/Correctional                 4/28/2021 Completed
Care Trauma Protocol
Correctional Care Sensitivity                                    4/28/2021 Completed
Correctional Care Sensitivity                                    4/28/2021 Completed
Correctional Care                                                4/28/2021 Completed
Denver Sheriff Health Services March 2021                         4/1/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services March 2021                         4/1/2021 Completed
Monthly Staff Meeting
Denver Sheriff Health Services March 2021                         4/1/2021 Completed
Monthly Staff Meeting
Using AIDET to Communicate With Patients                         3/11/2021 Completed
Scheduling Covid Immunization Appointments                       3/11/2021 Completed
Information about the Moderna COVID-19                           3/11/2021 Completed
Vaccine



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Intramuscular Injection: (Adults 19 Years of Age               3/11/2021 Completed
and Older)
Denver Health COVID-19 Vaccination Clinic                      3/11/2021 Completed
Training 2021
Document an Adverse Reaction to the Covid                      3/11/2021 Completed
Vaccine
Placing a Covid Vaccine Order and adding Health                3/11/2021 Completed
Maintenance Modifier
COVID-19 Immunization Check in and                             3/11/2021 Completed
Administration
Information about the Pfizer-BioNTech COVID-                   3/11/2021 Completed
19 Vaccine
Vaccine Distribution Time and Goals                            3/11/2021 Completed
Hand Hygiene: Washing hands with soap and                      3/11/2021 Completed
water
Hand Hygiene: Washing hands with alcohol-based                 3/11/2021 Completed
hand sanitizer
Covid 19 and Anaphylaxis                                       3/11/2021 Completed
Scheduling Second Covid Vaccine Dose                           3/11/2021 Completed
Employee Health Program for Infection Control                  3/11/2021 Completed

COVID-19 Vaccination Frequently Asked                          3/11/2021 Completed
Questions
Vaccine Clinic Knowledge Validation                            3/11/2021 Completed
COVID-19 Vaccination of Individuals with                       3/11/2021 Completed
History of Anaphylaxis
Update Correct Vaccine Documentation                           3/11/2021 Completed
Fixing Covid Orders with Scheduling Issues                     3/11/2021 Completed
Schedule Patients with a Covid Vaccine Invite                  3/11/2021 Completed
Code
DH Covid-19 Vaccinations Administered Today-                   3/11/2021 Completed
End of Day Checklist
Denver Sheriff Health Services February 2021 All               2/26/2021 Completed
Staff Meeting
Denver Sheriff Health Services Culture of Respect              2/26/2021 Completed

Denver Sheriff Health Services February 2021 All               2/26/2021 Completed
Staff Meeting
Denver Sheriff Health Services February 2021 All               2/26/2021 Completed
Staff Meeting
Denver Sheriff Health Services Culture of Respect              2/26/2021 Completed

Denver Sheriff Health Services Culture of Respect              2/26/2021 Completed
2021
2021: Email Security                                           1/28/2021 Completed
2021 DH Annual: Current Employees                              1/28/2021 Completed
2021 Annual: The Denver Health Experience                      1/14/2021 Completed


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2021 DH Annual - Infection Prevention                           1/14/2021 Completed
2021 PHI Privacy and Security                                   1/14/2021 Completed (Equivalent)
2021 Annual: Code of Conduct Test-Out                           1/14/2021 Completed
2021 Annual: Environment of Care Test-Out                       1/14/2021 Completed
2021 PHI Privacy and Security Tip Sheet                         1/14/2021 Completed
2021 Environment of Care - Denver Health                        1/14/2021 Completed (Equivalent)
Annual Education
2021 DH Annual - Code of Conduct                                1/14/2021 Completed (Equivalent)
2021 Annual: The Denver Health Experience                       1/14/2021 Completed
2021 Annual: PHI Privacy and Security Test-Out                  1/14/2021 Completed

2021 Drug, Violence, & Harassment-Free Wk.Plc.                  1/14/2021 Completed

2021 Drug/Violence/Harassment-Free Workplace                    1/14/2021 Completed

DSHS December 2020 Monthly Meeting                               1/7/2021 Completed
DSHS December 2020 Monthly Meeting                               1/7/2021 Completed
DSHS December 2020 Monthly Meeting                               1/7/2021 Completed
DSHS Infrared Thermometer Training                             12/27/2020 Completed
DSHS Infrared Thermometer Quiz                                 12/27/2020 Completed
DSHS Infrared Thermometer Quiz                                 12/27/2020 Completed
Suicide Assessment, Precautions and Patient                    12/27/2020 Completed
Management
Suicide Prevention for Nursing                                 12/27/2020 Completed
DSHS November 2020 All Staff Meeting Quiz                      12/12/2020 Completed
Denver Sheriff Health Services November 2020                   12/12/2020 Completed
All Staff Meeting
DSHS 2020 Mass Disaster Drills                                 12/12/2020 Completed
DSHS November All Staff Meeting                                12/12/2020 Completed
Denver Sheriff Health Services Multicultural Test              10/31/2020 Completed

Denver Sheriff Health Services 2020 Minorities &               10/31/2020 Completed
Incarceration
Denver Sheriff Health Services 2020 Wound Care                 10/31/2020 Completed

Denver Sheriff Health Services 2020 Multicultural              10/31/2020 Completed
Issues
Denver Sheriff Health Services 2020 Wound Care                 10/31/2020 Completed

Denver Sheriff Health Services 2020 Psychotropic               10/31/2020 Completed
Medications
Denver Sheriff Health Services 2020 Multicultural              10/31/2020 Completed
Issues
Denver Sheriff Health Services 2020 Psychotropic               10/31/2020 Completed
Medications
Denver Sheriff Health Services 2020 Minorities &               10/31/2020 Completed
Incarceration


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Denver Sheriff Health Services 2020 Wound Care                    10/31/2020 Completed

Denver Sheriff Health Services 2020 Minorities &                  10/31/2020 Completed
Incarceration
Denver Sheriff Health Services 2020 Psychotropic                  10/31/2020 Completed
Medications
Correctional Care - Civilian Education Test                        9/29/2020 Completed
Correctional Care - Hospital Return Test                           9/29/2020 Completed
Correctional Care - Suicide Prevention                             9/29/2020 Completed
Correctional Care - Civilian Education                             9/29/2020 Completed
Correctional Care - Hospital Return/Correctional                   9/29/2020 Completed
Care Trauma Protocol
Correctional Care                                                  9/29/2020 Completed
Verbal de-escalation of the agitated patient                        9/2/2020 Completed
(Chapter 2)
Verbal de-escalation of the agitated patient                        9/2/2020 Completed
(Chapter 4)
Correctional Care Sensitivity                                       9/2/2020 Completed
Denver Sheriff Health Services Skills Fair 2020                     9/2/2020 Completed
Documentation
De-Escalation of the Agitated Patient                               9/2/2020 Completed
Verbal de-escalation of the agitated patient                        9/2/2020 Completed
(Chapter 1)
Denver Sheriff Health Services Documentation                        9/2/2020 Completed

Denver Sheriff Health Services Skills Fair 2020                     9/2/2020 Completed
Documentation
Correctional Care Sensitivity                                       9/2/2020 Completed
Correctional Care - Suicide Prevention                              9/2/2020 Completed
Verbal de-escalation of the agitated patient                        9/2/2020 Completed
(Chapter 3)
Verbal de-escalation of the agitated patient                        9/2/2020 Completed
(Chapter 5)
PREA – Prison Rape Elimination Act                                 8/25/2020 Completed
PREA Test                                                          8/25/2020 Completed
Denver Sheriff Health Services Access to Care                       8/5/2020 Completed
2020
Denver Sheriff Health Services Acces to Care                        8/5/2020 Completed
Quiz
Denver Sheriff Health Services Women's Care                         8/5/2020 Completed
2020
Denver Sheriff Health Services Women's Care                         8/5/2020 Completed
2020
Denver Sheriff Health Services Women's Care                         8/5/2020 Completed
2020
Denver Sheriff Health Services Access to Care                       8/5/2020 Completed
2020


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Denver Sheriff Health Services Skills Fair 2020 -              7/17/2020 Completed
Pharmacy
Denver Sheriff Health Services Gurney                          7/17/2020 Completed
Denver Sheriff Health Services Skills Fair 2020 -              7/17/2020 Completed
Pharmacy
Equipment Review                                               7/17/2020 Completed
Denver Sheriff Health Services 2020 Skills Fair                7/17/2020 Completed
Pharmacy Services Quiz
Denver Sheriff Health Services Emergency Bag                   7/17/2020 Completed
Tour
Denver Sheriff Health Services Evactuation Chair               7/17/2020 Completed
(Stair Chair)
Denver Sheriff Health Services 2020 Protocol                   6/25/2020 Completed
Quiz
Attestation: Pre-Shift Reporting Staff Health                  5/20/2020 Completed
Monitoring
Talent Registry Intake Survey                                  5/20/2020 Completed
Talent Registry Intake Survey                                   4/9/2020 Completed
Alcohol Withdrawal Protocol                                    3/12/2020 Completed
Opiate Withdrawal Protocol                                     3/12/2020 Completed
Benzodiazepine Withdrawal Protocol Test                        3/12/2020 Completed
Benzodiazepine Withdrawal Protocol                             3/12/2020 Completed
Opiate Withdrawal Protocol Test                                3/12/2020 Completed
Alcohol Withdrawal Protocol Test                               3/12/2020 Completed
Correctional Care Withdrawal Protocol Trainings                3/12/2020 Completed

2020 DH Annual: Correction Interpreter on                       3/5/2020 Completed
Wheels
Correctional Care Withdrawal Protocol Trainings                2/27/2020 Completed

Benzodiazepine Withdrawal Protocol Test                        2/27/2020 Completed
Opiate Withdrawal Protocol                                     2/27/2020 Completed
Opiate Withdrawal Protocol Test                                2/27/2020 Completed
Benzodiazepine Withdrawal Protocol                             2/27/2020 Completed
Missing Persons and Leaving Against Medical                    2/26/2020 Completed
Advice Policy for Nursing
Alcohol Withdrawal Protocol                                    2/26/2020 Completed
Missing Persons and Leaving Against Medical                    2/26/2020 Completed
Advice Policy Test for Nursing
Alcohol Withdrawal Protocol Test                               2/26/2020 Completed
Missing Persons and Leaving Against Medical                    2/26/2020 Completed
Advice Policy for Nursing
Pyxis User Agreement                                           2/26/2020 Completed
2020 Annual: Environment of Care Test-Out                       1/7/2020 Completed (Equivalent)
2020 Code of Conduct                                            1/7/2020 Completed
2020 Annual: Drug, Violence, and Harassment-                    1/7/2020 Completed (Equivalent)
Free Workplace


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2020 Annual: Environment of Care                                    1/7/2020 Completed
2020 Annual: Drug-, Violence-, and Harassment-                      1/7/2020 Completed
Free Workplace Test-Out
2021 PHI Privacy and Security Tip Sheet                             1/7/2020 Completed
2020 Annual: PHI Privacy and Security Test-Out                      1/7/2020 Completed

2020 Annual: The Denver Health Experience                           1/7/2020 Completed
2020 Annual: Code of Conduct Test-Out                               1/7/2020 Completed (Equivalent)
2020 Annual: Code of Conduct                                        1/7/2020 Completed
2020 Annual: Email Security                                         1/7/2020 Completed
2020 Annual: PHI Privacy and Security                               1/7/2020 Completed (Equivalent)
2020 DH Annual: Current Employee Training                           1/7/2020 Completed
2020 Annual: The Denver Health Experience                           1/7/2020 Completed
2020 Annual: Infection Prevention                                   1/7/2020 Completed
BLS/CPR Renewal                                                   11/19/2019 Completed
EMU for PSCAs                                                      4/24/2019 Completed
Epilepsy Monitoring Unit - Test                                    4/24/2019 Completed
Tutorial 4.0 - Order Alcohol Withdrawal Plan                       4/17/2019 Completed
Tutorial 2.0 - How to Print a EMAR                                 4/17/2019 Completed
Tutorial 5.0 - Order Opiate Withdrawal Plan                        4/17/2019 Completed
Tutorial 1.0 - Adding a New Order                                  4/17/2019 Completed
Tutorial 2.1 - How to Print an individual order                    4/17/2019 Completed
Tutorial 3.0 - The Anatomy of the EMAR                             4/17/2019 Completed
Tutorial 1.1 - Order a Medication that is Non-                     4/17/2019 Completed
Formulary
Appendix A - List of Printers for EMAR                             4/17/2019 Completed
EMAR Tutorials Test                                                4/17/2019 Completed
Tutorial 1.2 - Add Order With Custom Days                          4/17/2019 Completed
EMAR Cover Page                                                    4/17/2019 Completed
EMAR Tutorials                                                     4/17/2019 Completed
Verbal de-escalation of the agitated patient                       4/10/2019 Completed
(Chapter 5)
Verbal de-escalation of the agitated patient                       4/10/2019 Completed
(Chapter 2)
Verbal de-escalation of the agitated patient                       4/10/2019 Completed
(Chapter 1)
De-Escalation of the Agitated Patient                              4/10/2019 Completed
Verbal de-escalation of the agitated patient                       4/10/2019 Completed
(Chapter 3)
Verbal de-escalation of the agitated patient                       4/10/2019 Completed
(Chapter 4)
MRI Safety for Non-MRI Personnel                                    4/9/2019 Completed
Pressure Injury                                                     4/9/2019 Completed
MRI Safety Screening Form for Non-MRI                               4/9/2019 Completed
Personnel
MRI Safety for Non-MRI Personnel                                    4/9/2019 Completed
Pressure_Injury                                                     4/9/2019 Completed


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Nursing Certification Survey                                   4/9/2019 Completed
Nursing Certification Survey                                   4/9/2019 Completed
Pressure Injury Prevention, Management and                     4/9/2019 Completed
Treatment Policy
Pressure Injury: NDNQI Module I-Staging                        4/9/2019 Completed
Oral Examination Video                                         4/9/2019 Completed
PREA – Prison Rape Elimination Act                            3/20/2019 Completed
MRI Safety for Non-MRI Personnel                              3/20/2019 Completed
EpicCare Link Denver City and County Jail                     3/20/2019 Completed
Correctional Care Sensitivity                                 3/20/2019 Completed
Correctional Care - Suicide Prevention                        3/20/2019 Completed
Caritas in Nursing                                            3/20/2019 Completed
Caritas in Nursing                                            3/20/2019 Completed
Correctional Care - Hospital Return/Correctional              3/20/2019 Completed
Care Trauma Protocol
Correctional Care - Civilian Education                        3/20/2019 Completed
Controlled Substance Wasting                                  3/20/2019 Completed
Controlled Substance Wasting                                  3/20/2019 Completed
Caritas in Nursing                                            3/20/2019 Completed
Correctional Care - Suicide Prevention                        3/20/2019 Completed
Drug Diversion and Disease Transmission                       3/20/2019 Completed
Correctional Care - Hospital Return Test                      3/20/2019 Completed
Correctional Care Sensitivity                                 3/20/2019 Completed
Correctional Care - Civilian Education Test                   3/20/2019 Completed
Correctional Care                                             3/20/2019 Completed
PREA – Prison Rape Elimination Act                            3/20/2019 Completed
PREA Test                                                     3/20/2019 Completed
Target Zero 2019-C. Diff                                      3/15/2019 Completed
Target Zero: Code Brown: Preventing C. difficile              2/28/2019 Completed
in the hospital
Philips Patient Tele Box Test                                 2/12/2019 Completed
Philips Telemetry Pt Boxes MX40                               2/12/2019 Completed
Philips Patient Telemetry Box                                 2/12/2019 Completed
Float Pool 2019 Q1 Huddle                                      2/6/2019 Completed
Denver Health Code of Conduct                                 1/15/2019 Completed
2019 Annual-Code of Conduct                                   1/15/2019 Completed (Equivalent)
2019 Annual - EOC Recycling Info                              1/15/2019 Completed
2019 Annual - Your Environment of Care                        1/15/2019 Completed
2019 Annual - Code of Conduct (Test Out)                      1/15/2019 Completed
PHI Privacy and Security Tip Sheet                            1/15/2019 Completed
2019 Annual - Infection Prevention                            1/15/2019 Completed
2019 Annual - Denver Health Duel                              1/15/2019 Completed
2019 Annual - PHI Privacy and Security                        1/15/2019 Completed
2019 Annual - Drug-, Violence-, and Harassment-               1/15/2019 Completed
Free Workplace
2019 Annual - Environment of Care                             1/15/2019 Completed
2019 Annual - Email Security                                  1/15/2019 Completed


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2019 Annual - Code of Conduct                                   1/15/2019 Completed (Equivalent)
2019 DH Annual: Current Employee Training                       1/15/2019 Completed
2019 Annual - DH Experience                                      1/8/2019 Completed
2019 Annual - The Denver Health Experience                       1/8/2019 Completed
Float Pool 2018 Q4 Huddle                                       11/1/2018 Completed
Zoll R Series Defibrillator BLS Competency                     10/31/2018 Completed
Zoll Training- BLS                                             10/30/2018 Completed
7: Real CPR                                                    10/30/2018 Completed
5: Syncronized Cardioversion                                   10/30/2018 Completed
Testing                                                        10/30/2018 Completed
6: Pacing                                                      10/30/2018 Completed
4: Defibrillation                                              10/30/2018 Completed
Restraints                                                     10/16/2018 Completed
Restraints Competency CNA 2018                                 10/16/2018 Completed
Tie a Quick Release Double Knot                                10/16/2018 Completed
CNA Acute Care competencies 2018                               10/16/2018 Completed
2018 CNA/HCT Annual Competencies                               10/16/2018 Completed
3: Monitoring                                                  10/14/2018 Completed
RestraintsSafety                                               10/13/2018 Completed
2: Patient Preparation                                         10/13/2018 Completed
Zoll Intro to R Series                                         10/13/2018 Completed
Restraint and Seclusion Policy                                 10/13/2018 Completed
Restraints Safety                                              10/13/2018 Completed
1: Zoll Basics                                                 10/13/2018 Completed
Float Pool Annual Review Acknowledgement                        10/6/2018 Completed
Float Pool Basic Expectations                                   10/6/2018 Completed
Float Pool Self Schedule Guidelines                             10/6/2018 Completed
Float Pool PTO Sign-Up Instructions                             10/6/2018 Completed
Welcome to the Float Pool                                       10/6/2018 Completed
Float Pool Important Information                                10/6/2018 Completed
Float Pool Compliance Documents (RN & CNA)                      10/6/2018 Completed

Float Pool Clocking Instructions                                10/6/2018 Completed
Float Pool Commitment to Coworkers                              10/6/2018 Completed
Target Zero SSI Prevention                                      9/22/2018 Completed
Target Zero - Preventing SSI (Surgical Site                     9/22/2018 Completed
Infections)
Float Pool 2018 Q3 Huddle                                       9/22/2018 Completed
Target Zero: Code Brown: Preventing C. difficile                8/21/2018 Completed
in the hospital
Glucometer Competency 2018 (Test Out)                           8/21/2018 Completed
Target Zero: Fall Prevention 2018                               7/19/2018 Completed
Epic Clinical Documentation CNA Float Pool                      7/19/2018 Completed
2018 Upgrade
EP18 Upgrade Overview                                            7/4/2018 Completed
EP18 ASAP Emergency Tech                                         7/4/2018 Completed
EP18 Clin Doc CNA Techs                                          7/4/2018 Completed


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TargetZeroFallPrevention2018                                    7/4/2018 Completed
Wombat Training: Email Security                                5/21/2018 Completed
DH Annual - Email and Password Security                        5/21/2018 Completed
Training
Suicide Assessment, Precautions and Patient                    5/21/2018 Completed
Management
Suicide Assessment, Precautions and Patient                    5/21/2018 Completed
Management
Suicide Assessment, Precautions and Patient                    5/21/2018 Completed
Management
Wombat Training: Password Policy                               5/21/2018 Completed
Acute Care CNA Basics                                          3/29/2018 Completed
Acute Care CNA Basics Test                                     3/29/2018 Completed
SI: Safety Intelligence                                         3/1/2018 Completed
SI: Safety Intelligence                                         3/1/2018 Completed
BMAT Tip Sheet                                                 2/15/2018 Completed
BMAT                                                           2/15/2018 Completed
BMAT Assessment                                                2/15/2018 Completed
Bedside Mobility Assessment Tool (BMAT)                        2/15/2018 Completed
Getting Started with Cornerstone                                2/3/2018 Completed
DH Annual: Understanding Sexual Harassment                      2/2/2018 Completed

DH Annual: Workplace Violence                                   2/2/2018 Completed
Restraints Safety                                               2/2/2018 Completed
Restraints Safety Test                                          2/2/2018 Completed
Active Staffer Test – Nursing Employee                          2/2/2018 Completed
Active Staffer for Nursing Employees                            2/2/2018 Completed
DH Annual-Workplace Violence                                    2/2/2018 Completed
DH Annual - New Employee Training                               2/2/2018 Completed
DH Annual-Understanding Sexual Harassment                       2/2/2018 Completed
DH Annual-Infection Prevention                                  2/1/2018 Completed
DH Annual: Protected Health Information (PHI)                   2/1/2018 Completed
Privacy and Security
DH Annual-Perfecting the Patient Experience                     2/1/2018 Completed
DH Annual-PHI Privacy and Security                              2/1/2018 Completed
DH Annual: Perfecting the Patient Experience                    2/1/2018 Completed
DH Annual-Environment of Care                                  1/27/2018 Completed
DH Annual: Environment of Care                                 1/27/2018 Completed
DH Annual: Language Services                                   1/27/2018 Completed
DH Annual-Language Services                                    1/27/2018 Completed
DH Annual: Infection Prevention                                1/27/2018 Completed
2021 Code of Conduct - New Employee Training                   1/26/2018 Completed

DH Annual-Drug-Free Workplace                                  1/26/2018 Completed
Code of Conduct - New Employee Training Test                   1/26/2018 Completed

DH Annual: Diversity and Inclusion                             1/26/2018 Completed


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Code of Conduct Policy                                            1/26/2018 Completed
DH Annual - Diversity and Inclusion                               1/26/2018 Completed
DH Annual: Drug-Free Workplace                                    1/26/2018 Completed
Assessing Fall Risk with the Hester Davis Scale                   1/25/2018 Completed
Test
Assessing Fall Risk with the Hester Davis Scale                   1/25/2018 Completed

Missing Persons and Leaving Against Medical                       1/20/2018 Completed
Advice Policy Test
Restraints Safety                                                 1/20/2018 Completed
Active Staffer for Nursing Employees                              1/20/2018 Completed
Missing Persons and Leaving Against Medical                       1/20/2018 Completed
Advice Policy
Missing Persons and Leaving Against Medical                       1/20/2018 Completed
Advice Policy
Bariatric Sensitivity Training Test                               1/19/2018 Completed
Care Provider Orientation                                         1/19/2018 Completed
Bariatric Sensitivity Training                                    1/19/2018 Completed
Bariatric Sensitivity Training                                    1/19/2018 Completed
SI: Safety Intelligence                                           1/19/2018 Completed
Epic ClinDoc Inpatient CNA/HCT New Hire                           1/18/2018 Completed
ACUTE Eating Disorder Class for PSCAs                             1/10/2018 Completed
Environmental Safety for Suicide Risk                             1/10/2018 Completed
Standards of Behavior                                             1/10/2018 Completed
ReadyOp Policy                                                     1/9/2018 Completed
NEO SEE Inpatient Afternoon                                        1/9/2018 Completed
NEO SEE - Inpatient Afternoon                                      1/9/2018 Completed
Baby-Friendly Hospital                                             1/9/2018 Completed
Alarm Management/Patient Care Alarm Systems:                       1/9/2018 Completed
Maintenance, Testing and Activation Policy

Assessing Fall Risk with the Hester Davis Scale                    1/9/2018 Completed




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           JC-03 Professional Development
        DENVER SHERIFF HEALTH SERVICES
 2018 TRAINING/CONTINUING EDUCATION RECORD

NAME:            Melissa Brokaw


TITLE / FTE:     RN / 0.001


DATE OF HIRE: 1/21/2018

               Continuing Education Taken
       Date                       Title             Hours
1/22/18          Denver Health Orientation           8.00
1/23/18          Civilian Orientation                8.00
02/06/18         Care Provider Oreintation           4.00
2/6/18           CJIS Security Training              1.00
2/20/18          Buprenorphine Quiz                  0.50
3/3/18           Hoyer Lift Training                 1.00
5/7/18           Cornerstone                        38.00
5/7/18           Restricted Housing Rounds Quiz      0.50
6/14/18          Skills Fair                         2.00
6/16/18          Medical Flagging Quiz               0.50
7/7/18           Alcohol Withdrawl Quiz              0.50
9/15/18          Corrective Eyeware Protocol Quiz    0.50
9/15/18          Emergency Contraception Quiz        0.50
10/13/18         Restraint Use Cornerstone           1.00
11/26/18         MM Training                         4.00
                                                    70.00




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                                                                                   RN Charge Nurse
                                                                                 Location Denver City Jail




                                                                                     Carol Rogers
                                                                                      Manager

Job
Service Dates
                                Hire Date     01/21/2018
                        Termination Date      03/14/2022
                       Original Hire Date     02/05/2012
                 Continuous Service Date      01/21/2018
                        Length of Service     4 year(s), 1 month(s), 21 day(s)
                    Benefits Service Date
                  Company Service Date
                   Time Off Service Date
                Retirement Eligibility Date
                Expected Retirement Date
                         Retirement Date
                           Seniority Date     01/21/2018
                     Union Seniority Date
                         Severance Date
                             Vesting Date

Career
Individual Cornerstone Transcript




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            Training Title                 Training Type   Training Version     Registration Number          Registration Date      Completed Date        Status
Denver Sheriff Health Services January Curriculum                         1                            1 01/29/2022              02/08/2022          Completed
2022 Staff Meeting
Denver Sheriff Health Services Mental Video                               0                            1 02/08/2022              02/08/2022          Completed
Health and Use of Force 2
Denver Sheriff Health Services Culture Video                              0                            2 01/01/2022              02/08/2022          Completed
of Respect
Denver Sheriff Health Services January Video                              0                            1 02/08/2022              02/08/2022          Completed
2022 Staff Meeting
Denver Sheriff Health Services January Test                               1                            1 02/08/2022              02/08/2022          Completed
2022 Staff Meeting
Denver Sheriff Health Services Mental Test                                1                            1 02/08/2022              02/08/2022          Completed
Health and Use of Force Training
Denver Sheriff Health Services Culture Curriculum                         1                            2 01/01/2022              02/08/2022          Completed
of Respect 2021
PREA Test                              Test                               1                            5 02/08/2022              02/08/2022          Completed
Denver Sheriff Health Services Mental Video                               0                            1 02/08/2022              02/08/2022          Completed
Health and Use of Force 1
PREA – Prison Rape Elimination Act     Online Class                       1                            1 01/01/2022              02/08/2022          Completed
Denver Sheriff Health Services Mental Curriculum                          1                            1 02/02/2022              02/08/2022          Completed
Health and Use of Force
Denver Sheriff Health Services         Video                              0                            1 02/08/2022              02/08/2022          Completed
December 2021 Monthly Staff Meeting
Denver Sheriff Health Services         Test                               1                            1 02/08/2022              02/08/2022          Completed
December 2021 Monthly Staff Meeting
PREA – Prison Rape Elimination Act     Curriculum                         2                            6 01/01/2022              02/08/2022          Completed
Denver Sheriff Health Services Culture Test                               1                            2 02/08/2022              02/08/2022          Completed
of Respect
Denver Sheriff Health Services         Curriculum                         1                            1 12/31/2021              02/08/2022          Completed
December 2021 Monthly Staff Meeting
Denver Sheriff Health Services Wired   Material                           1                            1 02/03/2022              02/03/2022          Completed
Jaw Emergencies
BLS/CPR Renewal                        Session                            1                            1 01/25/2022              01/28/2022          Completed
Denver Sheriff Health Services         Curriculum                         1                            1 11/29/2021              12/03/2021          Completed
November 2021 Mandatory Staff
Meeting
Denver Sheriff Health Services         Video                              0                            1 12/03/2021              12/03/2021          Completed
November 2021 Mandatory Staff
Meeting
API Training for Employees: Scheduling Online Class                       1                            1 10/15/2021              12/03/2021          Completed
and Staffing
Denver Sheriff Health Services         Test                               1                            1 12/03/2021              12/03/2021          Completed
November 2021 Mandatory Staff
Meeting




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Denver Sheriff Health Services 2021    Curriculum                         1                            1 10/20/2021              11/04/2021          Completed
PPE Refresher
Denver Sheriff Health Services 2021    Test                               1                            1 11/04/2021              11/04/2021          Completed
PPE Refresher Quiz
Denver Sheriff Health Services October Video                              0                            1 11/04/2021              11/04/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services October Curriculum                         1                            1 10/29/2021              11/04/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services October Test                               1                            1 11/04/2021              11/04/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services 2021    Material                           1                            1 11/04/2021              11/04/2021          Completed
PPE Refresher
Denver Sheriff Health Services         Test                               1                            1 10/09/2021              10/09/2021          Completed
Resiliency Attestation
Denver Sheriff Health Services         Curriculum                         1                            1 09/29/2021              10/09/2021          Completed
September 2021 Monthly Meeting
Denver Sheriff Health Services 2021    Material                           1                            1 10/09/2021              10/09/2021          Completed
Pharmacy
2021 Denver Sheriff Health Services    Material                           1                            1 10/09/2021              10/09/2021          Completed
Documentation
Denver Sheriff Health Services         Video                              0                            1 10/09/2021              10/09/2021          Completed
September 2021 Monthly Meeting
Denver Sheriff Health Services HIM     Test                               1                            1 10/09/2021              10/09/2021          Completed
Quiz
Denver Sheriff Health Services         Video                              0                            1 10/09/2021              10/09/2021          Completed
Evacuation Chair
Denver Sheriff Health Services 2021    Video                              0                            1 10/09/2021              10/09/2021          Completed
Gurney
Denver Sheriff Health Services 2021    Curriculum                         8                            1 09/29/2021              10/09/2021          Completed
Skills Fair
2021 Denver Sheriff Health Services    Test                               1                            1 10/09/2021              10/09/2021          Completed
Documentation Quiz
2021 Denver Sheriff Health Services    Video                              0                            1 10/09/2021              10/09/2021          Completed
Skills Fair WCC
2021 Denver Sheriff Health Services    Material                           1                            1 10/09/2021              10/09/2021          Completed
Access to Care
Denver Sheriff Health Services         Video                              0                            1 10/09/2021              10/09/2021          Completed
Resiliency 2021
Denver Sheriff Health Services         Material                           1                            1 10/09/2021              10/09/2021          Completed
Behavioral Health Services
2021 Denver Sheriff Health Services    Test                               1                            1 10/09/2021              10/09/2021          Completed
Access to Care Quiz
Denver Sheriff Health Services 2021    Test                               1                            1 10/09/2021              10/09/2021          Completed
Evacuation Chair Quiz




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2021 Denver Sheriff Health Services    Test                               2                            1 10/09/2021              10/09/2021          Completed
Skills Fair Women's Care Clinic Quiz
Denver Sheriff Health Services 2021    Test                               6                            1 10/09/2021              10/09/2021          Completed
Protocol Quiz
Denver Sheriff Health Services Health Material                            1                            1 10/09/2021              10/09/2021          Completed
Information Management
Denver Sheriff Health Services 2021    Test                               1                            1 10/09/2021              10/09/2021          Completed
Gurney Instructions Quiz
Denver Sheriff Health Services 2021 E- Test                               1                            1 10/09/2021              10/09/2021          Completed
Bag Tour Quiz
Denver Sheriff Health Services 2021    Test                               1                            1 10/09/2021              10/09/2021          Completed
Pharmacy Quiz
Denver Sheriff Health Services 2021    Material                           1                            1 09/30/2021              10/09/2021          Completed
Skills Fair Documentation
Denver Sheriff Health Services E-Bag Video                                0                            1 10/09/2021              10/09/2021          Completed
2021
Denver Sheriff Health Services         Test                               1                            1 10/09/2021              10/09/2021          Completed
Behavioral Health Services Cultural
Competence Quiz
Denver Sheriff Health Services         Test                               1                            1 10/09/2021              10/09/2021          Completed
September 2021 Monthly Meeting Quiz
Denver Sheriff Health Services August Video                               0                            1 09/05/2021              09/05/2021          Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services August Curriculum                          1                            1 08/30/2021              09/05/2021          Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services August Test                                1                            1 09/05/2021              09/05/2021          Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services June    Video                              0                            1 08/27/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services June    Curriculum                         1                            1 06/30/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services July    Curriculum                         1                            1 07/30/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services July    Video                              0                            1 08/27/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services July    Test                               1                            1 08/27/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services June    Test                               1                            1 08/27/2021              08/27/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services ATIMS Video                                0                            1 06/10/2021              06/10/2021          Completed
Training Video_2 2021
Denver Sheriff Health Services ATIMS Video                                0                            1 06/10/2021              06/10/2021          Completed
Training Video_5 2021




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Denver Sheriff Health Services ATIMS     Video                                 0                            1 06/10/2021              06/10/2021          Completed
Training Video_4 2021
Denver Sheriff Health Services May       Video                                 0                            1 06/10/2021              06/10/2021          Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services ATIMS     Video                                 0                            1 06/10/2021              06/10/2021          Completed
Training Video_6 2021
Denver Sheriff Health Services ATIMS     Video                                 0                            1 06/10/2021              06/10/2021          Completed
Training Video_3 2021
Denver Sheriff Health Services May       Test                                  1                            1 06/10/2021              06/10/2021          Completed
2021 Mandatory All Staff Meeting Quiz
Denver Sheriff Health Services ATIMS     Video                                 0                            1 06/10/2021              06/10/2021          Completed
Training Video_1. 2021
Denver Sheriff Health Services ATIMS     Test                                  1                            1 06/10/2021              06/10/2021          Completed
Training Attestation
Denver Sheriff Health Services May       Curriculum                            1                            1 05/28/2021              06/10/2021          Completed
2021 Mandatory Monthly Staff Meeting
Denver Sheriff Health Services ATIMS     Curriculum                            3                            1 06/02/2021              06/10/2021          Completed
Training. 2021
Correctional Care                        Curriculum                            5                            5 04/27/2021              04/29/2021          Completed
Correctional Care - Hospital Return      Test                                  1                            4 04/29/2021              04/29/2021          Completed
Test
Denver Sheriff Health Services April     Video                                 0                            1 04/29/2021              04/29/2021          Completed
2021 Monthly Staff Meeting
Correctional Care - Civilian Education   Test                                  1                            4 04/29/2021              04/29/2021          Completed
Test
Denver Sheriff Health Services Refusal   Material                              1                            1 04/29/2021              04/29/2021          Completed
Process
Correctional Care Sensitivity            Material                              2                            4 04/29/2021              04/29/2021          Completed
Correctional Care - Civilian Education   Material                              1                            4 04/29/2021              04/29/2021          Completed
Correctional Care - Hospital             Material                              1                            4 04/29/2021              04/29/2021          Completed
Return/Correctional Care Trauma
Protocol
Correctional Care - Suicide Prevention   Material                              1                            4 04/29/2021              04/29/2021          Completed
Denver Sheriff Health Services April     Curriculum                            1                            1 04/29/2021              04/29/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services April     Test                                  1                            1 04/29/2021              04/29/2021          Completed
2021 Monthly Staff Meeting
Correctional Care Sensitivity            Test                                  1                            4 04/29/2021              04/29/2021          Completed
Correctional Care - Suicide Prevention   Test                                  1                            4 04/29/2021              04/29/2021          Completed
Denver Sheriff Health Services March     Test                                  1                            1 04/09/2021              04/09/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services March     Video                                 0                            1 04/09/2021              04/09/2021          Completed
2021 Monthly Staff Meeting




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Denver Sheriff Health Services March     Curriculum                            1                            1 04/05/2021              04/09/2021          Completed
2021 Monthly Staff Meeting
Denver Sheriff Health Services           Curriculum                            1                            1 02/24/2021              02/24/2021          Completed
February 2021 All Staff Meeting
Denver Sheriff Health Services Culture   Curriculum                            1                            1 02/22/2021              02/24/2021          Completed
of Respect 2021
Denver Sheriff Health Services           Video                                 0                            1 02/24/2021              02/24/2021          Completed
February 2021 All Staff Meeting
Denver Sheriff Health Services Culture   Video                                 0                            1 02/22/2021              02/24/2021          Completed
of Respect
Denver Sheriff Health Services           Test                                  1                            1 02/24/2021              02/24/2021          Completed
February 2021 All Staff Meeting
Denver Sheriff Health Services Culture   Test                                  1                            1 02/24/2021              02/24/2021          Completed
of Respect
2021 Annual: The Denver Health           Online Class                          2                            1 01/26/2021              02/14/2021          Completed
Experience
2021 PHI Privacy and Security Tip        Material                              1                            1 01/07/2021              02/14/2021          Completed
Sheet
2021 DH Annual - Code of Conduct         Online Class                          1                            1 01/07/2021              02/14/2021          Completed
                                                                                                                                                          (Equivalent)
2021 DH Annual - Infection Prevention    Online Class                          1                            1 01/07/2021              02/14/2021          Completed
2021 Drug/Violence/Harassment-Free       Test                                  2                            1 02/14/2021              02/14/2021          Completed
Workplace
2021: Email Security                     Online Class                          1                            1 02/14/2021              02/14/2021          Completed
2021 Drug, Violence, & Harassment-       Online Class                          1                            1 01/07/2021              02/14/2021          Completed
Free Wk.Plc.
2021 Annual: Environment of Care         Test                                  1                            1 01/07/2021              02/14/2021          Completed
Test-Out
2021 Annual: PHI Privacy and Security    Test                                  1                            1 02/14/2021              02/14/2021          Completed
Test-Out
2021 Environment of Care - Denver        Online Class                          1                            1 01/07/2021              02/14/2021          Completed
Health Annual Education                                                                                                                                   (Equivalent)
2021 Annual: Code of Conduct Test-       Test                                  1                            1 01/07/2021              02/14/2021          Completed
Out
2021 PHI Privacy and Security            Online Class                          1                            1 02/14/2021              02/14/2021          Completed
                                                                                                                                                          (Equivalent)
2021 DH Annual: Current Employees        Curriculum                            4                            1 01/26/2021              02/14/2021          Completed
2021 Annual: The Denver Health           Test                                  1                            1 02/14/2021              02/14/2021          Completed
Experience
PREA – Prison Rape Elimination Act       Online Class                          1                            4 01/01/2021              01/13/2021          Completed
PREA Test                                Test                                  1                            4 01/13/2021              01/13/2021          Completed
PREA – Prison Rape Elimination Act       Curriculum                            1                            5 01/01/2021              01/13/2021          Completed
DSHS Infrared Thermometer Quiz           Test                                  1                            1 12/31/2020              12/31/2020          Completed




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DSHS Infrared Thermometer Quiz          Curriculum                            1                            1 12/14/2020              12/31/2020          Completed
DSHS December 2020 Monthly              Test                                  1                            1 12/31/2020              12/31/2020          Completed
Meeting
DSHS Infrared Thermometer Training      Video                                 0                            1 12/14/2020              12/31/2020          Completed
DSHS December 2020 Monthly              Video                                 0                            1 12/30/2020              12/31/2020          Completed
Meeting
DSHS December 2020 Monthly              Curriculum                            1                            1 12/30/2020              12/31/2020          Completed
Meeting
DSHS November 2020 All Staff            Test                                  1                            1 12/02/2020              12/02/2020          Completed
Meeting Quiz
DSHS November All Staff Meeting         Video                                 0                            1 11/30/2020              12/02/2020          Completed
DSHS 2020 Mass Disaster Drills          Material                              1                            1 12/02/2020              12/02/2020          Completed
Denver Sheriff Health Services          Curriculum                            2                            1 11/30/2020              12/02/2020          Completed
November 2020 All Staff Meeting
Denver Sheriff Health Services 2020     Curriculum                            1                            1 10/23/2020              11/18/2020          Completed
Psychotropic Medications
Denver Sheriff Health Services 2020     Video                                 0                            1 10/23/2020              11/18/2020          Completed
Psychotropic Medications
Denver Sheriff Health Services          Test                                  1                            1 11/18/2020              11/18/2020          Completed
Multicultural Test
Denver Sheriff Health Services 2020     Curriculum                            1                            1 10/12/2020              11/18/2020          Completed
Multicultural Issues
Denver Sheriff Health Services 2020     Test                                  1                            1 10/23/2020              11/18/2020          Completed
Wound Care
Denver Sheriff Health Services 2020     Test                                  1                            1 10/12/2020              11/18/2020          Completed
Minorities & Incarceration
Denver Sheriff Health Services 2020     Video                                 0                            1 10/23/2020              11/18/2020          Completed
Wound Care
Denver Sheriff Health Services 2020     Curriculum                            1                            1 10/23/2020              11/18/2020          Completed
Wound Care
Denver Sheriff Health Services 2020     Test                                  1                            1 10/23/2020              11/18/2020          Completed
Psychotropic Medications
Denver Sheriff Health Services 2020     Curriculum                            1                            1 10/12/2020              11/18/2020          Completed
Minorities & Incarceration
Denver Sheriff Health Services 2020     Material                              1                            1 10/12/2020              11/18/2020          Completed
Minorities & Incarceration
Denver Sheriff Health Services 2020     Material                              1                            1 10/12/2020              11/18/2020          Completed
Multicultural Issues
Denver Sheriff Health Services Skills   Material                              1                            1 09/09/2020              09/09/2020          Completed
Fair 2020 - Pharmacy
Denver Sheriff Health Services 2020     Test                                  1                            1 09/09/2020              09/09/2020          Completed
Skills Fair Pharmacy Services Quiz




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Denver Sheriff Health Services Skills    Curriculum                            1                            1 07/17/2020              09/09/2020          Completed
Fair 2020 - Pharmacy
Verbal de-escalation of the agitated     Material                              1                            3 09/03/2020              09/03/2020          Completed
patient (Chapter 1)
Correctional Care - Suicide Prevention   Test                                  1                            3 09/03/2020              09/03/2020          Completed
Benzodiazepine Withdrawal Protocol       Test                                  1                            2 09/03/2020              09/03/2020          Completed
Test
Verbal de-escalation of the agitated     Material                              1                            3 09/03/2020              09/03/2020          Completed
patient (Chapter 2)
Denver Sheriff Health Services Access    Curriculum                            1                            1 07/31/2020              09/03/2020          Completed
to Care 2020
Correctional Care Sensitivity            Test                                  1                            3 09/03/2020              09/03/2020          Completed
Correctional Care - Civilian Education   Material                              1                            3 09/03/2020              09/03/2020          Completed
Correctional Care - Suicide Prevention   Material                              1                            3 09/03/2020              09/03/2020          Completed
Denver Sheriff Health Services           Video                                 0                            1 07/17/2020              09/03/2020          Completed
Evactuation Chair (Stair Chair)
Denver Sheriff Health Services Gurney    Video                                 0                            1 07/17/2020              09/03/2020          Completed
Denver Sheriff Health Services Access    Material                              1                            1 09/03/2020              09/03/2020          Completed
to Care 2020
Correctional Care Withdrawal Protocol    Curriculum                            1                            2 08/14/2020              09/03/2020          Completed
Trainings
Verbal de-escalation of the agitated     Material                              1                            3 09/03/2020              09/03/2020          Completed
patient (Chapter 3)
Denver Sheriff Health Services           Test                                  1                            1 09/03/2020              09/03/2020          Completed
Documentation
Denver Sheriff Health Services           Curriculum                            1                            1 07/31/2020              09/03/2020          Completed
Women's Care 2020
Correctional Care Sensitivity            Material                              2                            3 09/03/2020              09/03/2020          Completed
Equipment Review                         Curriculum                            1                            1 07/17/2020              09/03/2020          Completed
Opiate Withdrawal Protocol               Material                              1                            2 09/03/2020              09/03/2020          Completed
Opiate Withdrawal Protocol Test          Test                                  1                            2 09/03/2020              09/03/2020          Completed
Benzodiazepine Withdrawal Protocol       Material                              1                            2 09/03/2020              09/03/2020          Completed
De-Escalation of the Agitated Patient    Curriculum                            1                            3 08/14/2020              09/03/2020          Completed
Correctional Care                        Curriculum                            5                            4 08/14/2020              09/03/2020          Completed
Verbal de-escalation of the agitated     Material                              1                            3 09/03/2020              09/03/2020          Completed
patient (Chapter 4)
Denver Sheriff Health Services Skills    Material                              2                            1 09/03/2020              09/03/2020          Completed
Fair 2020 Documentation
Denver Sheriff Health Services           Test                                  1                            1 09/03/2020              09/03/2020          Completed
Women's Care 2020
Denver Sheriff Health Services Acces     Test                                  1                            1 09/03/2020              09/03/2020          Completed
to Care Quiz




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Denver Sheriff Health Services Health    Curriculum                            1                            1 07/27/2020              09/03/2020          Completed
Assessment
Denver Sheriff Health Services Health    Material                              1                            1 07/27/2020              09/03/2020          Completed
Assessment
Alcohol Withdrawal Protocol Test         Test                                  1                            2 09/03/2020              09/03/2020          Completed
Correctional Care - Hospital             Material                              1                            3 09/03/2020              09/03/2020          Completed
Return/Correctional Care Trauma
Protocol
Denver Sheriff Health Services Skills    Curriculum                            1                            1 08/27/2020              09/03/2020          Completed
Fair 2020 Documentation
Denver Sheriff Health Services Health    Test                                  1                            1 09/03/2020              09/03/2020          Completed
Assessment
Verbal de-escalation of the agitated     Material                              1                            3 09/03/2020              09/03/2020          Completed
patient (Chapter 5)
Denver Sheriff Health Services 2020      Test                                  1                            1 06/25/2020              09/03/2020          Completed
Protocol Quiz
Correctional Care - Civilian Education   Test                                  1                            3 09/03/2020              09/03/2020          Completed
Test
Denver Sheriff Health Services           Video                                 0                            1 09/03/2020              09/03/2020          Completed
Emergency Bag Tour
Alcohol Withdrawal Protocol              Material                              1                            2 09/03/2020              09/03/2020          Completed
Correctional Care - Hospital Return      Test                                  1                            3 09/03/2020              09/03/2020          Completed
Test
Denver Sheriff Health Services           Material                              1                            1 07/31/2020              09/03/2020          Completed
Women's Care 2020
Talent Registry Intake Survey            Material                              1                            4 06/03/2020              06/05/2020          Completed
Attestation: Pre-Shift Reporting Staff   Test                                  1                            1 05/19/2020              05/24/2020          Completed
Health Monitoring
2020 DH Annual: Correction Interpreter   Material                              1                            1 03/02/2020              03/04/2020          Completed
on Wheels
BLS/CPR Renewal                          Session                               1                            1 01/15/2020              01/15/2020          Completed
2020 Annual: Code of Conduct             Online Class                          2                            1 01/13/2020              01/13/2020          Completed
                                                                                                                                                          (Equivalent)
2020 Code of Conduct                     Material                              2                            1 01/06/2020              01/13/2020          Completed
2020 Annual: Environment of Care         Test                                  4                            1 01/06/2020              01/13/2020          Completed
Test-Out
2021 PHI Privacy and Security Tip        Material                              1                            1 01/13/2020              01/13/2020          Completed
Sheet
2020 Annual: Drug, Violence, and         Online Class                          1                            1 01/06/2020              01/13/2020          Completed
Harassment-Free Workplace                                                                                                                                 (Equivalent)
2020 Annual: PHI Privacy and Security    Online Class                          1                            1 01/13/2020              01/13/2020          Completed
                                                                                                                                                          (Equivalent)




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2020 DH Annual: Current Employee         Curriculum                           17                            1 01/06/2020              01/13/2020          Completed
Training
2020 Annual: PHI Privacy and Security    Test                                  3                            1 01/13/2020              01/13/2020          Completed
Test-Out
2020 Annual: Email Security              Online Class                          1                            1 01/06/2020              01/13/2020          Completed
2020 Annual: The Denver Health           Online Class                          2                            1 01/06/2020              01/13/2020          Completed
Experience
2020 Annual: Infection Prevention        Online Class                          3                            1 01/06/2020              01/13/2020          Completed
2020 Annual: The Denver Health           Test                                  1                            1 01/13/2020              01/13/2020          Completed
Experience
2020 Annual: Drug-, Violence-, and       Test                                  3                            1 01/06/2020              01/13/2020          Completed
Harassment-Free Workplace Test-Out
2020 Annual: Code of Conduct Test-       Test                                  3                            1 01/13/2020              01/13/2020          Completed
Out
2020 Annual: Environment of Care         Online Class                          2                            1 01/06/2020              01/13/2020          Completed
                                                                                                                                                          (Equivalent)
PREA – Prison Rape Elimination Act       Curriculum                            1                            4 01/01/2020              01/04/2020          Completed
Cytotoxic and Hazardous Drug             Online Class                          1                            2 01/02/2020              01/04/2020          Completed
Medications
PREA Test                                Test                                  1                            3 01/04/2020              01/04/2020          Completed
PREA – Prison Rape Elimination Act       Online Class                          1                            3 01/04/2020              01/04/2020          Completed
Cytotoxic and Hazardous Drug             Online Class                          1                            1 10/17/2019              10/25/2019          Completed
Medications
Pyxis User Agreement                     Curriculum                            2                            1 06/12/2019              07/29/2019          Completed
Pressure Injury                          Curriculum                            1                            1 03/25/2019              05/04/2019          Completed
Pressure Injury: NDNQI Module I-         Material                              1                            1 03/25/2019              05/04/2019          Completed
Staging
Pressure Injury Prevention,              Material                              1                            1 05/04/2019              05/04/2019          Completed
Management and Treatment Policy
Pressure_Injury                          Online Class                          1                            1 05/04/2019              05/04/2019          Completed
Opiate Withdrawal Protocol               Material                              1                            1 03/16/2019              03/16/2019          Completed
Alcohol Withdrawal Protocol              Material                              1                            1 03/16/2019              03/16/2019          Completed
Benzodiazepine Withdrawal Protocol       Test                                  1                            1 03/16/2019              03/16/2019          Completed
Test
Benzodiazepine Withdrawal Protocol       Material                              1                            1 03/16/2019              03/16/2019          Completed
Opiate Withdrawal Protocol Test          Test                                  1                            1 03/16/2019              03/16/2019          Completed
Correctional Care Withdrawal Protocol    Curriculum                            1                            1 03/12/2019              03/16/2019          Completed
Trainings
Alcohol Withdrawal Protocol Test         Test                                  1                            1 03/16/2019              03/16/2019          Completed
Verbal de-escalation of the agitated     Material                              1                            2 02/17/2019              02/17/2019          Completed
patient (Chapter 5)
Correctional Care - Suicide Prevention   Material                              1                            2 02/17/2019              02/17/2019          Completed
De-Escalation of the Agitated Patient    Curriculum                            1                            2 02/01/2019              02/17/2019          Completed



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Correctional Care Sensitivity          Test                                 1                            2 02/17/2019              02/17/2019          Completed
Correctional Care - Suicide Prevention Test                                 1                            2 02/17/2019              02/17/2019          Completed
Correctional Care                      Curriculum                           5                            3 02/01/2019              02/17/2019          Completed
Correctional Care - Hospital           Material                             1                            2 02/17/2019              02/17/2019          Completed
Return/Correctional Care Trauma
Protocol
Correctional Care - Civilian Education Material                             1                            2 02/17/2019              02/17/2019          Completed
Verbal de-escalation of the agitated   Material                             1                            2 02/17/2019              02/17/2019          Completed
patient (Chapter 1)
Correctional Care Sensitivity          Material                             2                            2 02/17/2019              02/17/2019          Completed
Correctional Care - Hospital Return    Test                                 1                            2 02/17/2019              02/17/2019          Completed
Test
Verbal de-escalation of the agitated   Material                             1                            2 02/17/2019              02/17/2019          Completed
patient (Chapter 3)
Correctional Care - Civilian Education Test                                 1                            2 02/17/2019              02/17/2019          Completed
Test
Verbal de-escalation of the agitated   Material                             1                            2 02/17/2019              02/17/2019          Completed
patient (Chapter 4)
Verbal de-escalation of the agitated   Material                             1                            2 02/17/2019              02/17/2019          Completed
patient (Chapter 2)
Denver Health Code of Conduct          Material                             1                            1 01/13/2019              01/13/2019          Completed
2019 Annual - PHI Privacy and Security Test                                 1                            1 01/13/2019              01/13/2019          Completed
2019 Annual - EOC Recycling Info       Material                             1                            1 01/13/2019              01/13/2019          Completed
2019 Annual - DH Experience            Test                                 2                            1 01/13/2019              01/13/2019          Completed
2019 Annual - Drug-, Violence-, and    Test                                 2                            1 01/13/2019              01/13/2019          Completed
Harassment-Free Workplace
2019 Annual - Code of Conduct          Online Class                         1                            1 01/13/2019              01/13/2019          Completed
                                                                                                                                                       (Equivalent)
2019 Annual - Email Security          Online Class                          1                            1 01/13/2019              01/13/2019          Completed
2019 Annual - Your Environment of     Online Class                          1                            1 01/13/2019              01/13/2019          Completed
Care
2019 Annual - Code of Conduct (Test   Test                                  1                            1 01/13/2019              01/13/2019          Completed
Out)
2019 Annual - Infection Prevention    Online Class                          1                            1 01/13/2019              01/13/2019          Completed
PREA – Prison Rape Elimination Act    Curriculum                            1                            3 01/01/2019              01/13/2019          Completed
2019 Annual - The Denver Health       Online Class                          3                            1 01/13/2019              01/13/2019          Completed
Experience
PREA Test                             Test                                  1                            2 01/12/2019              01/13/2019          Completed
2019 Annual - Denver Health Duel      Online Class                          4                            1 01/13/2019              01/13/2019          Completed
2019 DH Annual: Current Employee      Curriculum                           13                            1 01/07/2019              01/13/2019          Completed
Training
2019 Annual-Code of Conduct           Test                                  1                            1                         01/13/2019          Completed
                                                                                                                                                       (Equivalent)



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PHI Privacy and Security Tip Sheet       Material                              1                            1 01/13/2019              01/13/2019          Completed
2019 Annual - Environment of Care        Test                                  1                            1 01/13/2019              01/13/2019          Completed
PREA – Prison Rape Elimination Act       Online Class                          1                            2 01/12/2019              01/12/2019          Completed
RestraintsSafety                         Online Class                          1                            1 10/09/2018              10/13/2018          Completed
Restraint and Seclusion Policy           Material                              1                            1 10/13/2018              10/13/2018          Completed
Restraints Safety                        Curriculum                            1                            1 10/09/2018              10/13/2018          Completed
EP18 Upgrade Overview                    Online Class                          1                            1 08/05/2018              08/05/2018          Completed
EP18 Beacon Upgrade Training             Material                              1                            1 08/05/2018              08/05/2018          Completed
Epic Beacon 2018 Upgrade                 Curriculum                            1                            1 07/18/2018              08/05/2018          Completed
Epic Beaker 2018 Upgrade for             Material                              1                            1 07/07/2018              07/07/2018          Completed
EpicCare Link Jail
EpicCare Link for Jail 2018 Upgrade      Curriculum                            1                            1 07/03/2018              07/07/2018          Completed
DH Annual-PHI Privacy and Security       Test                                  6                            1 05/07/2018              05/07/2018          Completed
DH Annual: Protected Health              Online Class                          4                            1 03/01/2018              05/07/2018          Completed
Information (PHI) Privacy and Security
DH Annual - Email and Password           Curriculum                            1                            1 05/01/2018              05/07/2018          Completed
Security Training
DH Annual: Perfecting the Patient        Online Class                          5                            1 03/01/2018              05/07/2018          Completed
Experience
DH Annual-Workplace Violence             Test                                  5                            1 05/07/2018              05/07/2018          Completed
DH Annual-Language Services              Test                                  2                            1 03/18/2018              05/07/2018          Completed
DH Annual: Workplace Violence            Online Class                          8                            1 03/01/2018              05/07/2018          Completed
Correctional Care - Hospital Return      Test                                  1                            1 05/07/2018              05/07/2018          Completed
Test
Nursing Certification Survey             Form                                  1                            1                         05/07/2018          Completed
Nursing Certification Survey             Curriculum                            1                            1 01/10/2018              05/07/2018          Completed
Getting Started with Cornerstone         Online Class                          1                            1 01/09/2018              05/07/2018          Completed
Wombat Training: Email Security          Online Class                          1                            1 05/01/2018              05/07/2018          Completed
EpicCare Link Denver City and County     Online Class                          1                            2 03/13/2018              05/07/2018          Completed
Jail
DH Annual-Understanding Sexual           Test                                  3                            1 05/07/2018              05/07/2018          Completed
Harassment
Correctional Care - Hospital             Material                              1                            1 05/04/2018              05/07/2018          Completed
Return/Correctional Care Trauma
Protocol
Regulatory Compliance & Accreditation    Online Class                          1                            1 01/23/2018              05/07/2018          Completed
Correctional Care                        Curriculum                            5                            2 03/09/2018              05/07/2018          Completed
DH Annual-Perfecting the Patient         Test                                  4                            1 05/07/2018              05/07/2018          Completed
Experience
DH Annual: Understanding Sexual          Online Class                          2                            1 03/01/2018              05/07/2018          Completed
Harassment
DH Annual - New Employee Training        Curriculum                            2                            1 01/23/2018              05/07/2018          Completed




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Wombat Training: Password Policy            Online Class                          1                            1 05/01/2018              05/07/2018          Completed
Correctional Care - Civilian Education      Test                                  1                            1 05/04/2018              05/04/2018          Completed
Test
Caritas in Nursing                          Curriculum                            1                            1 01/10/2018              05/04/2018          Completed
Verbal de-escalation of the agitated        Material                              1                            1 05/04/2018              05/04/2018          Completed
patient (Chapter 3)
Caritas in Nursing                          Test                                  2                            1 04/04/2018              05/04/2018          Completed
Verbal de-escalation of the agitated        Material                              1                            1 05/04/2018              05/04/2018          Completed
patient (Chapter 5)
Correctional Care Sensitivity               Material                              2                            1 05/04/2018              05/04/2018          Completed
Correctional Care - Civilian Education      Material                              1                            1 05/04/2018              05/04/2018          Completed
Correctional Care - Suicide Prevention      Material                              1                            1 05/04/2018              05/04/2018          Completed
Correctional Care Sensitivity               Test                                  1                            1 05/04/2018              05/04/2018          Completed
Verbal de-escalation of the agitated        Material                              1                            1 05/04/2018              05/04/2018          Completed
patient (Chapter 2)
PREA – Prison Rape Elimination Act          Curriculum                            1                            2 03/08/2018              05/04/2018          Completed
Correctional Care - Suicide Prevention      Test                                  1                            1 05/04/2018              05/04/2018          Completed
Verbal de-escalation of the agitated        Material                              1                            1 05/04/2018              05/04/2018          Completed
patient (Chapter 1)
Verbal de-escalation of the agitated        Material                              1                            1 05/04/2018              05/04/2018          Completed
patient (Chapter 4)
PREA Test                                   Test                                  1                            1 05/04/2018              05/04/2018          Completed
De-Escalation of the Agitated Patient       Curriculum                            1                            1 03/07/2018              05/04/2018          Completed
PREA – Prison Rape Elimination Act          Online Class                          1                            1 05/04/2018              05/04/2018          Completed
Alaris IV Pump Competency                   Material                              1                            1 03/27/2018              04/19/2018          Completed
Active Staffer Test – Nursing Employee      Test                                  2                            1 04/04/2018              04/04/2018          Completed
Active Staffer for Nursing Employees        Online Class                          1                            1 04/04/2018              04/04/2018          Completed
Active Staffer for Nursing Employees        Curriculum                            1                            1 01/10/2018              04/04/2018          Completed
Caritas in Nursing                          Online Class                          1                            1 04/04/2018              04/04/2018          Completed
Appendix A - List of Printers for EMAR      Material                              1                            1 03/18/2018              03/18/2018          Completed
EMAR Tutorials Test                         Test                                  1                            1 03/18/2018              03/18/2018          Completed
DH Annual: Environment of Care              Online Class                          6                            1 03/18/2018              03/18/2018          Completed
SI: Safety Intelligence                     Test                                  3                            1 03/18/2018              03/18/2018          Completed
Tutorial 2.1 - How to Print an individual   Material                              1                            1 01/22/2018              03/18/2018          Completed
order
Oral Examination Video                      Video                                 0                            2 03/08/2018              03/18/2018          Completed
Tutorial 5.0 - Order Opiate Withdrawal      Material                              1                            1 01/22/2018              03/18/2018          Completed
Plan
DH Annual-Infection Prevention              Test                                  3                            1 03/18/2018              03/18/2018          Completed
Missing Persons and Leaving Against         Test                                  1                            1 02/20/2018              03/18/2018          Completed
Medical Advice Policy Test for Nursing
DH Annual-Environment of Care               Test                                  3                            1 03/18/2018              03/18/2018          Completed



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EMAR Tutorials                            Curriculum                             1                            1 01/22/2018              03/18/2018          Completed
SI: Safety Intelligence                   Online Class                           9                            1 03/18/2018              03/18/2018          Completed
Tutorial 2.0 - How to Print a EMAR        Material                               1                            1 01/22/2018              03/18/2018          Completed
Tutorial 1.1 - Order a Medication that is Material                               1                            1 01/22/2018              03/18/2018          Completed
Non-Formulary
Tutorial 1.2 - Add Order With Custom      Material                               1                            1 01/22/2018              03/18/2018          Completed
Days
Tutorial 1.0 - Adding a New Order         Material                               1                            1 01/22/2018              03/18/2018          Completed
Missing Persons and Leaving Against Curriculum                                   1                            1 01/09/2018              03/18/2018          Completed
Medical Advice Policy for Nursing
DH Annual: Language Services              Online Class                           5                            1 03/01/2018              03/18/2018          Completed
Tutorial 3.0 - The Anatomy of the         Material                               1                            1 01/22/2018              03/18/2018          Completed
EMAR
Tutorial 4.0 - Order Alcohol Withdrawal Material                                 1                            1 01/22/2018              03/18/2018          Completed
Plan
DH Annual: Infection Prevention           Online Class                           6                            1 03/01/2018              03/18/2018          Completed
SI: Safety Intelligence                   Curriculum                            13                            1 01/10/2018              03/18/2018          Completed
EMAR Cover Page                           Material                               1                            1 01/22/2018              03/18/2018          Completed
DH Annual: Diversity and Inclusion        Online Class                           3                            1 03/01/2018              03/01/2018          Completed
DH Annual-Drug-Free Workplace             Test                                   3                            1 03/01/2018              03/01/2018          Completed
Oral Examination Video                    Video                                  0                            1 01/23/2018              03/01/2018          Completed
Code of Conduct - New Employee            Test                                   1                            1 03/01/2018              03/01/2018          Completed
Training Test
DH Annual - Diversity and Inclusion       Test                                   1                            1 03/01/2018              03/01/2018          Completed
2021 Code of Conduct - New Employee Online Class                                 1                            1 03/01/2018              03/01/2018          Completed
Training
Code of Conduct Policy                    Material                               1                            1 03/01/2018              03/01/2018          Completed
DH Annual: Drug-Free Workplace            Online Class                           3                            1 03/01/2018              03/01/2018          Completed
Baby-Friendly Hospital                    Online Class                           2                            1 01/10/2018              02/20/2018          Completed
ID-Missing Persons and Leaving            Online Class                           1                            1 02/20/2018              02/20/2018          Completed
Against Medical Advise Policy for
Nursing
ReadyOp Policy                            Material                               1                            1 01/10/2018              02/20/2018          Completed
EpicCare Link Denver City and County Online Class                                1                            1 01/22/2018              02/20/2018          Completed
Jail
Standards of Behavior                     Material                               1                            1 01/10/2018              02/20/2018          Completed
NEO SEE                                   Observation Checklist                  0                            1 02/06/2018              02/06/2018          Completed
NEO SEE                                   Curriculum                             4                            1 02/06/2018              02/06/2018          Completed
CHS: General Laboratory Competency Test                                          1                            1 10/26/2012              11/01/2012          Completed
PSN - Patient Safety Net                  External Training                      1                            1 10/26/2012              11/01/2012          Completed
Provider Compliance                       External Training                      1                            1 09/20/2012              09/22/2012          Completed
Medication Test - ADULT                   Test                                   1                            1 09/20/2012              09/22/2012          Completed




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HIPAA: Rights & Responsibilities II   External Training                  1                            1 09/20/2012              09/22/2012          Completed
Domestic Violence Elder Abuse         External Training                  1                            1 09/20/2012              09/22/2012          Completed
HIPAA Rights and Responsibilities     Curriculum                         1                            1 09/20/2012              09/22/2012          Completed
2012 SSI Prevention                   External Training                  1                            1 09/20/2012              09/22/2012          Completed
Acute Care Competency                 Test                               1                            3 09/20/2012              09/22/2012          Completed
Respiratory Therapy Blood Gas         Test                               1                            1 09/20/2012              09/22/2012          Completed
Competency
HIPAA: Privacy Rule Overview          External Training                  1                            1 01/21/2012              02/13/2012          Completed
Acute Care Competency                 Test                               1                            2 02/12/2012              02/13/2012          Completed
Acute Care Competency                 Test                               1                            1 01/21/2012              02/13/2012          Completed
API/Time and Attendance Frequently    Material                           0                            1 02/12/2012              02/13/2012          Completed
Asked Questions (FAQs)




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